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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON              Civil Action No. 3:16-md-2738-
    TALCUM POWDER PRODUCTS                FLW-LHG
    MARKETING, SALES
    PRACTICES, AND PRODUCTS               MDL No. 2738
    LIABILITY LITIGATION


    THIS DOCUMENT RELATES TO ALL CASES


         THE PLAINTIFFS’ STEERING COMMITTEE’S OMNIBUS
       MEMORANDUM OF LAW IN RESPONSE AND OPPOSITION TO
     DEFENDANTS’ JOHNSON & JOHNSON AND JOHNSON & JOHNSON
              CONSUMER INC.’S MOTION TO EXCLUDE
            PLAINTIFFS’ GENERAL CAUSATION OPINIONS
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          The Plaintiffs’ Steering Committee (“PSC”) submits this Memorandum of

    Law in response and opposition to Defendants’ Johnson & Johnson and Johnson &

    Johnson Consumer Inc.’s Motion to Exclude Plaintiffs’ General Causation Opinions

    (ECF Doc. 9736). For the foregoing reasons, this Court should deny Defendants’

    Johnson & Johnson and Johnson & Johnson Consumer Inc.’s (“hereinafter “J&J”)

    motion.

    I.    INTRODUCTION

          If the PSC has produced evidence from qualified experts who have applied a

    reliable methodology to answer “yes” to the question of whether Johnson’s Baby

    Powder and Shower-to-Shower (collectively “Talcum Powder Products”) are

    capable of causing ovarian cancer, then J&J’s motions must be denied, and this case

    must proceed to the next phase. To be clear, the question at this time is not whether

    the PSC’s experts are right in their conclusions but rather whether the PSC’s experts

    are qualified to offer their opinions and whether they applied reliable methodologies

    in reaching their opinions so that they are admissible at trial.

          With respect to qualifications, there is no question that the PSC’s general

    causation experts are nationally and internationally recognized experts in the fields

    of   cancer   epidemiology,     gynecologic     oncology,    gynecologic   pathology,




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    pharmacology, toxicology, and cancer biology.1 With respect to methodology, each

    expert followed a rigorous and accepted methodology in assessing and weighing the

    scientific evidence on causation in the same manner that they and their peers use in

    their professional work outside of litigation. These methods include employing the

    causation framework and considerations described by Sir Bradford Hill in his

    seminal 1965 address2 and the principles of evidence-based medicine. (“Hill

    Principles”).

          As set forth below in Section IV, there are multiple robust lines of scientific

    evidence relevant to the causation question at issue here. This evidence includes both

    published,      peer-reviewed   epidemiological   and   non-epidemiologic     studies.

    Notwithstanding J&J’s protestations as further described below, the epidemiologic

    evidence is largely undisputed:

          • There are 35 observational studies of talcum powder and ovarian
            cancer of different study designs: 30 case-control studies (7 hospital
            based, and 24 population based), 1 pooled case-control studies, and
            3 cohort studies;




    1
     The PSC is concurrently filing a separate Memorandum of Law addressing the
    qualifications of their experts in opposition to Defendants’ Memorandum of Law in
    Support of Conditional Motion to Exclude Certain Plaintiffs’ Experts Opinions for
    Lack of Qualifications (ECF Doc. 9736-6).
    2
     Austin Bradford Hill, The Environment and Disease: Association or Causation?,
    58 Proc. Royal Soc’y Med. 295 (1965), attached as Exhibit 1.

                                              2
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          • The observational studies were conducted by different researchers
            in different countries, including populations in the United States,
            Canada, Asia, Australia and Europe;

          • The overwhelming majority (n=34) of these observational studies,
            irrespective of study design or population studied, found a positive
            association (i.e., a hazard ratio > 1), with most showing an
            association in the range of 1.1-1.7, representing a 10-70% increased
            risk of ovarian cancer with talcum powder use;

          • In a majority of these published studies (n=19), the positive
            association was, in fact, statistically significant to a p=.05;

          • Even in the published studies that did not show a statistically
            significant association, the vast majority, irrespective of design, had
            confidence intervals which overlapped 1.2-1.25, and were therefore
            consistent with a 20-25% increased risk of ovarian cancer;

          • In addition to the individual observational studies, there are
            numerous published and unpublished meta-analyses of the
            observational studies as a whole. Every one of these meta-analyses
            show a consistent and statistically significant 25-45% increased risk
            of ovarian cancer; and,

          • In talcum powder studies, including published meta-analyses of
            talcum powder cohort studies, a statistically significant risk was
            observed between talcum powder and a specific ovarian cancer
            subtype: epithelial ovarian cancer.

          In addition to this consistent and largely undisputed epidemiologic data, the

    PSC has produced published biologic, mechanistic and other non-epidemiologic

    evidence to further support the conclusion that the observed association between

    talcum powder and ovarian cancer is indeed a causal association. This non-

    observational biologic evidence includes:

          • Evidence from peer-reviewed and published studies that talcum
            powder can reach the ovaries via migration and/or inhalation, and

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             lymphatic transport evidence which the U.S. Food and Drug
             Administration (FDA) has called “indisputable.”

          • Evidence that when transport of talc to the ovary is blocked (by tubal
            ligation), the risk of ovarian cancer decreases among women
            exposed to talc. This is a type of “challenge and de-challenge”
            evidence supporting causation;

          • Evidence from peer-reviewed and published studies that confirmed
            the presence of talc particles in ovarian cancer tissue;

          • Evidence that talcum powder causes chronic inflammation and
            oxidative stress, both of which play an important role in
            carcinogenesis;

          • Evidence that chronic inflammation plays an important role in
            initiation as well as in cancer promotion and progression; and,

          • Evidence that Defendants’ Talcum Powder Products contain and
            have contained known carcinogens such as asbestos, fibrous talc,
            nickel, chromium, cobalt, and fragrance chemicals.

          As set forth below in Section V(A), J&J’s “general causation” argument is

    simply a closing argument dressed-up like a Daubert motion, addressing virtually

    every issue in the case, but without any focus on the true purpose of a Daubert

    inquiry. In the guise of a methodological challenge, J&J asks this Court to evaluate

    the PSC’s experts’ conclusions contrary to the mandate of Daubert and its progeny.

    Of course, a “battle of the experts” does not provide an appropriate Daubert-related

    basis for excluding an expert's opinion that is based on sound scientific

    methodology.3


    3
     See S.E.C. v. Lucent Techs., Inc., 610 F. Supp. 2d 342, 351 (D.N.J. 2009) (quoting
    Oddi v. Ford Motor Co., 234 F.3d 136, 146 (3d Cir. 2000)); Dzielak v. Whirlpool

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          In fact, the PSC’s experts considered and weighed both the important

    evidence set forth above as well as the contrary evidence described in J&J’s General

    Causation brief.4 Underscoring that J&J’s real dispute with the PSC’s experts is with

    the conclusions they reach and not with the methodology they employ, is the fact

    that J&J’s motion relies heavily on the ipsie dixit opinions of their litigation experts

    and not authoritative texts. Obviously, any differences in opinions should be

    explored on cross-examination and not excluded as unreliable.

          J&J makes seven (7) broad arguments in support of their motion that they

    claim are “methodologic errors”: First, they argue that the PSC’s experts failed to

    apply “significance testing” and a rigid “hierarchy of evidence” to the observational




    Corp., No. CV2120089KMJBC, 2017 WL 1034197, at *26 (D.N.J. Mar. 17, 2017);
    Lansford-Coaldale Joint Water Auth. v. Tonolli Corp., 4 F.3d 1209, 1216 (3d Cir.
    1993) (“‘[I]n a battle of the experts, the factfinder ‘decide[s] the victor.’”) (alteration
    in original) (quoting Mendes-Silva v. United States, 980 F.2d 1482, 1487 (D.C. Cir.
    1993))); In re Biogen '755 Patent Litig., No. CV102734CCCJBC, 2018 WL
    3586271, at *11 (D.N.J. July 26, 2018); Lanzilotti by Lanzilotti v. Merrell Dow
    Pharm. Inc., No. CIV.A. 82-0183, 1986 WL 7832, at *3 (E.D. Pa. July 10, 1986)
    (the experts for both sides differed as to what interpretations should be given to
    various data. “The case was thus a classic battle of the experts, a battle in which the
    jury must decide the victor.”); In re Gabapentin Patent Litig., No. CIV.A. 00-2931,
    2011 WL 12516763, at *10 (D.N.J. Apr. 8, 2011) (concluding that defendants'
    critiques of plaintiffs' experts' methodology and inconsistent conclusions presented
    “a battle of the experts, and both sides will be permitted to present expert testimony
    on these issues and to cross-examine the other side's expert witnesses.”).
    4
     Defendants Johnson & Johnson and Johnson & Johnson Consumer Inc.’s
    Memorandum of Law in Support of Motion to Exclude Plaintiffs’ Experts’ General
    Causation Opinions (ECF Doc 9736) (hereinafter, “Defs.’ Mem.”)

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    studies to assess them for both “association” and “consistency of association.”5

    Second, they argue that in addressing “strength of association,” the PSC’s experts

    “failed” to consider and acknowledge that the talcum powder-ovarian cancer

    association is a “weak” one most likely explained by bias and confounding.6 Third,

    they claim that there is no statistically significant and consistent evidence of “dose

    response” that would support a causal inference under the Hill Principles.7 Fourth,

    they allege that the PSC’s causation experts have not biologically proven mechanism

    that would explain the association.8 Fifth, they claim that there is no “specificity” as

    talcum powder has not been shown to correlate with a specific ovarian cancer

    subtype.9 Sixth, they claim that one of the PSC’s experts, Rebecca Smith-Bindman

    MD, employed an improper methodology when she performed a meta-analysis of

    available published studies to investigate whether regular users of talcum powder

    were at further increased risk for a subtype of high grade serous ovarian cancer




    5
        Defs.’ Mem. at 9-13; 47-67.
    6
        Id. at 31-47.
    7
        Id. at 67-78.
    8
      Id. at 78-82; see also Defendants Johnson & Johnson And Johnson & Johnson
    Consumer Inc.’s Memorandum of Law in Support of Motion To Exclude Plaintiffs’
    Experts’ Opinions Related To Biological Plausibility (ECF Doc. 9736-1). The PSC’s
    opposition to J&J’s biologic plausibility memorandum is incorporated herein by
    reference.
    9
        Id. at 82-84.

                                               6
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    (HGSOC), a subtype of epithelial ovarian cancer.10 Seventh, they complain that two

    of the PSC’s experts, Jack Siemiatycki, MSc PhD and Patricia Moorman, PhD, have

    expressed opinions in this litigation on the talcum powder-ovarian cancer

    relationship that are inconsistent with their published papers.11

             As set forth below, J&J’s so-called “methodologic” challenges are either

    seriously methodologically flawed themselves or a complete and demonstrable

    mischaracterization of the record as follows:

             First, as set forth below in Section V(B), J&J and its experts use a mechanical

    combination of “significance testing,” risk ratios and categorizing the results using

    a rigid “Hierarchy of Evidence” based on generic study design to challenge the

    PSC’s experts’ opinions that there is an “association” and “consistency of

    association.” This two-step methodology urged by J&J is itself flawed. Indeed, that

    unscientific two-step methodology is the basis for the PSC’s motion to exclude J&J’s

    epidemiologic experts from presenting their unreliable opinions.12 The PSC’s

    experts employed a proper methodology by carefully and systematically evaluating

    all talc-ovarian cancer studies based on sound epidemiologic principles. They


    10
         Id. at 95-108.
    11
         Id. at 108-120.
    12
       See ECF No. 9737 (PSC’s Motion to Exclude the Opinions of Defendants’
    Epidemiology Experts Karla Ballman, Ph.D., Christian Merlo, M.D., MPH, Gregory
    Diette, M.D., MHS, and Jonathan Borak, M.D., DABT) (hereinafter referred to as
    the “PSC’s Motion to Exclude Defendants’ Epidemiology Experts.”)

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    carefully evaluated both statistical significance and the reported confidence intervals

    for each study; the individual strengths and weaknesses of each study, regardless of

    design, to assess the causation question; the potential biases and potential for

    confounding in each talc study; and they performed an assessment of (and in some

    cases performing) the meta-analyses of all the available studies.

          Second, and as set forth below in Section V(C), J&J and their experts blatantly

    mischaracterize the PSC’s experts’ description of the “strength of association”

    aspect of Bradford Hill. Contrary to J&J’s assertions, the PSC’s experts properly

    resisted categorizing the strength of the talcum powder-ovarian cancer association

    as “weak,” “moderate” or “strong” since there are no agreed upon definitions for

    those terms. Instead, the PSC’s experts characterized the “strength of association”

    aspect for what it is - a 25-45% increased risk—and described it in terms of other

    well-accepted causal relationships like second-hand smoke and lung cancer and

    asbestos and lung cancer.

          Third, and as set forth below in Section V(D), Bradford Hill does not require

    a “statistically significant” threshold for dose response. To the contrary, because that

    data is so difficult to collect in most instances, Sir Bradford Hill was quite careful to

    describe this aspect as one that would look for any evidence of a dose response. In

    this case, and as noted by others not involved in litigation, there are multiple




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    observational studies which have shown evidence of a dose-response and it was

    proper for the PSC’s experts to rely on those studies.

          Fourth, and as set forth below in Section V(E), the PSC’s causation experts

    properly relied on biologic, mechanistic and other non-observational evidence to

    assess the “biologic plausibility” aspect of the Bradford Hill guidelines. This

    aspect—which J&J and its experts attempt to improperly convert from biologic

    “plausibility” to biologic “proof” – asks only whether it “makes sense” to call the

    association a causal one considering the available biologic evidence (if any). Here,

    there is ample biologic evidence that supports the conclusion that the association

    seen in the observational studies is indeed a causal association. This includes

    evidence that: 1) talcum powder and other similar particulates can migrate to the

    fallopian tubes and ovaries; 2) once there, talcum powder causes inflammation and

    oxidative stress in ovarian cells, both known mediators of cancer; and 3) the Talcum

    Powder Products at issue here contain known and probable carcinogens including

    asbestos, fibrous talc, heavy metals, and fragrance chemicals.

          Fifth, and as set forth in Section V(F), there is ample evidence of specificity,

    not only to ovarian cancer generally, but to a specific subtype of ovarian cancer—

    epithelial ovarian cancer.

          Sixth and as set forth below in Section V(H), Dr. Smith-Bindman’s opinions

    should not be excluded. Although J&J challenges the systematic review conducted



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    by Dr. Smith-Bindman, she properly performed her meta-analysis. More

    importantly, her meta-analysis ended-up with the same estimates as essentially all

    of the other well-done meta-analyses and her overall conclusions about the causality

    of Talcum Powder Products and ovarian cancer would be exactly the same, even

    without her meta-analysis.

          Seventh, and as set forth below in Section V(I), it was entirely proper for Drs.

    Siemiatycki and Moorman, both of whom had previously published in peer reviewed

    journals on a positive association between genital talc use and ovarian cancer, to

    incorporate and assess the growing body of scientific evidence demonstrating a

    causal association between talcum powder products and ovarian cancer. Their

    analyses are consistent with the growing consensus of scientific and regulatory

    bodies like the Institute of Medicine (2016) and Health Canada (December 2018)

    which recognize the probable ovarian cancer risk of talcum powder. It is also

    consistent with the presence of carcinogens—including asbestos—in J&J’s Talcum

    Powder Products.

          At best, J&J’s challenges raise nothing more than jury-appropriate questions

    because at the core of their argument is the difference in the interpretation of the

    scientific evidence described above. Accordingly, J&J’s motion must fail.




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    II.        THE PSC’S EXPERTS AT ISSUE
               The PSC has identified experts from the fields of Epidemiology,

    Gynecological-Oncology, Cellular Biology and Toxicology who opine that J&J’s

    Talcum Powder Products are capable of causing ovarian cancer. While their

    qualifications, methodology and opinions are set forth in their expert reports, a brief

    summary of their background, methodology and opinions are described below:

               A.    THE PSC’S EPIDEMIOLOGY EXPERTS

                     1.    Anne McTiernan, MD, PhD13

               Dr. McTiernan is a Full Research Professor at the University of Washington

    School of Public Health’s Department of Epidemiology and the University of

    Washington School of Medicine, as well as a cancer prevention researcher and a Full

    Member at the Fred Hutchinson Cancer Research Center, Division of Public Health

    Sciences, Program in Epidemiology.14 Dr. McTiernan has spent the past 25 years in

    epidemiologic research, working primarily in the areas of cancer and women’s

    health.15 During this time, she has published over 400 manuscripts in peer-reviewed

    medical and scientific journals, including the Women’s Health Initiative 2014 cohort




    13
      Expert Report of Anne McTiernan, MD, Ph.D, Nov. 16, 2018 (“McTiernan
    Rep.”), Exhibit A (McTiernan CV), attached as Exhibit 2.
    14
         See McTiernan Rep. at 3.
    15
         Id.

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    study at issue in this case.16 Dr. McTiernan has lectured on the topic of talc and

    ovarian cancer, and presented testimony on this subject to the United States House

    of Representatives Subcommittee on Economic and Consumer Policy in 2019.17

             Dr. McTiernan’s methodology consisted of collecting and thoroughly

    reviewing all available published epidemiological studies, including case-control

    and cohort studies, systematic reviews, meta-analyses, and pooled analyses to assess

    whether perineal use of Talcum Powder Products can cause ovarian cancer.18 In her

    review of the observational studies, she specifically examined the strengths and

    weaknesses of each study, evaluating the potential biases inherent in each study and

    the possible effects of confounding on the reported results.19 In addition, she

    collected and considered biological, pathologic and mechanistic evidence, including

    evidence on the transport of talcum powder to the ovaries, the effect of talcum

    powder on cells, and the presence of carcinogens (including asbestos) in the

    product.20 Having collected the observational and biologic evidence, she analyzed it

    according to the Bradford Hill aspects of causation and weighed the quality of


    16
         Id. at 3-5.
    17
      See March 12, 2019 Testimony of Anne McTiernan, House of Representatives
    Subcommittee on Economic and Consumer Policy (“McTiernan Congressional
    Statement”), attached as Exhibit 3.
    18
         See McTiernan Rep. at 7.
    19
         See id. at 22-24.
    20
         See McTiernan Congressional Statement at 3.

                                            12
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    evidence supporting or detracting from each piece of evidence.21 Having done so,

    Dr. McTiernan expressed her conclusion that Talcum Powder Products can cause

    ovarian cancer and, in particular, epithelial ovarian cancer, and the magnitude of the

    increased risk was 22-31%.22

                   2.    Jack Siemiatycki, MSc, PhD23

             Dr. Siemiatycki is a tenured Professor of Epidemiology at the University of

    Montreal and Adjunct Professor of Epidemiology at McGill University. In addition

    to writing numerous articles on the causes and assessment of cancer-causing agents,

    Dr. Siemiatycki chaired the 2006 IARC Monograph panel which evaluated the

    carcinogenicity of Talc.24 Prior to his retention as an expert, he was co-author of a

    meta-analysis on the association between talc exposure and the risk of ovarian

    cancer.25 He has published more than 250 peer-reviewed articles during his career.26

             Dr. Siemiatycki’s methodology involved systematically assessing all original

    epidemiologic published studies, meta-analyses and opinion pieces, experimental



    21
         McTiernan Rep. at 9, 68.
    22
         See Congressional Statement at 3.
    23
      Expert Report of Jack Siemiatycki, MSc, Ph.D., Nov. 16, 2018 (“Siemiatycki
    Rep.”), Exhibit A (Siemiatycki CV), attached as Exhibit 4.
    24
         See Siemiatycki Rep. at 3-4, 23-24.
    25
     See id. at 23-24; Hilde Langseth, et al., Perineal Use of Talc and Risk of Ovarian
    Cancer, 62 J. Epidemiology Comm. Health 358 (2008), attached as Exhibit 5.
    26
         Siemiatycki Rep. at 1.

                                               13
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    toxicology, molecular biology, mechanistic studies, and the IARC Monograph to

    address the issue of general causation between perineal use of talcum powder

    products and ovarian cancer.27 He exercised his expert judgment, examining each

    study’s strengths and weaknesses and he identified potential sources of bias.28 Dr.

    Siemiatycki evaluated and synthesized the totality of the data using the Bradford Hill

    aspects of causal inference.29 In reaching his opinions, he objectively considered the

    data and scientific literature and performed his own updated meta-analysis.30 Having

    done so, Dr. Siemiatycki concluded that the totality of evidence demonstrates that

    perineal use of talcum powder products can cause ovarian cancer and that relative

    risk (RR) between ever-perineal-use of Talcum Powder Products and ovarian cancer

    (all types combined) is 1.28 (95% CI 1.19-1.38).31

                       3.    Patricia Moorman, MSPH, PhD32

             Dr. Moorman is a tenured professor, and Director of the Clinical Research

    Unit at Duke University School of Medicine. Additionally, she is a member of the

    Duke Cancer Institute, Cancer Control and Population Sciences Program. For over


    27
         Id. at 1-5.
    28
         See id. at 47-61.
    29
         Id. at 61-67.
    30
         Id. at 33-47.
    31
         Id. at 47.
    32
      Expert Report of Patricia Moorman, MSPH, Ph.D. Nov. 16, 2018 (“Moorman
    Rep.”), Exhibit A (Moorman CV), attached as Exhibit 6.

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    25 years, she has conducted epidemiological research on ovarian cancer, ovarian

    function, and women’s health issues, and she has authored more than 50 publications

    that relate directly to ovarian cancer.33 Her publications include a 2016 study on

    body powder and ovarian cancer, which reviewed the talc-ovarian cancer

    association, including plausible mechanisms.34

             In this matter, Dr. Moorman’s methodology, detailed in her Report, included

    a systemic review of all relevant literature, including original studies, pooled

    analyses, and meta-analyses. She additionally reviewed documents provided to her

    during the discovery process.35 Dr. Moorman incorporated a weight of the evidence

    approach and she applied a Bradford Hill analysis, after examining the strengths and

    weaknesses of each study, including the internal reliability and study bias of all case-

    control and cohort studies.36 Based on the accumulation of evidence linking genital

    talc use to ovarian cancer, Dr. Moorman concluded that Talcum Powder Products

    can cause ovarian cancer.37



    33
      See Deposition of Patricia G. Moorman, MSPH, Ph.D., January 25, 2019
    (“Moorman Dep.”) at 41:6-8, attached as Exhibit 7.
    34
      See Joellen M. Schildkraut, et al., Association Between Body Powder Use and
    Ovarian Cancer: The African American Epidemiology Study (AACES), 25 Cancer
    Epidemiology Biomarkers Prev. 1411 (2016), attached as Exhibit 8.
    35
         See Moorman Rep. at 9–11.
    36
         Id. at 9–11; 38–39.
    37
         Id. at 38.

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                       4.   Rebecca Smith-Bindman, MD38

               Dr. Smith-Bindman is Professor in the Departments of Radiology and

    Biomedical Imaging, Epidemiology and Biostatistics, Obstetrics, Gynecology and

    Reproductive Medicine, and Health Policy at the University of California San

    Francisco (UCSF) School of Medicine.39 Her research expertise is in epidemiology,

    outcomes research, and comparative effectiveness.40 Much of Dr. Smith-Bindman’s

    research is in women’s health, including diagnoses of cancers such as ovarian,

    endometrial, thyroid and breast.41 Several of her studies have been systematic, meta-

    analytic, quantitative reviews of the existing published literature.42

               Dr. Smith-Bindman’s methodology to address the relationship between

    talcum powder products and ovarian cancer is the same as she uses in her research.43

    She reviewed 43 relevant publications, including cohort studies, systematic reviews,

    pooled data analyses, and case-control studies.44 She further studied a number of




    38
     Expert Report of Rebecca Smith-Bindman, MD, Nov. 16, 2018 (“Smith-Bindman
    Rep.”), Exhibit A (Smith-Bindman CV), attached as Exhibit 9.
    39
         See Smith-Bindman Rep. at 6.
    40
         Id.
    41
         Id.
    42
         Id. at 6-7.
    43
         Id. at 4.
    44
         Id.

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    review articles and systematic assessments, including those completed by IARC.45

    She specifically examined the strengths and weaknesses of each study, evaluating

    the potential biases inherent in each.46 She further assessed available data on

    migration and cellular reactions to talcum powder products and its constituents,

    including asbestos.47 Dr. Smith-Bindman performed a thorough and comprehensive

    analysis of the Bradford-Hill causal aspects.48 In addition, she performed a meta-

    analysis to explore the more specific association between regular use of talcum

    powder and high grade serous ovarian cancer.49 Having done so, she concluded that

    the totality of evidence supports a causal association between ovarian cancer and

    genital exposure to Talcum Powder Products.50

                      5.   Sonal Singh, MD, MPH51

               Dr. Singh is an Associate Professor in the Department of Family Medicine

    and Community Health and the Meyers Primary Care Institute, with a joint

    appointment in the Department of Quantitative Health Sciences at the University of



    45
         Id.
    46
         Id. at 16-35.
    47
         Id. at 35, 40.
    48
         Id. at 35-41.
    49
         Id. at 41.
    50
         Id. at 41-42.
    51
      Expert Report of Sonal Singh, MD, Ph.D, Nov. 16, 2018 (“Singh Rep.”), Exhibit
    A (Singh CV), attached as Exhibit 11.

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    Massachusetts Medical School, Massachusetts.52 Dr. Singh served as an advisor to

    the World Bank and the WHO International Agency for Research on Cancer,

    participating in the WHO-IARC panel, evaluating the carcinogenicity of various

    drugs and herbal products.53 He has conducted several epidemiological studies,

    systematic reviews and meta-analysis featured in prominent medical journals,

    authoring more than 100 original, peer-reviewed scientific articles.54

               Dr. Singh’s methodology involved a systematic review of the epidemiologic

    literature and cumulative data to form his opinion concerning Talcum Powder

    Products’ relationship to ovarian cancer.55 He used a weight of evidence approach

    to evaluate all relevant data, including in vitro, animal, and human epidemiologic

    studies.56 He analyzed the individual epidemiologic studies for both reliability and

    validity, noting their strengths and limitations, and specifically evaluating potential

    biases inherent in each study.57 He then synthesized, examined and weighed the

    cumulative body of evidence using the Bradford Hill guidelines of causal




    52
         See Singh Rep. at 3-4.
    53
         Id. at 4.
    54
         Id. at 5.
    55
         Id. at 3.
    56
         Id.
    57
         Id. at 20-56.

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    inference.58 Having done so, Dr. Singh arrived at a number of conclusions, including

    that there is a statistically significant increased risk of Talcum Powder Products

    causing ovarian cancer and that the cumulative strength of association ranges from

    30% to 60%, which is similar to estimates of other established carcinogens.59

             B.    THE PSC’S GYNECOLOGIC ONCOLOGY AND PATHOLOGY
                   EXPERTS

                    1.   Ellen Blair Smith, MD60
             Dr. Smith is a gynecologic oncologist certified by the American Board of

    Obstetrics and Gynecology. For more than 28 years, Dr. Smith treated “hundreds of

    women” with epithelial ovarian cancer, having been involved in all aspects of care,

    including diagnosis, operative care, chemotherapy selection and administration, and

    post-treatment care and surveillance. She also has worked with other experts at

    leading universities on genetic studies involving ovarian cancer patients and their

    daughters.61

             Drawing on her education, training, and experience with ovarian cancer

    patients, Dr. Smith’s methodology included a comprehensive medical literature

    review of epidemiological studies, mechanistic articles, and review and opinion


    58
         Id. at 62-66.
    59
         Id. at 16-19.
    60
      Expert Report of Ellen Blair Smith, MD, Nov. 16, 2018 (“Smith Rep.”), Exhibit
    A (Smith CV), attached as Exhibit 11.
    61
         See Smith Rep. at 1.

                                            19
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    articles. Additionally, she relied on her own educational resources and considered

    J&J and Imerys company documents.62 In consideration of the talcum-powder

    ovarian cancer association, Dr. Smith applied a weight of the evidence approach in

    the context of the nine considerations of a Bradford Hill analysis.63 In consideration

    of “the totality of the epidemiologic data presented in the medical and scientific

    literature, the biological mechanism, and the credible presence of known

    carcinogens in the products,” Dr. Smith concluded that perineal application of

    “talcum powder products cause the development and progression of epithelial

    ovarian cancer,” by migration of talc through the genital tract to the fallopian tubes,

    ovaries and peritoneum, producing “an inflammatory… environment,” which is

    “pro-carcinogenic.” In addition to migration, talc inhalation is a “secondary route of

    exposure.”

                     2.   Daniel Clarke-Pearson, MD64
             Dr. Clarke-Pearson is a gynecologic oncologist certified by the American

    Board of Obstetrics and Gynecology. A distinguished professor at the University of

    North Carolina-Chapel Hill, Department of Obstetrics and Gynecology, Dr. Clarke-

    Pearson belongs to the Society of Gynecologic Oncology (SGO) and is a current


    62
         Id. at 2.
    63
         Id. at 19–21.
    64
      Expert Report of Daniel Clarke-Pearson, MD, Nov. 16, 2018 (“Clarke-Pearson
    Rep.”), Exhibit A (Clarke-Pearson CV), attached as Exhibit 12.

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    member of the SGO Ethics Committee. For more than 40 years, Dr. Clarke-Pearson

    has been involved in the treatment, teaching, and research of gynecologic cancers,

    including ovarian cancer. His clinical work includes surgery, chemotherapy

    administration, clinical trials, and oversight of Obstetrics and Gynecology residents.

    He has published over 200 peer-reviewed manuscripts, written over 50 medical

    textbook chapters, and edited three medical textbooks.65

             Dr. Clarke-Pearson’s methodology included a systemic review of the relevant

    literature, including peer-reviewed papers, original research, case-controlled studies,

    cohort studies, meta-analysis studies, and systemic analyses. Additionally, he

    reviewed relevant textbooks and sought additional materials as needed. He

    “approached this research with the same scientific rigor” he has his “own clinical,

    academic, and research practice.” Grounded in 40 years of knowledge and

    experience as a gynecologic oncologist, he assessed the data “objectively and

    critically,” considering study strengths and weaknesses by assessing “design, power,

    reputation of author(s), quality of journal, and potential biases,” among other

    factors.66 Incorporating a weight of the evidence approach, he assessed the data and

    information according to its strength, applying a Bradford Hill analysis.67 Dr.



    65
         See Clarke-Pearson Rep. at 1.
    66
         Id. at 2–3.
    67
         Id. at 3, 8–9.

                                              21
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    Clarke-Pearson concluded that “the use of talcum powder products, including

    Johnson’s Baby Powder and Shower-to-Shower, applied to the perineum of women,

    is a causative factor in the development of EOC [epithelial ovarian cancer],” and the

    responsible biological mechanism is migration of talc particles to the fallopian tubes

    and ovaries, inciting “an inflammatory process that includes oxidative stress and

    specific genetic mutations.”68

                    3.   Judith Wolf, MD69

             Dr. Wolf is a gynecologic oncologist certified by the American Board of

    Obstetrics and Gynecology. For more than 20 years, she was a professor in the

    Department of Gynecologic Oncology at University of Texas—San Antonio. Dr.

    Wolf’s area of expertise is ovarian cancer - “diagnosis, research, treatment, and

    patient advocacy.” She has authored or co-authored over 100 peer-reviewed research

    articles and was the principal investigator or co-investigator for eleven research

    grants related to gynecologic cancers. She also has served as an investigator or

    collaborator on 84 protocols, spoken at over 50 conferences, and presented at

    “numerous” scientific exhibitions and seminars. “The majority of these have dealt

    with some aspect of ovarian cancer.”70


    68
         Id. at 9–10.
    69
      Expert Report of Judith Wolf, MD, Ph.D, Nov. 16, 2018 (“Wolf Rep.”), Exhibit
    A (Wolf CV), attached as Exhibit 13.
    70
         See Wolf Rep. at 1.

                                             22
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               Dr. Wolf’s methodology was “similar” to the method and “rigor” she has used

    routinely in her professional practice, stemming 30 years.71 Dr. Wolf reviewed “an

    extensive body” of medical and scientific literature, including epidemiologic,

    animal, and mechanistic studies. She considered selection and recall bias, and

    assessed internal reliability and validity, for study strengths and weaknesses.72 She

    additionally reviewed pertinent textbooks as well as documents and testimony

    exchanged in this matter.73 She used a weight of the evidence method, applying the

    Bradford Hill concepts,74 only forming an opinion on causation after reviewing “all

    of the literature” “as a whole.”75 Dr. Wolf concluded that “talcum powder products

    cause epithelial ovarian cancer in some women,” presenting “a significant risk factor

    for ovarian cancer for all women who use the products.” She determined that the

    mechanism by which talc causes ovarian cancer is migration of talc particles through

    the genital tract, inducing inflammation and oxidative stress, enabling

    carcinogenesis.76 Inhalation is a second mechanism.77


    71
         Id. at 1–3.
    72
         Id. at 2–3; see also id. at 7, 24.
    73
         Id. at 2–3.
    74
         Id. at 2–3; 13–17.
    75
      See Deposition of Judith K. Wolf, MD, January 7, 2019 (“Wolf Dep.”) at 58:9-
    59:5, attached as Exhibit 14.
    76
         Wolf Rep. at 16–17.
    77
         Id.

                                                23
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                       4.   Sarah Kane, MD78

             Dr. Kane is a gynecologic pathologist, certified by the American Board of

    Pathology in Anatomic Pathology, Clinical Pathology and Cytopathology.

             Dr. Kane’s methodology involved her addressing the relationship between

    talc and ovarian cancer in terms of plausibility and mechanism as well as based on

    the cumulative epidemiological evidence.79 More particular to this litigation, Dr.

    Kane reviewed the epidemiologic literature in-depth regarding talcum powder and

    ovarian cancer from the perspective of a gynecologic pathologist.80 She also

    evaluated a substantial body of biologic evidence relevant to the question of

    causation.81 Her general causation opinion is based on considering the

    epidemiological as well as non-epidemiology lines of evidence, weighing that

    evidence based on a range of considerations that she described in detail in her

    report,82 and applying the Bradford Hill causation guidelines.83 In addition to the

    epidemiologic evidence in case control studies, cohort studies, meta-analyses, and




    78
      Expert Report of Sarah E. Kane, MD, Nov. 16, 2018 (“Kane Rep.”), Exhibit A
    (Kane CV), attached as Exhibit 15.
    79
         See Kane Rep. at 4-5 and 9-37.
    80
         Id., at 6-9; 16-29.
    81
         Id. at 4-29.
    82
         Id. at 3-9.
    83
         Id. at 33-37.

                                               24
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    pooled analyses, she considered the mechanism of talc’s carcinogenicity,84 the role

    of inflammation,85 the role of the immune system in carcinogenesis,86 talc migration,

    translocation, inhalation and lymphatic transport,87 the significance of talc found in

    tissue,88 and evidence of dose-response in the studies that had the data to assess it.

    She looked at all evidence, both in favor of a causal effect and opposed to it and

    weighed the evidence using a “weight of evidence” methodology.89 Dr. Kane has

    concluded that talcum powder products are a likely cause of ovarian cancer.90

             C.      THE PSC’S      TOXICOLOGY         &    CELLULAR         BIOLOGY
                     EXPERTS
                     1.    Laura Plunkett, PhD, DABT91


             Dr. Plunkett is a pharmacologist, toxicologist and United States Food and

    Drug Administration (FDA) regulatory specialist who was a Professor of

    pharmacology and toxicology at the University of Arkansas and has written dozens


    84
         Id. at 9-10, 16–29.
    85
         Id. at 10-13
    86
         Id. at 13
    87
         Id. at 14
    88
         Id. at 14-15
    89
     Id. at 3-9 (methodology); 10-37 (analysis of epidemiological and non-
    epidemiological lines of evidence).
    90
         Id. at 4-5, 37.
    91
      Expert Report of Laura Plunkett, Ph.D, DABT, Nov. 16, 2018 (“Plunkett Rep.”),
    Exhibit A (Plunkett CV), attached as Exhibit 16.

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    of peer-reviewed articles and book chapters and presented at numerous conferences

    and      seminars    on   issues   related    to   pharmacology,   toxicology,   and

    pharmacokinetics.92

             The methodology Dr. Plunkett employed to assess the talcum powder-ovarian

    cancer causal question is described in her report and deposition93 and included

    “human health risk assessment,” a “‘weight-of-the-evidence’ assessment” to

    systematically evaluate individual studies for the strengths and weaknesses of each

    study, including the study design.94 She weighed the quality of evidence supporting

    or detracting from each.95 Dr. Plunkett concluded that the “the weight-of-the-

    evidence indicates that genital exposure to talcum powder products increases the risk

    of ovarian cancer in women. This conclusion is supported by data that includes, but

    is not limited to the following: (1) the known toxic effects of talc and the other

    components of talcum powder products; (2) studies that have identified biologically

    plausible mechanisms for cancer in humans; (3) the likelihood that talc particles can




    92
         See Plunkett Rep. at 3-6; Plunkett CV at 4-15.
    93
      See Plunkett Rep. at 6-9; Deposition of Laura Plunkett, Ph.D., DABT, December
    19, 2018 (“Plunkett Dep.”) at 75:15- 93:9; 116:23-118:11, attached as Exhibit 17.
    94
      Plunkett Rep. at 35, 40, 41, 61; Plunkett Dep. at 38:13-39:13; 79:4-25; 102:9-16;
    239:3-16; and 240:23- 241: 8.
    95
      Plunkett Rep. at 8, 9, 29, 31,38, 51,52, 77; Plunkett Dep. at 37:24-38:12; 79:4-25;
    102:9-16; 106:14-107:6; 134:16-135:17; 183:19-184:6; 198: 9-199:14; 204:20-
    205:11;217:17-218:20; 239:3-16; and 239:23-241:8.

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    reach the ovaries; (4) the existence of a dose-response relationship for toxicity,

    including the risk of cancer; and (5) the large human database that includes studies

    conducted over a period of 40 years showing a consistent signal for ovarian cancer

    in women exposed to talcum powder products.”96 She further concluded that “When

    considered together, the scientific literature on the biological effects of talc, as well

    as asbestos and other constituents routinely found in talc… provide sufficient

    evidence to show that these chemicals produce cellular changes that have been

    linked to carcinogenesis and that the biological mechanism for carcinogenesis

    (ovarian and/or lung) following exposure to talcum powder products likely involves

    induction of a chronic inflammatory response.”97

                    2.    Arch Carson, PhD98

             Dr. Carson is a physician and toxicologist who specializes in the practice of

    medical toxicology. He is an Associate Professor at the University of Texas School

    of Public Health in Houston, Texas, and the Program Director of the Occupational

    and Environmental Medicine Residency training program at the University of Texas

    Health Science Center at Houston.99



    96
         Plunkett Rep. at 77.
    97
         Plunkett Rep. at 46. See also, id., at 19,23,27-8, 38,40, 42-3, 48.
    98
      Expert Report of Arch Carson, MD, Ph.D, Nov. 16, 2018 (“Carson Rep.”), Exhibit
    A (Carson CV), attached as Exhibit 18.
    99
         See Carson Rep. at 1.

                                                 27
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             The methodology Dr. Carson employed to assess the talcum powder-ovarian

    cancer causal question is described in his report and deposition100 and included a

    review of the relevant published scientific and medical literature. He systematically

    evaluated the individual studies for consistency, paying particular attention to the

    potential biases and confounding inherent in each study as considered by the

    investigators of the various primary studies, 101 and he also considered the different

    study designs.102 In reaching his causation opinions, he undertook a Bradford Hill

    analysis.103 Dr. Carson concluded the perineal use of Talcum Powder Products for

    feminine hygiene purposes results in direct exposure to the female reproductive tract

    via migration of powder through the upper genital tract to the ovary and that

    inhalation is a secondary route of exposure.104 He concluded that (a) “perineal use

    of Talcum Powder Products causes ovarian cancer in some users and increases the

    risk of ovarian cancer in all users of these products,” and105 (b) “the currently

    available scientific research, when considered in its totality, demonstrates a cause



    100
        Id. at 1, 11. See also Deposition of Arch Carson, MD, Ph.D., Jan. 19, 2019
    (“Carson Dep.”) at 40:9-43:22; 49:10-54:23; 172:11-176:3; and 214:1-218:4,
    attached as Exhibit 19.
    101
          Carson Rep. at 8-9; Carson Dep. at 210:18-211:1.
    102
          Carson Dep. at 240:19-241:20.
    103
          Carson Rep. at 8-11.
    104
          Id. at 8-11.
    105
          Id. at 1.

                                              28
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    and effect relationship between the use of Talcum Powder Products and the

    development of epithelial ovarian cancer.”106

    III.     FACTUAL AND LEGAL BACKGROUND

             In order to address J&J’s methodologic challenge to the PSC’s experts, it is

    important to summarize the epidemiologic and non-epidemiologic evidence against

    which the current dispute arises. That evidence, which spans decades and involves

    dozens of studies, is summarized in IV(A) and (B) respectively. It is also important

    to understand that three (3) courts, a federal court in South Dakota, state court in

    Missouri, and a state court in Georgia have all denied similar general causation

    Daubert challenges that J&J has raised here. Those cases, which J&J ignores, and

    the New Jersey and California state cases which it highlights, are discussed in

    Section IV(C).

             A.    TALCUM POWDER AND OVARIAN CANCER GENERAL
                   CAUSATION EVIDENCE

                   1.     Epidemiologic and Observational Data
             Epidemiology is the science of occurrence of diseases in human populations.

    It is concerned with the patterns of disease occurrence and also with identifying the

    factors that influence disease occurrence.107




    106
          Carson Rep. at 11.
    107
          Siemiatycki Rep. at 5.

                                              29
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          As with most other now-known carcinogens, such as asbestos and tobacco, it

    is both unethical and pragmatically impossible to conduct clinical trials to

    investigate whether a given exposure causes cancer in humans.108 Therefore,

    scientific assessment as to whether talc causes ovarian cancer is based on

    epidemiologic studies in which the investigators collected and analyzed information

    on exposures (i.e., talc use and other risk factors), rather than studies in which

    exposures were randomly assigned to the study subjects in an experimental setting.

    Observational study designs used in the study of talcum powder and risk of ovarian

    cancer include case-control studies and cohort studies. Both of these types of

    observational studies are well-established and generally accepted methods for

    studying cancer etiology.109




    108
      Kenneth Rothman, et al., Modern Epidemiology (3d ed. 2009) at 29, attached as
    Exhibit 20.
    109
       Id. See also Moorman Rep. at 15; Reference Manual on Scientific Evidence,
    Federal Judicial Center, Third Edition (2011) at 555-6 (hereinafter “Ref. Man.”). The
    Federal Judicial Center is the research and education agency of the federal judicial
    system. It was established by Congress in 1967 (28 U.S.C. §§ 620-629 (2015)), on
    the recommendation of the Judicial Conference of the United States, with the
    mission to “further the development and adoption of improved judicial
    administration in the courts of the United States.” Id. at xiii-xvi; see also Federal
    Judicial Center, http://www.fjc.gov (last visited Nov. 15, 2018). The PSC refers to
    the Reference Manual (in addition to case law) throughout this brief because it is
    designed to assist judges on science issues, including Daubert.

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                         a.     Talcum powder and ovarian cancer case-control
                                studies


             In case-control studies, participants are diagnosed with a specific type of

    cancer (cases) and are compared with otherwise similar participants who have not

    been diagnosed with cancer (controls). Ideally, controls will be similar to the cases

    on all variables other than the exposure under question. The investigators then

    analyze whether cases are more likely than the controls to have a given exposure.

    Case-control studies can enroll a large number of cases, are usually less expensive

    than cohort studies, and can be completed over shorter periods of time. Case-control

    studies focus on a single disease, therefore they typically collect more detailed risk

    factor information for that disease than cohort studies. A major advantage of case-

    control studies is that they are a more efficient design for studying diseases that are

    less common or have a long latency period. Therefore, they are very commonly used

    for etiologic studies of cancer. A disadvantage of case-control studies is that they

    collect exposure information for the cases after they have already been diagnosed

    with the disease, which raises concerns that cases may recall exposures differently

    from controls, i.e. recall bias.110




    110
          McTiernan Rep. at 8.; Ref. Man. at 555-5; Modern Epidemiology at 111-127.

                                              31
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          In 1982, a case-control study by Cramer, et al. was the first to find an

    increased risk for ovarian cancer associated with talc use.111 There are 35

    observational studies of talcum powder and ovarian cancer that have been conducted

    overall: 30 case-control studies (7 hospital based, and 23 population based),1121



    111
      Daniel W. Cramer, et al., Ovarian Cancer and Talc: A Case-Control Study, 50
    Cancer 372 (1982), attached as Exhibit 21.
    112
       Cramer (1982); Patricia Hartge, et al., Talc and Ovarian Cancer, 250 JAMA 1844
    (1983), attached as Exhibit 22; Alice S. Whittemore, et al., Personal and
    Environmental Characteristics Related to Epithelial Ovarian Cancer, 128 Am. J.
    Epidemiology (1988), attached as Exhibit 23; Bernard L. Harlow & Noel S. Weiss,
    A Case –Control Study of Borderline Ovarian Tumors: the Influence of Perineal
    Exposure to Talc, 130 Am. J. Epidemiology 390 (1989), attached as Exhibit 24; M.
    Booth, Risk Factors for Ovarian Cancer: a Case-Control Study, 60 Brit. J. Cancer
    592 (1989), attached as Exhibit 25; Bernard L. Harlow, et al, Perineal Exposure to
    Talc and Ovarian Cancer Risk, 80 Obstetrics & Gynecology 19 (1992), attached as
    Exhibit 26; Patricia Hartge & Patricia Stewart, Occupation and Ovarian Cancer: A
    Case-Control Study in the Washington, DC, Metropolitan Area, 1978-1981, J.
    Occupational Med. 924 (1994), attached as Exhibit 27; Karin A. Rosenblatt, et al.,
    Mineral Fiber Exposure and the Development of Ovarian Cancer 45 Gynecologic
    Oncology 20 (1992), attached as Exhibit 28; Yong Chen, et al., Risk Factors for
    Epithelial Ovarian Cancer in Beijing, China, 21 Int’l J. Epidemiology 23 (1992),
    attached as Exhibit 29; Anastasia Tzonou, et al., Hair Dyes, Analgesics,
    Tranquilizers and Perineal Talc Application as Risk Factors for Ovarian Cancer,
    55 Int’l J. Cancer 408 (1993), attached as Exhibit 30; David Purdie, et al.,
    Reproductive and Other Factors and Risk of Epithelia Ovarian Cancer: an
    Australian Case-Control Study, 62 Int’l J. Cancer 678 (1995), attached as Exhibit
    31; Asher Shushan, et al., Human Menopausal Gonadotropin and the Risk of
    Epithelial Ovarian Cancer, 65 Fertility & Sterility 13 (1996), attached as Exhibit
    32; Adele Green, et al., Tubal Sterilization, Hysterectomy and Decreased Risk of
    Ovarian Cancer,71 Int’l J. Cancer 948 (1997), attached as Exhibit 33; Stella Chang
    & Harvey A. Risch, Perineal Talc Exposure and Risk of Ovarian Carcinoma, 79
    Cancer 2396 (1997), attached as Exhibit 34; Linda S. Cook, et al., Perineal Powder
    Exposure and the Risk of Ovarian Cancer, 145 Am. J. Epidemiology 459 (1997),
    attached as Exhibit 35; Beatrice Godard, et al., Risk Factors for Familial and

                                           32
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    Sporadic Ovarian Cancer Among French Canadians: a Case-Control Study, 179
    Am. J. Obstetrics & Gynecology 403 (1998), attached as Exhibit 36; Daniel W.
    Cramer, et al., Genital Talc Exposure and Risk of Ovarian Cancer, 81 Int’l J. Cancer
    351 (1999), attached as Exhibit 37; Cheung Wong, et al., Perineal Talc Exposure
    and Subsequent Epithelial Ovarian Cancer: a Case-Control Study, 93 Obstetrics &
    Gynecology 372 (1999), attached as Exhibit 38; Roberta B. Ness, Factors Related
    to Inflammation of the Ovarian Epithelium and Risk of Ovarian Cancer, 11
    Epidemiology 111 (2000), attached as Exhibit 39; Paul K Mills, et al., Perineal Talc
    Exposure and Epithelial Ovarian Cancer Risk in the Central Valley of California,
    112 Int’l J. Cancer 458 (2004), attached as Exhibit 40; Malcolm C. Pike, et al.,
    Hormonal Factors and the Risk of Invasive Ovarian Cancer: a Population-Based
    Case-Control Study, 82 Fertility & Sterility 186 (2004), attached as Exhibit 41;
    Susan J. Jordan, et al., Risk Factors for Benign Serous and Mucinous Epithelial
    Ovarian Tumors, 109 Obstetrics & Gynecology 647 (2007), attached as Exhibit 42;
    Melissa A. Merritt, et al., Talcum Powder, Chronic Pelvic Inflammation and
    NSAIDs in Relation to Risk of Epithelial Ovarian Cancer, 122 Int’l J. Cancer 170
    (2008), attached as Exhibit 43; Patricia G. Moorman, et al., Ovarian Cancer Risk
    Factors in African-American and White Women, 170 Am. J. Epidemiology 598
    (2009), attached as Exhibit 44; Anna H. Wu, et al., Markers of Inflammation and
    Risk of Ovarian Cancer in Los Angeles County, 124 Int’l J. Cancer 1409 (2009),
    attached as Exhibit 45; Karin A. Rosenblatt, et al., Genital Powder Exposure and
    the Risk of Epithelial Ovarian Cancer, 22 Cancer Causes Control 737 (2011),
    attached as Exhibit 46; Michelle L. Kurta, et al., Use of Fertility Drugs and Risk of
    Ovarian Cancer: Results from a U.S.-Based Case-Control Study, 21 Cancer
    Epidemiology Biomarkers Prev. 1282 (2012), attached as Exhibit 47; Anna H. Wu,
    et al., African-Americans and Hispanics Remain at Lower Risk of Ovarian Cancer
    than Non-Hispanic Whites After Considering Non-Genetic Risk Factors and
    Oophorectomy Rates, 24 Cancer Epidemiology Biomarkers Prev. 1094 (2015),
    attached as Exhibit 48; Daniel W. Cramer, et al., The Association Between Talc Use
    and Ovarian Cancer: A Retrospective Case-Control Study in Two US States, 27
    Epidemiology 334 (2016), attached as Exhibit 49; Schildkraut (2016).

                                             33
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    pooled study,113 and 3 cohort studies.114 The overwhelming majority (n=34) of these

    studies, irrespective of study design, found a positive association (i.e., a hazard ratio

    > 1), with most showing an association in the range of 1.1-1.7, representing a 10-

    70% increased risk of ovarian cancer with talcum powder use. In a majority of the

    published studies (n=19), the association reported was statistically significant.

          J&J claims that these data may be unreliable based on bias and confounding.

    However, and as discussed in Section V(C)(2), the PSC’s causation experts and many

    study’s authors have concluded that both bias and confounding were unlikely in the

    talcum case-control studies. Some of the statements from the literature are:

          • “In studies where the exposure is simple (e.g., never versus ever
            use), recall bias is unlikely to be an important source of bias. The
            positive association is strongest for the serous histologic type
            (Penninkilampi et al. (2018); Berge et al. (2018); Taher et al.
            (2018)); findings that the association may vary by histologic type



    113
       Kathryn L. Terry, et al., Genital Powder Use and Risk of Ovarian Cancer: A
    Pooled Analysis of 85,25 Cases and 9,859 Controls, 6 Cancer Prev. Research 811
    (2013), attached as Exhibit 50.
    114
       Presented in five published papers. Dorota M. Gertig, et al., Prospective Study of
    Talc Use and Ovarian Cancer, 92 J. Nat’l Cancer Inst. 249 (2000), attached as
    Exhibit 51; Margaret A. Gates, et al., Talc Use, Variants of the GSTM1, GSTT1,
    and NAT2 Genes, and Risk of Epithelial Ovarian Cancer, 17 Cancer Epidemiology
    Biomarkers Prev. 2436 (2008), attached as Exhibit 52; Margaret A. Gates, et al.,
    Risk Factors for Epithelial Ovarian Cancer by Histologic Subtype, 171 Am. J.
    Epidemiology 45 (2010), attached as Exhibit 53; Serena C. Houghton, et al.,
    Perineal Powder Use and Risk of Ovarian Cancer, 106 J. Nat’l Cancer Inst. (2014),
    attached as Exhibit 54; NL Gonzalez, et al., Douching, Talc Use, and Risk of
    Ovarian Cancer, 27 Epidemiology 797 (2016), attached as Exhibit 55.

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                detracts from the hypothesis of report bias, as the type of bias would
                likely operate for all histologic types.”115

             • “In addition, the exposure definition of genital talc use at least once
               per week may have decreased the influence of recall bias in this
               analysis, since habitual talc use is likely to be recalled more
               accurately than sporadic use.”116

             • “Methodological factors such as recall bias should always be
               considered in case-control studies. It could have been a problem had
               there been wide-spread publicity about the possible association
               between use of body powder and cancer. The International Agency
               for Research on Cancer (IARC) the working group considers that
               there has not been widespread public concern about this issue and
               therefore considers it unlikely that such a bias could explain the
               consistent findings.”117

             • “Recall bias has also been implicated as a limitation in studies of
               talc and ovarian cancer. However, findings in a prospective study,
               the Nurses’ Health Study, in which exposure data were collected
               prior to diagnosis and hence free of recall bias, were similar to the
               present study finding for talc use and serous invasive ovarian cancer.
               It has also been suggested that use of talc is habitual versus
               memorable and not likely to be subject to recall bias.”118

             • “In summary, we have demonstrated a consistent association
               between talc and ovarian cancer that appears unlikely to be
               explained by recall or confounding.”119



    115
       Health Canada, Draft Screening Assessment, Talc (December 2018) (“Health
    Canada Assessment”) at 28, attached as Exhibit 56.
    116
          Gates (2008) at 9.
    117
      IARC Monographs on the Evaluation of Carcinogenic Risks to Humans, Vol. 93:
    Carbon Black, Titanium Dioxide and Talc (2010) at 409, attached as Exhibit 57;
    Langseth (2008) at 358.
    118
          Mills (2004) at 464.
    119
          Cramer (1999) at 356.

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                        b.     Talcum powder and ovarian cancer cohort studies


          In cohort studies, the exposures of a group (cohort) of people who are assumed

    to be healthy are assessed, and the group is followed over a period of time. During

    the follow-up period, some members of the cohort will be diagnosed with cancer,

    while others will not, and comparisons are then made between these two groups.

    Cohort studies may need to be very large (up to hundreds of thousands of

    participants) to have sufficient statistical power to identify factors that may increase

    cancer risk by on the order of 20 or 30 percent. They also have to be of sufficient

    duration to account for the development for cancer, i.e., the latency.

          Importantly, cohort studies must identify exposures of interest when

    participants are enrolled into the study in order to determine effect of the exposures

    on eventual development of the outcome of interest (cancer). Alternatively, if an

    exposure is ascertained at some time after enrollment the researchers will consider




                                              36
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    the date of collection of that exposure data to be the start date for follow-up of study

    participants. Because cohort studies typically are designed to look at multiple

    outcomes such as cancers, cardiovascular diseases, mortality, and other diseases,

    information collected on exposures tends to be minimal, to pertain to current levels

    of exposure, and may not be updated during follow-up. As illustrated in the forest

    plot below, the results of 4 of the 5 published studies regarding the three cohorts

    showed a positive association and the confidence intervals of all 5 were consistent

    with the 20-25% increased risk seen in the case-control studies:

                            c.     Comparison of talcum powder and ovarian cancer
                                   observational studies


                Observational studies, including cohort studies and case-control studies, each

    have advantages and disadvantages for evaluating talc as a risk factor for ovarian

    cancer. No single study design is clearly superior to the other.120 In fact, placing

    observational studies on a “hierarchy” or “pyramid,” as J&J and its experts do, has

    been called a “misconception.”121 As has been observed: “the type of study should

    not be taken as a guide to a study’s validity.”122




    120
      Kenneth J. Rothman, Six Persistent Research Misconceptions, 29 J. Gen. Internal
    Med. 1060 (2014), attached as Exhibit 58.
    121
          Id.
    122
          Id. at 1061.

                                                  37
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             The specific details related to the conduct of the study such as methods of

    exposure assessment, length of follow-up and choice of control group can impact

    the validity of the findings and the interpretation of results. As such, rather than

    making a conclusion based only on the overall study design, the evaluation and

    interpretation of the findings of the studies must consider the strengths and

    weaknesses of the individual studies.123

             As set forth below, the PSC’s experts considered the biases and potential

    confounders for all talc studies—case control and cohort. In contrast, in the summary

    of epidemiology contained in their brief, J&J choses to only describe the talcum

    powder cohort studies.124 Its’ decision is misleading because, as can be seen in the

    Forest-plot below,125 all observational studies, regardless of their study design,




    123
        See Moorman Rep. at 8; Deposition of Anne McTiernan, MD, Ph.D., January 28,
    2019 (“McTiernan Dep.”) at 116:20-118:24 (discussing that the hierarchy of the
    reliability of epidemiology evidence depends on the question under review),
    attached as Exhibit 59; Siemiatycki Rep. at 10 (“[V]alidity and reliability are not
    determined by the overall architecture of the study, but rather by the specifics of the
    study… There may be many reasons why a particular case-control study is more
    valid than a particular cohort study.”).
    124
          See Defs.’ Mem. at 14-17.
    125
          Siemiatycki Rep. at 95-97.


                                               38
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    demonstrated a consistent increased risk between use of Talcum Powder Products

    and ovarian cancer:




                       d.    Talcum powder and ovarian cancer meta-analyses
          Since there can be random variations within individual epidemiologic studies,

    and because very large sample sizes may be needed to study rare diseases like

    ovarian cancer, epidemiologists seldom (if ever) make causal inferences based on

    results of one study. Rather, they look at the totality of epidemiologic studies to

    determine patterns of exposure-disease relationships. Meta-analysis is a method used



                                            39
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    to combine the statistical results of several studies to produce an average estimate of

    effect of an exposure on an outcome of interest. The summary estimates can provide

    evidence regarding the presence or absence of an association and can allow

    examination of dose-response relationships.126

          Eight meta-analyses of genital talc exposure and ovarian cancer calculated

    summary relative risks that were very consistent across the publications, ranging

    from 1.22 to 1.35, all but one had 95% confidence intervals, indicating that women

    who reported talc use were at statistically significant increased risk for ovarian

    cancer. Similarly, the pooled analysis of eight case-control studies reported an

    overall odds ratio of 1.24 (95% confidence interval (CI) 1.15 – 1.33), and three meta-

    analyses specifically evaluated genital talc exposure and risk of serous epithelial

    ovarian cancer revealing a significantly increased risk ranging from 1.24 to 1.38.127



    126
       Michael Borenstein, et al., Introduction to Meta-Analysis (2009) at 380, attached
    as Exhibit 60; Modern Epidemiology at 652-653; McTiernan Rep. at 21-22;
    Siemiatycki Rep. at 61 (“The individual study RRs are not all necessarily statistically
    significant, but that is irrelevant because most individual studies did not have
    sufficient statistical power to detect RR in the range of 1.2-1.4. It is the statistical
    significance of the meta-RR, representing the combined evidence that has the
    requisite power and that excess RR is highly statistically significant. I place great
    weight upon this evidence of causality and, here, believe it to be amongst the most
    important findings”).
    127
        Berge, et al., Genital Use of Talc and Risk of Ovarian cancer: a Meta-Analysis,
    27 European J. Cancer Prev. 248 (2018), attached as Exhibit 61; Penninkilampi, et
    al., Perineal Talc Use and Ovarian Cancer: A Systematic Review and Meta-
    Analysis, 29 Epidemiology 41 (2018), attached as Exhibit 62; Taher, et al,
    Systematic Review and Meta-Analysis of the Association Between perineal Use of

                                              40
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    These results indicate specificity as discussed, infra, at Section V(F), and as depicted

    in the Forest-plot below:




                        e.      Smith Bindman meta-analysis of regular use talcum
                                powder and high grade serous ovarian cancer
                                (HGSOC)
          The specific association between regular talcum powder use and serous

    ovarian cancer was further noted by Dr. Smith-Bindman in her meta-analysis of the

    observational data. Dr. Smith-Bindman looked at “studies that reported on regular


    talc and Risk of Ovarian Cancer, Unpublished Manuscript (2018), attached as
    Exhibit 63.

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    talcum powder use and invasive serous cancer (or all invasive cancer if serous not

    reported).”128 She found that the studies were homogenous and that the “odds of

    invasive serous cancer associated with regular use was 1.52 (95% CI 1.15, 1.88).129

    The results were similar when assessing the odds of all serous cancer.”130

                   2.    Biologic Data
             Based on their review of the totality of the peer-reviewed scientific and

    medical literature, the PSC’s experts opine that it is biologically plausible for J&J’s

    Talcum Powder Products to increase the risk of epithelial ovarian cancer because:

    (1) talcum powder is capable of reaching the fallopian tubes and ovaries either


    128
          See Smith-Bindman Rep. at 34.
    129
        Id. at Figure-3 (Forest plot showing odds of ovarian cancer associated with
    regular use of talcum powder products and invasive serous cancer. See also
    Deposition of Rebecca Smith-Bindman, MD, February 7, 2019 and February 8, 2019
    (“Smith-Bindman Dep.”) at 99:15-20 (opining that women exposed to talcum
    powder on a regular basis had about a 50% increased risk of developing serous
    invasive cancer), attached as Exhibit 64; Siemiatycki Rep. at Figure-1 (Forest plot
    showing meta-analysis of relative risk of ovarian cancer (all types combined) among
    women who regularly used TPP in the perineal area); Penninkilampi (2018) at 46
    (“This meta-analysis had several strengths. None of the analyses in this review had
    statistically significant heterogeneity, except for non-perineal application, which
    indicates consistency in the direction and magnitude of the effect size between
    individual studies, and strengthening the reliability of the pooled effect sizes”).
    130
        For a complete discussion of the PSC’s evidence in support of biological
    plausibility, see the Plaintiffs’ Steering Committee’s Memorandum in Opposition to
    Johnson & Johnson and Johnson & Johnson Consumer, Inc.’s Motion to Exclude
    Plaintiffs’ Experts Opinions Related to Biologic Plausibility (“PSC Opp. Mem. Bio.
    Plaus.”) being filed concurrently.



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    through migration from the perineum or through inhalation, and (2) once there,

    talcum powder causes chronic inflammation and oxidative stress, which increases

    the risk of epithelial ovarian cancer through a well-described cascade of biological

    and molecular processes.

          These opinions are supported by the totality of long-standing and extensive

    peer-reviewed literature on: 1) migration of particulates within the female genital

    tract or through inhalation; 2) the known carcinogenic constituents in talcum powder

    (including asbestos, fibrous talc, heavy metals, fragrances, and other chemicals); 3)

    the known inflammatory properties of talcum powder; and 4) the known role

    inflammation and oxidative stress play in the pathogenesis of ovarian cancer. The

    biological evidence is far from “weak.” The medical and scientific literature on each

    of these topics is considerable and was reviewed painstakingly by the PSC’s experts

    in their respective fields of expertise. It is telling that J&J references very little

    literature in their brief, instead relying almost exclusively on the opinions of their

    experts who frequently contradict the conclusions of the relevant publications. When

    literature is cited by J&J, it is often incomplete and misleading. However, biologic

    data supports the PSC’s contentions.

                       a.      Biologically plausible mechanism of talcum powder
                               and ovarian cancer: talcum powder reaches the ovaries
          The PSC’s experts’ opinion that talcum powder can reach the fallopian tubes

    and ovaries when used on the perineum is based on the overwhelming body of peer-


                                             43
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    reviewed evidence that demonstrates that substances, including particulates like

    talcum powder and asbestos, readily migrate from the vagina to the fallopian tubes,

    ovaries, and peritoneal131 surface. These include:

          • Sperm: Sperm move more quickly through the genital tract than
            would be predicted from innate motility, indicating a transport
            mechanism. In addition, dead sperm and inanimate sperm particles
            (lacking flagella) are efficiently transported upwards through the
            uterus and tubes.132 This process involves directed uterine
            contractility that has been confirmed through research of
            intrauterine pressure measurements.133

          • Carbon particles: Inert carbon particles were placed in the
            posterior vaginal fornix and observed in the fallopian tubes 28 and
            34 minutes later (2 out of 3 patients tested). This research confirmed
            that sperm motility is not the chief factor in transport and that
            contractions of the uterus are likely involved in process of
            migration/transport of particles through the genital tract.134

          • Retrograde menstruation: The transport of menstrual flow into the
            peritoneal cavity was first proposed by Sampson in 1927 and is now
            well-established as the mechanism for endometriosis initiation. The



    131
       The peritoneum is the serous membrane that lines the cavity of the abdomen and
    pelvis and covers abdominopelvic organs.
    132
       Richard E. Jones & Kristin H. Lopez, Human Reproductive Biology at 231-252
    (3d ed. 2006), attached as Exhibit 65.
    133
        Stefan Kissler, et al., Uterine Contractility and Directed Sperm Transport
    Assessed by Hystero-salpingoscintigraphy (HSSG) and Intrauterine Pressure (IUP)
    Measurement, 83 Acta Obstetricia Et Gynecologica Scandinavica 369–74 (2004),
    attached as Exhibit 66.
    134
      G. E. Egli & M. Newton, The Transport of Carbon Particles in the Human
    Female Reproductive Tract, 12 Fertility and Sterility 151–55 (1961), attached as
    Exhibit 67.

                                             44
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             prevalence of retrograde menstruation has been described in 90% of
             investigated women.135

          • Particulate radioactive material: Particulate radioactive material
            was placed in the posterior vaginal fornix. Twenty four hours later,
            radioactive material was present in the adnexa separate from the
            uterus in 2/3 of cases The authors concluded that the transit of
            particles from the vagina to the peritoneal cavity and the ovaries “is
            probably the same for many chemical substances used for hygienic,
            cosmetic, or medicinal purposes, many of which may have potential
            carcinogenic or irritating properties . . . migration of certain
            chemical substances could play an important aetiological role in
            gynaecological diseases and especially in carcinoma of the
            ovary.”136

          • “Uterine peristaltic pump”: Rapid and sustained sperm transport
            from the cervix to the fallopian tube is provided by uterine peristaltic
            contractions that can be visualized by vaginal sonography.137

          • Glove powder: Studies have demonstrated retrograde migration of
            starch after gynecological examination with powdered gloves. The
            authors concluded that: “Consequently, powder or any other




    135
        See M.J. Blumenkrantz, et al., Retrograde Menstruation in Women Undergoing
    Chronic Peritoneal Dialysis, 57 Obstetrics and Gynecology 667–70 (1981), attached
    as Exhibit 68; see also J. Halme, et al., Retrograde Menstruation in Healthy Women
    and in Patients with Endometriosis, 64 Obstetrics and Gynecology 151–54 (1984),
    attached as Exhibit 69.
    136
        P. F. Venter & M. Iturralde, Migration of a Particulate Radioactive Tracer from
    the Vagina to the Peritoneal Cavity and Ovaries, 55 S. Afr. Med. J. 917–19 (1979),
    attached as Exhibit 70.
    137
       See G. Kunz, et al., The Uterine Peristaltic Pump. Normal and Impeded Sperm
    Transport within the Female Genital Tract, 424 Advances in Experimental Medicine
    and Biology 267–77 (1997), attached as Exhibit 71; I. Zervomanoklakis, et al.,
    Physiology of Upward Transport in the Human Female Genital Tract, Annals of
    1101 New York Academy of Sciences 1–20 (2007), attached as Exhibit 72.

                                             45
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                potentially harmful substances that can migrate from the vagina
                should be avoided.”138

             • Talc: Studies have documented the presence of talc particles in the
               adnexa, ovaries, and peritoneum. The authors of these studies have
               concluded that this occurs as a result of migration of talc particles
               from the vagina through the cervix, uterus, and fallopian tubes.139
               Talc has also been noted in pelvic lymph nodes which can also occur
               through migration, absorption, or inhalation with transport through
               the lymphatic system.140

             The migration of particles and fibers, including talc, asbestos and other

    constituents of talcum powder, from the perineum to the upper genital tract (tubes

    and ovaries) is a key element in the mechanism by which J&J’s Talcum Powder

    Products cause ovarian cancer. As outlined above and more thoroughly in the PSC’s

    biologic plausibility briefing,141 the evidence supporting this process is robust and

    accepted by the medical and scientific community. As a result, the FDA states that


    138
        A. C. E. Sjösten, et al., Retrograde Migration of Glove Powder in the Human
    Female Genital Tract, 19 Human Reproduction 991–95 (2004), attached as Exhibit
    73.
    139
       W. J. Henderson, et al., Talc and Carcinoma of the Ovary and Cervix, 78 Brit. J.
    Obstetrics and Gynaecology 266–72 (1971), attached as Exhibit 74; Cramer (1999)
    at 160–61; D.S. Heller, et al., The Relationship between Perineal Cosmetic Talc
    Usage and Ovarian Talc Particle Burden, 174 Am. J. Obstetrics & Gynecology
    1507–10 (1996), attached as Exhibit 75.
    140
        Daniel Cramer et al., Presence of Talc in Pelvic Lymph Nodes of a Woman with
    Ovarian Cancer and Long-Term Genital Exposure to Cosmetic Talc, 110 Obstetrics
    & Gynecology 498, 499 (2007), attached as Exhibit 76; McDonald, et al.,
    Correlative polarizing light and scanning electron microscopy for the assessment of
    talc in pelvic region lymph nodes, 43 Ultrastructural Pathology 13, 21, 24 (2019),
    attached as Exhibit 77.
    141
          See PSC Opp. Mem. Bio. Plaus.

                                               46
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    the “potential for particulates to migrate from the perineum and vagina to the

    peritoneal cavity is indisputable.142

          The PSC’s experts opine that inhalation is a secondary mechanism.143 This

    mechanism is particularly important when considering asbestos and talc fibers and

    is well-supported in the peer-reviewed scientific literature. The IARC Monograph

    discussing asbestos and fibrous talc describes both inhalation and dermal contact as

    primary routes of exposure to the general population from cosmetic products.144

                        b.     Biologically plausible mechanisms of talcum powder
                               and ovarian cancer: chronic inflammation and
                               oxidative stress

                               i.     Talcum powder causes inflammation and
                                      oxidative stress
          Talcum powder is known to be an inflammatory agent based on tissue reaction

    in animals and humans, as well as cellular effects in in vitro experiments. As early

    as 1948, in a study from the Laboratories of J&J, it was noted that “the potential


    142
       See April 1, 2014 FDA Letter from Steven Musser to Samuel Epstein (“Musser
    Letter”) at 5, attached hereto as Exhibit 78.
    143
       McTiernan Rep. at 59; Plunkett Rep. at 27-28, 38, 40-41, 43-44; Plunkett Dep. at
    175:19-179:24; Singh Rep. 18-19, 57-58; January 16, 2019 Deposition of Sonal
    Singh, MD, MPH (“Singh Dep.”) at 216:5-13, attached hereto as Exhibit 79.
    144
       IARC Monographs on the Evaluation of Carcinogenic Risks to Humans, Arsenic,
    Metals, Fibres, and Dusts, Vol. 100C: A review of Human Carcinogens (2012) at
    232 (“Consumer products (e.g. cosmetics, pharmaceuticals) are the primary sources
    of exposure to talc for the general population. Inhalation and dermal contact (i.e.
    through perineal application of talcum powders) are the primary routes of
    exposure.”), attached as Exhibit 80.

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    hazards of talcum as a lubricant for surgical gloves have long been a matter of

    concern,” citing “incontrovertible evidence of the local irritant action of talcum.”145

    In December, 2016, FDA finally banned talcum powder use on surgical and

    examination gloves due to “surgical complications related to peritoneal adhesions,

    and other adverse health events not necessarily related to surgery, such as

    inflammatory responses to glove powder.”146 In addition, talcum powder is

    specifically used because of its inflammatory and fibrogenic properties in a

    procedure called pleurodesis.147 Concerns have also been raised due to the potential

    presence of talc fibers in talcum powder used in pleurodesis.148 Granulomatous




    145
       J.J. Eberl & W. L. George, Comparative Evaluation of the Effects of Talcum and
    a New Absorbable Substitute on Surgical Gloves, 75 Am. J. Surgery 493 (1948),
    attached hereto as Exhibit 81.
    146
      See 81 Fed. Reg. 91643, 91723 (December 19, 2016) (codified at 21 C.F.R. pts.
    878, 880, & 895), attached as Exhibit 82.
    147
       See, e.g., Eduardo Henrique Genofree, Inflammation and Clinical Repercussions
    of Pleurodesis Induced by Intrapleural Talc Administration, 62 Clinics (Sao Paulo)
    627 (2007) (“The presence of local and systemic inflammatory alterations has been
    demonstrated in humans undergoing talc pleurodesis.”), attached as Exhibit 83.
    148
        See Ghio, et al., Talc Should Not be Used for Pleurodesis in Patients with
    Nonmalignant Pleural Effusions, 164 Am. J. Respiratory & Critical Care Medicine
    1741 (2001) (“Even if the product is “asbestos-free,” the mechanism of cancer
    induction by asbestos (i.e. metal-catalyzed radical generation [oxidative stress]) is
    similarly pertinent to talc and the occurrence of fibrous forms of the sheet silicate
    itself raises issues about the clearance and long-term safety.”), attached as Exhibit
    84.

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    inflammation with talc and asbestos has also been reported in human ovaries.149

    Human studies examining the relationship between the biomarker MUC1 (an

    epithelial cell surface protein that protects against ovarian cancer) and talcum

    powder have also been proposed as a potential mechanism for carcinogenesis based

    on a case-controlled study.150

             Animal studies have also consistently demonstrated inflammation associated

    with talcum powder exposure via inhalation and direct exposure. Although there is

    not a good experimental model for the development of ovarian cancer in animals,151

    inflammation can and has been consistently demonstrated. As early as 1952, samples

    of talc and starch were implanted in skin wounds and peritoneal cavities of animals.

    The authors of this study found “[t]alc was universally damaging.” In contrast, the

    starches seemed to be relatively harmless.152


    149
       See, e.g., S. A. Mostafa, et al., “Foreign Body Granulomas in Normal Ovaries.”
    66 Obstetrics and Gynecology 701–2 (1985) (“Noting that “it is not a new
    observation that talc may be found in the pelvis, nor are talc granulomas in and of
    themselves new observations.”), attached hereto as Exhibit 85.
    150
          See generally Cramer (2007).
    151
        See Barbara C. Vanderhyden, et al., Animal Models of Ovarian Cancer, 1
    Reproductive Biology & Endocrinology 67 (2003) (“[T]he low incidence and/or the
    length of time required for the appearance of tumors in all of these models render
    them poorly feasible for experimental studies of ovarian carcinogenesis. . . Epithelial
    inclusion cysts may occur following ‘inflammation caused by carcinogens or
    chemical irritants like talcum powder.’”), attached hereto as Exhibit 86.
    152
       Graham & Jenkins, Value of Modified Starch as a Substitute for Talc, 1 Lancet
    590–91 (1952), attached hereto as Exhibit 87.

                                              49
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          Moreover, in the National Toxicology Program animal inhalation study using

    non-asbestiform, cosmetic grade talc, toxic inflammatory effects of talcum powder

    exposure included chronic inflammation, alveolar epithelial hyperplasia, squamous

    metaplasia and squamous cysts, and interstitial fibrosis of the lung, as well as

    carcinogenic activity in some organs, including lungs and adrenal glands.153 In

    addition, various abnormal findings related to inflammation have been reported in

    animals following exposure to talcum powder, such as “conversion from a single

    layer epithelium to a multilayered one with extremely abnormal cells and mitotic

    activity,”154 “papillary transformation,”155 “unfavorable effects on the female genital

    system, particularly on ovaries and fallopian tubes.”156 A meta-analysis of an

    impressive 64 publications reported on the association between exposure to mineral

    particles (including asbestos) and oxidatively damaged DNA in tissues of animals.157


    153
        NTP Toxicology and Carcinogenesis Studies of Talc (CAS No. 14807-96-6)
    (NonAsbestiform) in F344/N.Rats and B6C3Fl Mice (Inhalation Studies), 1993,
    attached as Exhibit 88.
    154
       J.Graham & R. Graham, Ovarian Cancer and Asbestos, 1 Environmental
    Research 115–28 (1967), attached hereto as Exhibit 89.
    155
       T.C. Hamilton, et al., Effects of Talc on the Rat Ovary, 65 Br. J. Experimental
    Pathology 101–665 (1984), attached hereto as Exhibit 90.
    156
       Nadi Keskin, et al., Does Long-Term Talc Exposure Have a Carcinogenic Effect
    on the Female Genital System of Rats? An Experimental Pilot Study, 280 Archives
    Gynecology & Obstetrics 925–31 (2009), attached hereto as Exhibit 91.
    157
       Danielsen Moller & Roursgaard Jantzen, Oxidatively Damaged DNA in Animals
    Exposed to Particles, 43 Critical Reviews in Toxicology 96–118 (2013), attached
    hereto as Exhibit 92.

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          In vitro studies also document inflammatory and pro-carcinogenic biologic

    effects in cell cultures exposed to talcum powder. These studies include Shukla158

    (demonstrating genotoxicity in both asbestos and non-fibrous talc), Buz’Zard159

    (demonstrating aberrant ROS [reactive oxygen species] and neoplastic

    transformation), Akhtar160 (demonstrating induced cytotoxicity, oxidative stress, and

    apoptosis), and Akhtar161 (demonstrating toxicity mediated through oxidative

    stress). Saed and his colleagues expand this body of literature by exposing 5-6 cell

    lines including normal fallopian tube and ovarian cells, as well as ovarian cancer

    cells, to Johnson’s Baby Powder, finding alteration in the redox state indicating




    158
       Arti Shukla, et al., Alterations in Gene Expression in Human Mesothelial Cells
    Correlate with Mineral Pathogenicity, 41 Am. J. Respiratory Cell & Molecular
    Biology 114–23 (2009), attached hereto as Exhibit 93.
    159
       Buz’Zard & Lau, Pycnogenol reduces Talc-induced Neoplastic Transformation
    in Human Ovarian Cell Cultures, 21 Phytother. Res. 579, 585 (2007) (“The data
    show that talc is capable of increasing cell proliferation, inducing neoplastic
    transformation of both the normal stromal and epithelial ovarian cells in vitro; and
    increasing ROS generation in these cells as well as the PMN cells.”), attached as
    Exhibit 94.
    160
       M.J. Akhtar, et al., Cytotoxicity and Apoptosis Induction by Nanoscale Talc
    Particles from Two Different Geographical Regions in Human Lung Epithelial
    Cells, Envtl. Tox. 394, 404 (2014) (talc particles “significantly induced cytotoxicity,
    oxidative stress, and apoptosis in human lung epithelial cells”), attached hereto as
    Exhibit 95.
    161
       M. J. Akhtar, et al., The Primary Role of Iron-Mediated Lipid Peroxidation in the
    Differential Cytotoxicity Caused by Two Varieties of Talc Nanoparticles on A549
    Cells and Lipid Peroxidation Inhibitory Effect Exerted by Ascorbic Acid, 24 Tox. in
    Vitro 1139–47 (2010), attached hereto as Exhibit 96.

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    oxidative stress, elevation in CA-125 levels, enhanced cell proliferation, inhibited

    apoptosis, changes in gene expression, and inducement of SNPs (single nucleotide

    polymorphisms) in a dose-responsive fashion.162

                               ii.   Talcum powder        cause    inflammation     and
                                     oxidative stress

          Inflammation and oxidative stress are considered a “hallmark” of

    carcinogenesis, generally, and play a key role in the pathogenesis of ovarian cancer,

    specifically. Both concepts are extensively reported in the medical and scientific

    literature. In an article from 2001, Balkwill and Mantovani reviewed multiple

    cancers associated with various inflammatory conditions, specifically reporting talc

    as an “inflammatory stimulus/condition” for the “association of inflammation and

    ovarian cancer risk.”163

          A more recent review, Hallmarks of Cancer: The Next Generation, states that

    “since 2000, research on the intersections between inflammation and cancer

    pathogenesis has blossomed, producing abundant and compelling demonstrations of

    the functionally important tumor-promoting effects that immune cells – largely of


    162
       Nicole M. Fletcher, et al., Molecular Basis Supporting the Association of Talcum
    Powder Use with Increased Risk of Ovarian Cancer, 20 Reproductive Sciences 1
    (2019), attached hereto as Exhibit 97.
    163
       See, e.g., F. Balkwill & A. Mantovani, Inflammation and cancer: back to
    Virchow?, 357 Lancet 539, 539 (2001) (“increased risk of malignancy is associated
    with the chronic inflammation caused by chemical and physical agents”), attached
    hereto as Exhibit 98.

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    the innate immune system – have on neoplastic progression. Inflammation is

    described as fostering multiple hallmark functions.”164 Furthermore, numerous other

    peer-reviewed publications describe the importance of inflammation and oxidative

    stress in carcinogenesis.165 Health Canada also concluded, in their recent draft



    164
       D. Hanahan & R.A. Weinberg, Hallmarks of Cancer: The Next Generation, 144
    Cell 646, 659 (2011) (“[I]nflammatory cells can release chemicals, notable reactive
    oxygen species, that are actively mutagenic for nearby cancer cells, accelerating
    their genetic evolution toward states of heightened malignancy.”), attached hereto
    as Exhibit 99.
    165
       See, e.g., L. Coussens & Zena Webb, Inflammation and Cancer, 420 Nature 860-
    867, at Table 1 (2002) (noting that inflammatory cells have a powerful effects on
    tumor development. Tumor development and progression are accelerated inevitably
    by inflammation caused from foreign bodies, and that reactive oxygen species
    derived from inflammatory cells are one of the most important genotoxic mediators
    to accelerate the process.”), attached hereto as Exhibit 100; Liou & Storz, Reactive
    oxygen species in cancer, 44 Free Radical Research 479, 479 (2010) (“Elevated rates
    of ROS have been detected in almost all cancers… ROS in cancer are involved in
    cell cycle progression and proliferation, cell survival and apoptosis.”), attached
    hereto as Exhibit 101; Grivennikov, et al., Immunity, Inflammation, and Cancer,
    140 Cell 883, 883 (2010) (“A role for inflammation in tumorigenesis is now
    generally accepted, and it has become evident that an inflammatory
    microenvironment is an essential component of all tumors, including some which a
    direct causal relationship with inflammation is not yet proven.”), attached as Exhibit
    102; Reuter, et al., Oxidative stress, inflammation, and cancer: How are they
    linked?, 49 Free Radical Biol. Med. 1603-1616 (2011) (“Cancer is a multistage
    process defined by at least three stages: initiation, promotion, and progression.
    Oxidative stress interacts with all three stages of this process. Initiation (DNA
    damage by introducing gene mutations and structural alterations of DNA);
    Promotion (Abnormal gene expression and interference with communication,
    resulting in increase in cell proliferation and decrease in apoptosis); Progression
    (further DNA alterations)… Considerable evidence has demonstrated that ROS are
    involved in the link between chronic inflammation and cancer.”), attached as
    Exhibit 103; Fernandes, et al., The Role of the Mediators of Inflammation in Cancer
    Development, 21 Pathol. Oncol. Res. 527, 527 (2015) (“A range of inflammation

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    assessment, that [t]here is support for an association of inflammation and increased

    risk of ovarian cancer.”166

             Moreover, there is considerable literature that exists linking inflammation and

    oxidative stress with epithelial ovarian cancer, specifically. In 1999, Ness reported

    on the role of inflammation in ovarian epithelial cancer, implicating talc and asbestos

    exposure as sources of carcinogenic inflammation.167 Ness described the process as

    involving rapid cell division, DNA excision and repair, oxidative stress, and high

    concentrations of cytokines and prostaglandins, all of which are established

    promoters of mutagenesis. Additional literature has since confirmed and expanded

    the understanding of the inflammatory mechanisms originally proposed by Ness.168


    mediators act to create a favorable microenvironment for the development of
    tumors.), attached hereto as Exhibit 104; Kiraly, et al., Inflammation, DNA Damage
    and Mutations In Vivo, 11 PLO Genetics 1, 2 (2015) (Chronically inflamed tissues
    are at risk for mutagenesis and malignant transformation), attached hereto as Exhibit
    105.
    166
          Health Canada Assessment at 18.
    167
        Roberta B. Ness & Carrie Cottreau, Possible Role of Ovarian Epithelial
    Inflammation in Ovarian Cancer, 91 J. Nat’l Cancer Inst. 1459, 1463 (1999),
    attached hereto as Exhibit 106; In an internal document, J&J found this evidence
    “compelling.” See September 30, 2004 Faxed document from Richard Zazenski,
    Director Product Safety to Bill Ashton (Bates JNJ 000000704 - JNJ 000000709),
    attached as Exhibit 107; see also Ness (2000).
    168
        See Freedman, et al., Peritoneal inflammation – A microenvironment for
    Epithelial Ovarian Cancer (EOC), 2 J. Translational Med. 1, 4 (2004), attached as
    Exhibit 108; Shan & Liu, Inflammation: A hidden path to breaking the spell on
    ovarian cancer, 8 Cell Cycle 3107, 3110 (2009) (“Increasing evidence suggests that
    inflammation contributes significantly to the etiology of EOC.”), attached as Exhibit
    109; Trabert, et al., Pre-diagnostic levels of inflammation markers and risk of

                                               54
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          In an authoritative treatise published in 2016 under auspices of the Institute of

    Medicine (IOM), the Committee on the State of the Science in Ovarian Cancer

    Research identified inflammation as a risk for epithelial ovarian cancer, and found

    that talcum powder and asbestos are specific inflammatory factors associated with

    ovarian cancer.169

          Furthermore, Dr. Saed published his review article in Gynecologic Oncology

    in 2017, “Updates in the role of oxidative stress in the pathogenesis of ovarian

    cancer,” describing in detail the essential role of oxidative stress in ovarian cancer.170




    ovarian cancer in the Prostate, Lung, Colorectal and Ovarian Cancer (PLCO)
    Screening Trial, 135 Gynecologic Oncology 297, 298, 309 (2014)
    (“Epidemiological evidence implicates chronic inflammation as a central
    mechanism in the pathogenesis of ovarian cancer.”), attached as Exhibit 110;
    Rasmussen, et al., Pelvic Inflammatory Disease and the Risk of Ovarian Cancer and
    Borderline Tumors: A Pooled Analysis of 13 Case-Control Studies, 185 Am. J.
    Epidemiology 8-20 (2017) (a pooled analysis of 13 case-control studies finding an
    association between PID and the risk of ovarian tumors is biologically plausible and
    could be explained by the inflammation hypothesis.), attached as Exhibit 111.
    169
        See National Academies of Science, Engineering and Medicine, Ovarian
    Cancers: Evolving Paradigms in Research and Care (“IOM”) at 110 (2016),
    attached as Exhibit 112. The study was commissioned by Congress, and funded by
    the CDC (holding that talc is chemically similar to asbestos and can cause an
    inflammatory response. The use of perineal talcum powder has been associated with
    a 20 to 30 percent increased risk of ovarian cancer, although it also has been shown
    to vary by histologic subtype (Cramer et al., 2015; Terry et al., 2013)).
    170
       Saed et al., Updates on the role of oxidative stress in the pathogenesis of ovarian
    cancer, Gynecologic Oncology 145: 595-602, at 596-97 (2017), attached as Exhibit
    113.

                                               55
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    J&J’s expert, Dr. Birrer, agrees that authors of review articles like this one in

    reputable journals are generally felt to be experts in the field.171

          Finally, in an even more recent review, the authors talc exposure as a cause

    of inflammation in the ovaries and/or fallopian tubes. The mechanism is through

    oxidative stress and “ROS exposure that could potentially lead to epithelial cells in

    the ovary and FT [fallopian tubes] undergoing transformative changes, as has been

    demonstrated for ovarian surface epithelium cells grown in 3D culture.”172

                        c.     Biologically plausible mechanisms of talcum powder
                               and ovarian cancer: talcum powder contains known
                               and probable carcinogens
          There is credible evidence from Johnson & Johnson’s own testing results,

    Imerys Talc America’s test results, peer-reviewed scientific literature, as well as Drs.

    Longo and Rigler’s testing that Johnson’s Baby Powder and Shower-to-Shower have

    historically contained asbestos and fibrous talc.173 These components are universally


    171
        See March 29, 2019 Deposition of Michael Birrer, M.D., Ph.D. (“Birrer Dep.”)
    at 394:11-17, attached hereto as Exhibit 114.
    172
      See Savant et al., The Role of Inflammation and Inflammatory Mediators in the
    Development, Progression, Metastasis, and Chemoresistance of Epithelial Ovarian
    Cancer, 10 Cancers1-30 at Figure 1 (2018), attached hereto as Exhibit 115.
    173
        For a complete discussion of the evidence regarding the presence of asbestos,
    fibrous talc, nickel, chromium, and cobalt, please see the Plaintiffs’ Steering
    Committee’s Memorandum in Opposition to Johnson & Johnson and Johnson &
    Johnson Consumer, Inc.’s Motion to Exclude Plaintiffs’ Experts’ Asbestos-Related
    Opinions and Plaintiffs’ Steering Committee’s Memorandum in Opposition to
    Johnson & Johnson and Johnson & Johnson Consumer, Inc.’s Motion to Exclude
    Plaintiffs’ Experts Opinions Regarding Alleged Heavy Metals and Fragrances in

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    accepted as potent human carcinogens and identified as Group 1 carcinogens for

    cancer in humans, including ovarian cancer.174

             As noted above, the mechanism of inflammation by which asbestos and talc

    fibers causes cancer is well-described in the scientific literature. IARC proposed

    direct and indirect mechanisms, both associated with inflammation. In the direct

    mechanism, mineral fibers are shown to generate free radicals that directly induce

    genotoxicity as assessed by DNA breaks and oxidized bases in DNA. In the indirect

    mechanism, asbestos fibres induce macrophage activation and persistent

    inflammation that generate reactive oxygen and nitrogen species contributing to

    tissue injury, genotoxicity, and epigenetic alterations. Persistent inflammation and

    chronic oxidative stress have been associated with the activation of intracellular

    signaling pathways, resistance to apoptosis, and stimulation of cell proliferation.175

    Defense Expert Brooke Mossman, in her 2018 review article on in vitro mechanisms

    for the carcinogenesis of “EMPs” (elongated mineral particles or fibers), confirms

    the mechanisms outlined by IARC in 2012, whereby long EMPs appeared to be

    promoters of cancers via a number of mechanisms such as inflammation, generation




    Johnson’s Baby Powder and Shower to Shower, being filed concurrently and both
    of which are incorporated herein by reference.
    174
          IARC (2012).
    175
          IARC (2010) at 397-98; IARC (2012) at 288.

                                             57
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    of oxidants, and instigation of cell division through epigenetic and signaling cascade

    processes.176

                In addition to asbestos and fibrous talc, heavy metals (most notably, nickel,

    chromium, and cobalt) are found in Talcum Powder Products. Nickel and chromium

    are considered known carcinogens (Group 1) according to IARC; chromium is

    considered a possible carcinogen (Group 2B) by IARC.177 In addition, Defendants

    actually add chemicals to their Talcum Powder Products that are suspected

    carcinogens, including styrene, a well-recognized toxic chemical recognized by

    IARC as Group 2A (probably carcinogenic).178 As part of the expert review, the

    IARC Working Group evaluated relevant data, including genetic effects, oxidative

    stress, DNA damage and repair, and cell proliferation.

                The Agency for Toxic Substances and Disease Registry (ATSDR) has also

    described the carcinogenic mode of action (or mechanism) for nickel: “The available

    evidence suggests that, mechanistically, nickel carcinogenicity is probably the result

    of genetic factors and/or direct (e.g., conformational changes) or indirect (e.g.,

    generation of oxygen radicals) epigenetic factors. Additionally, certain nickel



    176
       Brooke T. Mossman, Mechanistic in Vitro Studies: What They Have Told Us
    about Carcinogenic Properties of Elongated Mineral Particles (EMPs), 361 Tox. &
    Applied Pharmac. 62-67 (2018), attached hereto as Exhibit 116.
    177
          IARC (2012).
    178
          Id.

                                                  58
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    compounds promote cell proliferation, which would convert repairable DNA lesions

    into nonrepairable mutations. Nickel is considered to be genotoxic…”179 And

    according to the ATSDR, chromium (VI), chromium (V), and chromium (IV) “have

    all been shown to be involved in Fenton-like oxidative cycling, generating oxygen

    radical species…”180 “It is believed that the formation of these radicals, which leads

    to oxidative stress, may be responsible for many of the deleterious effects of

    chromium on cells…”181 ATSDR describes the inflammatory mechanism of action

    for cobalt to include the following: “Exposure to soluble cobalt increases indices of

    oxidative stress, including diminished levels of reduced glutathione, increased levels

    of oxidized glutathione, activation of the hexose monophosphate shunt, and free-

    radical-induced DNA damage…”182 The NTP has listed chromium (VI)183 and




    179
       US Department of Health and Human Services, Public Health Service, Agency
    for Toxic Substances and Disease Registry (ATSDR), Toxicological Profile for
    Nickel (2005) at 155.
    180
       US Department of Health and Human Services, Public Health Service, Agency
    for Toxic Substances and Disease Registry (ATSDR), Toxicological Profile for
    Chromium (2012) at 281.
    181
          Id. at 282.
    182
          ATSDR (2005) at 154.
    183
      US Department of Health and Human Services, National Toxicology Program,
    Report on Carcinogens: Monograph on Cobalt and Cobalt Compounds that Release
    Cobalt Ions in vivo (2016).

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    nickel184 as “known to be human carcinogens,” while cobalt is listed as “reasonably

    anticipated to be human carcinogens.”185

                In sum, there is abundant and reliable medical and scientific literature

    supporting the PSC’s experts’ opinions that there is a biologically plausible

    mechanism by which talcum powder causes ovarian cancer because: (1) talcum

    powder can migrate or translocate to the fallopian tubes, ovaries and peritoneal

    surfaces from perineal use, and when inhaled, can enter the bloodstream and

    lymphatic system and then travel to the ovaries, and (2) once there, induce chronic

    inflammation and oxidative stress, which increases the risk of ovarian cancer.

                B.    THE MEDICAL CONSENSUS: TALCUM POWDER IS A RISK
                      FACTOR EPITHELIAL FOR OVARIAN CANCER

                      1.     The clinical definition of “risk factor”

                In clinical medicine, the term “risk factor” is often used to describe something

    that increases the chance of developing a disease.186 An “evidence-based medicine”

    approach for doctors is very similar to a Bradford-Hill analysis, as “medical

    decisions should be based on quality evidence.”187 Cause and risk factor are often


    184
          Id.
    185
          Id.
    186
        See National Cancer Institute, NCI Dictionary of Cancer Terms, available at
    https://www.cancer.gov/publications/dictionaries/cancer-terms/def/risk-factor.
    187
       Wendy R. Brewster, Epidemiology of Commonly Used Statistical Terms and
    Analysis of Clinical Studies, Clinical Gynecologic Oncology at 579-585 (9th ed.
    2017), attached hereto as Exhibit 120.

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    used interchangeably, assuming there exists a plausible biological mechanism to

    explain the association.188 This methodology for determining cancer causality

    merges traditional epidemiology, molecular research, and public health decision-

    making.189

          In addition to epidemiological studies reporting a consistent association of

    talcum powder use and the risk of ovarian cancer, there are numerous peer-reviewed

    medical publications, particularly in recent years, describing and listing talcum

    powder use as a risk factor for epithelial ovarian cancer, thus incorporating

    mechanism. In addition to talcum powder and asbestos exposure, other risk factors

    that have been linked to epithelial ovarian cancer include increasing age, nulliparity,


    188
        See February 4, 2019 Deposition of Daniel L. Clarke-Pearson, M.D. (“Clarke-
    Pearson Dep.”) at 80:3-5 (“They're virtually the same. A risk factor describes a
    cause. It does not affect every woman that has that risk factor.”), attached hereto as
    Exhibit 121. See also Smith Rep. at 19 (“For a doctor treating patients, knowledge
    of risk factors and causes of diseases are important for diagnosis, prevention, and
    treatment of the diseases. In essence, risk factors (associated with a health outcome)
    can be considered causal when the biological and molecular mechanisms for this
    relationship are known or predictable based on scientific research.”); Wolf Rep. at
    3-4 (“A causative risk factor is one that increases the chances of developing a disease
    by means of a known or predictable mechanism. In other words, it is more than a
    mere association.”).
    189
       Paolo Vineis, et al., Causality in Cancer Research: A Journey through Models in
    Molecular Epidemiology and Their Philosophical Interpretation, 14 Emerging
    Themes in Epidemiology 7 (2017) (“[C]ausal reasoning is based on both ‘evidence
    of difference-making’ (e.g. associations) and on ‘evidence of underlying biological
    mechanisms’. . . .This is important not only to understand cancer etiology, but also
    to design public health policies that target the right causal factors at the macro-
    level.”), attached as Exhibit 122.

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    infertility, endometriosis, obesity, polycystic ovarian syndrome, use of an

    intrauterine device, history of pelvic inflammatory disease, and cigarette smoking

    (for mucinous carcinoma). Protective factors (i.e., those factors associated with a

    decreased risk of epithelial ovarian cancer) include previous pregnancy, history of

    breastfeeding, oral contraceptives, and tubal ligation.190

             It is important to note that risk factors can interact with each other or act

    independently. They can act in a cumulative, additive, and/or synergistic fashion.191

    Talcum powder usage is often referred to as a “lifestyle risk factor” and therefore, a

    modifiable and preventable cancer cause.

                   2.    The Institute of Medicine and the Medical Literature
                         Recognize Talcum Powder as a Risk Factor for Epithelial
                         Ovarian Cancer
             There are multiple peer-reviewed publications that recognize the genital use

    of talcum powder as a risk factor for epithelial ovarian cancer. Some examples

    follow.

             • Hunn and Rodriguez (2012), in a review article titled “Ovarian
               Cancer: Etiology, Risk Factors, and Epidemiology” include
               “perineal talc exposure” as an “inflammatory risk factor,”
               describing the “[e]vidence demonstrating an association between
               talc use and an increased risk of ovarian cancer suggests that

    190
          See Wolf Rep. at 4.
    191
       Song Wu, et al., Evaluating Intrinsic and Non-Intrinsic Cancer Risk Factors, 9
    Nature Commc’n 3490 (2018) (“Non-intrinsic and intrinsic risk factors often do not
    act independently as we have highlighted, and the most likely scenario is that they
    cooperate to cause cancer ”); attached as Exhibit 123.

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                environmental toxins can enter the lower genital tract and migrate
                upward through the uterus and fallopian tubes to enter the peritoneal
                cavity and act as ovarian carcinogens.”192

             • Mallen and colleagues (2018): in a review titled, “Risk Factors for
               Ovarian Carcinoma,” included in its risk factor chart talcum powder
               as a “Lifestyle Risk Factor” for all serous, endometrioid and clear
               cell carcinomas.193

             • Park et al. (2018): described the increased risk in the African-
               American population: “In particular, talc powder use is highly
               prevalent in the African-American community and has been found
               to be associated with increased risk of ovarian cancer in this and
               other studies.”194

             • In a textbook chapter titled Ovarian Cancer Screening and
               Prevention, the authors described talc use as a “lifestyle factor,”
               stating that the “[u]se of talc in the genital area has been consistently
               shown to increase the risk of OC and therefore is not
               recommended.”195

             • The Institute of Medicine (IOM) in the “state of the science” treatise
               on ovarian cancer identified talc and asbestos as inflammatory




    192
          Hunn and Rodriguez (2012), attached as Exhibit 124.
    193
          Mallen et al. (2018), attached as Exhibit 125.
    194
        Park et al. (2018), attached as Exhibit 126 (noting “The risk associated with
    serous ovarian cancer in women with a history of multiple conditions was higher
    than individual associations observed in any one gynecologic condition. This
    observation may suggest a possible additive or synergistic effect on tumorigenesis
    influenced by the pro-inflammatory milieu from an increased burden in the number
    of benign conditions. Increased risk of serous carcinoma in women with other pro-
    inflammatory risk factors has been reported, most notably in talc users.”).
    195
       Eeles, et al. Cancer Prevention and Screening: Concepts, Principles and
    Controversies, Chapter 23 (2018), attached as Exhibit 127.

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               factors associated with ovarian cancer in the biological plausibility
               section.196

                  3.    Ovarian cancer subtypes

            High-grade serous carcinoma is the most common and most lethal subtype of

    epithelial ovarian cancer, and the one that is most associated with the perineal use of

    talcum powder. It is customary to refer to the various histologic subtypes, as well as

    fallopian tube and peritoneal cancer as a single entity, albeit distinguishing when

    appropriate. For example, the National Cancer Institute (NCI) treats Ovarian,

    Fallopian Tube, and Primary Peritoneal Cancer as a single cancer, as does the

    American College of Obstetrics and Gynecology (ACOG). A recent review seminar

    published in the Lancet (2019), titled “Epithelial ovarian cancer” provides a further

    example. Although the distinct histological subtypes are discussed in this article,

    epithelial ovarian cancer is addressed as a whole, including risk factors.197

            The epidemiological literature commonly does not distinguish between

    subtypes, nor do treatises by governmental agencies (e.g. IARC, Health Canada,

    FDA). Remarkably, J&J cherry-picks a recent publication in the New England

    Journal of Medicine, titled “Mucinous Ovarian Cancer,” as their primary example




    196
          See IOM (2016).
    197
        Lheureux, et al., Epithelial Ovarian Cancer, 393 Lancet 1240–53 (2019),
    attached as Exhibit 128.

                                              64
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    of an article that did not list talc as a risk factor.198 J&J did not cite the title of the

    article in the footnote; did not furnish the article to the court in their exhibits; failed

    to mention that mucinous ovarian cancer represents only 3% of EOC; and did not

    include the fact that mucinous ovarian cancer is the least studied subtype in regards

    to its association with talcum powder usage (likely due to its rarity). This article does

    not pertain to the other 97% of Epithelial Ovarian Cancer.

             C.    OTHER COURTS’ CONSIDERATION OF RELIABILITY OF
                   TALC AND OVARIAN CANCER SCIENCE

             In its brief, J&J has emphasized the two (2) state court decisions in Carl v

    Johnson & Johnson (N.J Super Ct. Law. Div, September 2. 2016) and Echeverria v.

    Johnson & Johnson, et al. (In re Johnson & Johnson Talcum Powder (Cal. Super.

    Ct. Oct 20, 2017).199 However, these are not the only two (2) cases to have

    considered the reliability of the general causation evidence. Three (3) other courts—

    a federal court in South Dakota, a state court in Missouri, and a state court in

    Georgia—have considered the issue of general causation, both under a Daubert and

    similar state-court standard, and have denied J&J’s motion. Each of these is briefly

    described below. While the PSC believe that the courts in Missouri and South

    Dakota reached the correct result under Daubert and that their reasoning should be


    198
        Morice, et al., Mucinous Ovarian Cancer, 380 New Eng. J. Med. 1256 (2019),
    attached as Exhibit 129.
    199
          Defs.’ Mem. at 4.

                                                65
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    followed, none of those cases had the experts or evidence that this Court has before

    it.


             • Berg v. Johnson & Johnson:200 Berg was tried to a jury in 2013 in
               the U.S. District Court for the District of South Dakota, and the
               testimony of the plaintiff’s general causation experts, based on the
               then existing evidence, survived J&J’s Daubert challenges in full
               and a copy of that order is attached.201 Briefly, the plaintiff on Berg
               presented evidence that “the association between use of cosmetic
               talc powder in the genital area and ovarian cancer with regard to the
               likelihood that this is cause-and-effect.”202 As here, J&J argued that
               the epidemiology expert in that case could not opine as he did
               because he did not interpret the epidemiology studies properly and
               because the epidemiologists’ interpretation of odds ratios was
               unreliable. J&J challenged that experts’ methodology alleging that
               his opinions were “speculative, untested, and unreliable” as to
               biological plausibility.203 The court, applying Daubert, concluded
               that J&J was really criticizing the epidemiologist’s’ “results, not his
               methodology,”204 and that “[a]ny gaps or limitations in [toxicology]
               can be presented to the jury.”205 There, the court properly ruled that
               the areas of expert disagreement was a jury question, and not a
               question of reliability which the court must resolve under Daubert.




    200
          Deane Berg v. Johnson & Johnson, et al., Case No. 4:09-cv-04179-KES, (D.S.D).
    201
       In Berg, the plaintiff’s expert Dr. John Godleski was offered as an expert to testify
    on identifying foreign particles in human tissue, and the trial court also allowed his
    testimony. He identified talc in the plaintiff’s ovarian tissue.
    202
          See Daubert Memorandum and Order at 7, attached as Exhibit 130.
    203
          Id. at 23-27.
    204
          Id. at 13.
    205
          Id. at 27.

                                                66
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             • Missouri Cases:206 There have been several cases tried to verdict in
               Missouri. In each case, J&J made the same arguments as it does
               here: that plaintiffs’ experts’ testimony and opinions are “not
               accepted” by the scientific community or regulatory bodies207 that
               her causation methodology was unreliable, with a focus on dose
               response, biological plausibility, and talc migration.208 The
               Missouri’s expert witness standard is codified at Mo. Rev. Stat. §
               490.065, and it substantively mirrors Fed. R. Evid. 702 concerning
               the admissibility of expert witness testimony. The Missouri court
               rejected these arguments stating that these are jury questions.209

             • Carl v. Johnson & Johnson:210 As it does here, in Carl, J&J argued
               that the Bradford-Hill aspects could not be reliably met. The trial
               judge in Carl limited his analyses to just the epidemiologists and,
               although he criticized them for not considering biologic evidence,
               his opinion does not address the biologic evidence plaintiffs
               presented from those disciplines. While the expert epidemiologists
               for both-sides applied the same methodology, the court sided with
               J&J and weighed the cohort studies differently than plaintiffs’
               experts did, improperly substituting his own judgment for that of the
               jury. More fundamentally, however, the there is absolutely no
               overlap whatsoever between a single challenged expert in Carl and
               any of PSC’s experts in the MDL and the scientific landscape has

    206
        Jacqueline Fox vs. Johnson & Johnson, et al., Cause No. 1422-CC09012-01;
    (reversed on other grounds); Gloria Ristesund vs. Johnson & Johnson, et al., Cause
    No. 1422-CC09012-01; (reversed on other grounds); Deborah Giannecchini vs.
    Johnson & Johnson, et al, Cause No. 1422-CC09012-01(on appeal); Nora Daniels
    vs. Johnson & Johnson, et al. Cause No. 1422-CC09326-01; Lois Slemp vs. Johnson
    & Johnson, et al., Cause No. 1422-CC09326-01 (on appeal); Gail Lucille Ingham,
    et al. vs. Johnson & Johnson, et al., Cause No. 1522-CC10417-01; Michael Blaes,
    et al. vs. Johnson & Johnson, et al., Cause No. 1422-CC09326-01.
    207
          Id. at 30.
    208
          Id. 33-44.
    209
      See, e.g., Blaes v Johnson & Johnson, 1422-CC0936-10, Order (June 12, 2017),
    Exhibit 131.
    210
       Carl v Johnson & Johnson, No. ATL-L-6540-14, 2016 WL 4580145, at *19
    (N.J.Super.L. Sep. 02, 2016), appeal pending.

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                evolved significantly in the three (3) years since that court
                considered the evidence. Since 2016, for example, numerous
                metanalysis have been performed found a positive association
                between perineal use of talc powder and ovarian cancer, including
                in a meta-analysis of cohort studies. In fact, as set forth herein,
                Health Canada, has reviewed all of the evidence and stated that the
                totality of the evidence—including evidence Judge Johnson never
                saw -- shows a “causal effect.” Moreover, Judge Johnson did not
                consider the implications (for example) of the presence of asbestos
                (a known carcinogen) on the biologic plausibility of Talcum Powder
                Products causing ovarian cancer.

             • In Re: Johnson & Johnson Talcum Powder (JCCP 4872):211 J&J
               lost its Sargon (California’s version of Daubert) motions after a
               hearing on general causation and, among others, Dr. Siemiatycki
               testified on general causation. Following trial, however, the Court
               granted J&J’s motions for judgment notwithstanding the verdict
               and, alternatively, for a new trial. The issues on appeal are primarily
               case specific, i.e. whether plaintiffs’ specific-causation expert was
               required to completely rule out all other possible causes of her
               ovarian cancer, and whether the case-specific expert had opined that
               plaintiff’s cancer was caused by some unknown factor.

             • Brower v. Johnson & Johnson:212 Georgia is the most recent court
               to consider the general causation issue and explicitly did so under
               Daubert. In an order dated March 16, 2019, the Court denied J&J’s
               motion stating that where the expert detailed their methodology,
               “defendants’ contentions go to the credibility of the testimony, not
               its admissibility.213




    211
      In Re: Johnson & Johnson Talcum Powder Cases, No. BC628228, 2017 (plaintiff
    Eva Echeverria only).
    212
          Brower v. Johnson & Johnson, No. 16-EV---5534-E (Ga. Fulton Co).
    213
      See, e.g, Brower v J&J, No. 16-EV---5534-E (Ga. Fulton Co.) Order, March 26,
    2019, attached hereto as Exhibit 132.

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    IV.      ARGUMENT

             A.    LEGAL STANDARDS FOR ADMISSIBILITY OF EXPERT
                   GENERAL CAUSATION OPINIONS

             The PSC incorporates the Plaintiffs’ Steering Committee’s Omnibus Brief

    Regarding Daubert Legal Standard and Scientific Principles for Assessing General

    Causation214 and highlights the following important points of particular relevance to

    the outcome this motion:

             First, Fed. R. Evid. 702 has “a liberal policy of admissibility.”215 Exclusion

    of expert testimony is only appropriate when such testimony qualifies as irrelevant

    or “junk science”216 Otherwise, the trial court should cede complex issues to the jury

    and rely on the traditional safeguards of the adversary system—active cross-

    examination, presentation of contrary and competing expert testimony—rather than

    exclude from juror scrutiny for fear that they will not grasp its complexities or

    satisfactorily weigh its inadequacies.217

             Second, differing and competing expert opinions, precisely what J&J has

    presented to the Court, are traditionally left for the jury. The Daubert analysis


    214
          ECF Doc. 9732 (hereinafter “PSC’s Omnibus Brief”).
    215
       Geiss v. Target Corp., No. CIV. 09-2208 RBK/KMW, 2013 WL 4675377, at *4
    (D.N.J. Aug. 30, 2013) (citing Pineda v. Ford Motor Co., 520 F.3d 237, 243 (3d Cir.
    2008)) (other citations omitted).
    216
          Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596, 113 S. Ct. 2786 (1993).
    217
          In re TMI Litig., 193 F.3d 613, 692 (3d Cir. 1999).

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    focuses on the methodology underlying an expert’s opinion, not the expert’s

    conclusions.218 Therefore, the focus of admissibility under Daubert is the reliability

    of the experts’ methods, not their correctness.219 The trial court is not empowered

    “to determine which of several competing scientific theories has the best

    province.”220 As long as the expert’s testimony falls within “the range where experts

    may reasonably differ,” then it is up to the jury to decide among the competing

    views.221

             Third, it is important to emphasize that all studies have “flaws” in the sense

    of limitations that add uncertainty about the proper interpretation of the results.”222

    Where an opinion is challenged based on there being “flaws” in a study, the remedy



    218
          Daubert, 509 U.S at 595.
    219
       Id. at 585. See also Beech Aircraft Corp. v. Rainey, 488 U.S. 153, 1969 (1988);
    Fed. R. Evid. 702.
    220
        Milward v. Acuity Specialty Prod. Grp., Inc., 639 F.3d 11, 15 (1st Cir. 2011)
    (internal quotation marks and citations omitted)
    221
        Kumho Tire Co. v. Carmichael, 526 U.S. 137, 153, 119 S. Ct. 1167, 143 L. Ed.
    2d 238 (1999); In re: Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab.
    Litig., No. 2436, 2016 WL 4039286, at *2 (E.D. Pa. July 28, 2016) (“Fed. R. Evid.
    702 and Daubert put their faith in an adversary system designed to expose flawed
    expertise.”); United States v. Mitchell, 365 F.3d 215, 244–45 (3d Cir. 2004)
    (citations omitted) (“As long as an expert's scientific testimony rests upon ‘good
    grounds, based on what is known,’ it should be tested by the adversary process—
    competing expert testimony and active cross–examination—rather than excluded
    from jurors' scrutiny for fear that they will not grasp its complexities or satisfactorily
    weigh its inadequacies.”).
    222
          Ref. Man. at 552.

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    is not preclusion under Daubert; rather, the alleged flaws go to the weight of [the

    expert witness’s] opinion, not its admissibility.223 The Court also should not reject

    expert testimony because statements in published articles may “cast doubt on [the

    expert’s] position;” this would “set the bar too high.”224

                Fourth, causal inference is a matter of judgment about the totality of the

    scientific evidence. “Drawing causal inference . . . requires judgment and searching

    analysis based on biology, of why a factor or factors may be absent despite a causal

    relationship, and vice versa.”225 As noted in the Reference Manual: “Although the

    drawing of causal inference is informed by scientific expertise, it is not a

    determination that is made by using an algorithmic methodology.”226 As this

    judgment is a scientific determination, it can evolve “as new evidence develops”

    because “the scientific enterprise must always remain open to reassessing the

    validity of past judgments.”227 The judgment of whether to draw a causal inference

    can lead to disagreement amongst experts in the field.228 In the end, deciding whether


    223
       See In re Avandia Mktg., Sales Practices & Prod. Liab. Litig., No. 2007-MD-
    1871, 2011 WL 13576, at *9 (E.D. Pa. Jan. 4, 2011).
    224
      Ruiz-Troche v. Pepsi Cola of Puerto Rico Bottling Co., 161 F.3d 77, 85 (1st Cir.
    1998).
    225
          Ref. Man. at 600.
    226
          Id.
    227
          Id. at 598.
    228
       See, e.g., In re Neurontin, 612 F. Supp. 2d at 149 (causation supported by biologic
    plausibility notwithstanding the “robust debate in the scientific community”

                                                71
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    associations are causal typically is not a matter of statistics alone, but also rests on

    scientific judgment.”229 J&J’s brief is silent on this essential point.

             Fifth, a causal inference requires an examination of the totality of the scientific

    evidence. “Scientific inference typically requires consideration of numerous

    findings, which, when considered alone, may not individually prove the

    contention.”230 This is how science outside of the courtroom functions. There is

    simply no definitive check-list or magic formula for making scientific judgments.

    As explained in the Reference Manual:

             It appears that many of the most well-respected and prestigious
             scientific bodies (such as the International Agency for Research on
             Cancer (IARC), the Institute of Medicine, the National Research
             Council, and the National Institute for Environmental Health Sciences)
             consider all the relevant available scientific evidence, taken as a whole,
             to determine which conclusion or hypothesis regarding a causal claim
             is best supported by the body of evidence. In applying the scientific
             method, scientists do not review each scientific study individually for
             whether by itself it reliably supports the causal claim being advocated
             or opposed.231


    regarding the proposed mechanism); Milward, 639 F.3d at 18; In re Lipitor
    (Atorvastatin Calcium) Mktg., Sales Practices & Prod. Liab. Litig., 174 F. Supp. 3d
    911 (D.S.C. 2016); In re Testosterone Replacement Therapy Prod. Liab. Litig.
    Coordinated Pretrial Proceedings, No. 14 C 1748, 2017 WL 1833173, at *9 (N.D.
    Ill. May 8, 2017).
    229
          Ref. Man. at 20, 21, 222, 553, 565, 591, 599 and 600.
    230
        Id. at 19–20; see also Milward, 639 F.3d at 26 (reversing the district court’s
    exclusion of expert testimony based on an assessment of the contribution of
    individual studies and finding that the “weight of the evidence” properly supported
    the expert’s opinion).
    231
          Ref. Man. at 600.

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             As have numerous other courts, the Third Circuit has endorsed an expert’s use

    of the “weight of the evidence” approach to assessing the “totality” of evidence for

    evaluating general causation.232 As set forth below, the PSC’s experts base their

    general causation opinions on multiple lines of scientific evidence.

             Sixth, science does not demand certainty. Nor does the law. Under Third

    Circuit Daubert standards, the trial court should not impose “a standard of scientific

    certainty . . . beyond that which Daubert envisions.”233 Plaintiffs also are not

    required to present evidence that is conclusive or unequivocal. “[I]n epidemiology

    hardly any study is ever conclusive, and we do not suggest that an expert must back

    his or her opinion with published studies that unequivocally support his or her

    conclusions.”234 Science and medicine often do not lead to certainty and the law does




    232
       See In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig., 858 F.3d 787, 796–
    797 (3d Cir. 2017) (citing Milward, 639 F.3d at 17 (“[t]he court treated the separate
    evidentiary components of [the expert’s] analysis atomistically, as though his
    ultimate opinion was independently supported by each.”); see also Magistrini v. One
    Hour Martinizing Dry Cleaning, 180 F. Supp. 2d 584, 607 (D.N.J. 2002); In re
    Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab. Litig., 198 F. Supp.
    3d 446, 458 (E.D. Pa. 2016); In re Phenylpropanolamine (PPA) Prod. Liab. Litig.,
    289 F. Supp. 2d 1230, 1242 (W.D. Wash. 2003) (rejecting defense Daubert
    challenges which “isolate these sources [of evidence] rather than considering the
    whole”).
    233
          Ruiz-Troche, 161 F.3d at 86.
    234
          Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 354 (5th Cir. 2007).

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    not require certainty.235 Again, Fed. R. Evid. 702 has “a liberal policy of

    admissibility.”236

             B.    J&J’S OMNIBUS MOTION TO EXCLUDE THE OPINIONS OF
                   THE PSC’S GENERAL CAUSATION EXPERTS IMPROPERLY
                   REQUESTS THAT THE COURT WEIGH THE EVIDENCE ON
                   THE RELATIONSHIP BETWEEN TALCUM POWDER
                   PRODUCTS AND OVARIAN CANCER

             This Court has repeatedly made clear that it has bifurcated this litigation for

    one reason: to determine whether there is reliable evidence from which a jury could

    reasonably conclude that the perineal use of Talcum Powder Products can cause

    ovarian cancer. The question is not whether the PSC’s experts or J&J’s experts are

    correct or even what conclusion the Court would come to if it were the trier of fact.

    The sole question is whether each challenged expert used a reliable methodology.237

             J&J’s motion nevertheless attempts to convince the Court that it is “right” on

    all issues as opposed to making a serious, specific methodological challenge to the


    235
      Milward, 639 F.3d at 22 (quoting Primiano v. Cook, 598 F.3d 558, 565 (9th Cir.
    2010)).
    236
          Geiss, 2013 WL 4675377, at *4.
    237
        See, In re Testosterone Replacement Therapy Products Liability Litigation
    Coordinated Pretrial Proceedings, 2017 WL 1833173, at *9 (“At this stage, it is not
    the Court’s role to choose between competing studies…the studies “merits and
    demerits…can be explored at trial.”) (citation omitted); In re Roundup Prod. Liab.
    Litig., No. 16-MD-02741-VC, 2018 WL 3368534, at *2–3 (N.D. Cal. July 10, 2018)
    (“So long as an opinion is premised on reliable scientific principles, it should not be
    excluded by the trial judge; instead the weaknesses in an unpersuasive expert opinion
    can be exposed at trial, through cross examination or testimony by opposing
    experts”).

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    PSC’s causation experts. J&J presents this Court with 120 pages of argument, not

    about the methodology of any expert per se, but covering the waterfront about how

    the studies and other evidence ought to be organized, interpreted and weighed and

    what conclusions should be drawn from the evidence. That, of course, requires the

    PSC to address all of these issues. Suffice it to say, there is a dispute with more

    recent bodies, like the IOM and Health Canada concluding that the weight of

    evidence supports the conclusion that perineal use of talcum powder is a likely cause

    of ovarian cancer, specifically epithelial ovarian cancer.

                 1.    J&J Improperly Elevates the Conclusions of its Experts and
                       Ignores that the Totality of the Evidence must be Considered

          In seeking to exclude the PSC’s experts and their opinions, J&J has pitted its

    experts’ “conclusions” against the PSC’s experts’ “conclusions,” all to support an

    improper argument, under Daubert and its progeny, that this Court should exclude

    the “flawed” opinions J&J does not agree with. The fact that experts reach different

    conclusions about a matter, however, is not a methodologic issue and is no basis for

    a Daubert challenge.

          To give but one example, that is further discussed below, J&J and its experts

    seek to minimize the scientific reliability of the robust body of over 30 published

    case control studies, arguing that these studies should be ignored as they are subject




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    to potential “recall bias” and possible “confounding.”238 In support of its

    “methodologic argument,” J&J liberally cites to its own experts and argues that the

    talcum powder cohort studies provide the best evidence, and that no association

    exists between Talcum Powder Products and ovarian cancer.239 Again, relying on its

    own experts’ interpretation of the cohort data, J&J adamantly argues that the PSC’s

    experts have not been “evenhanded”240 because they did not limit themselves to the

    one particular study design that J&J prefers, i.e., the talc cohort studies,

             The PSC’s well-qualified experts have provided detailed and specific reasons

    for their opinions that the cohort studies alone do not tell the whole story, as J&J

    contends. PSC experts have explained how the body of scientific evidence as a

    whole241 supports their conclusion that Talcum Powder Products cause ovarian


    238
          Defs.’ Mem. at 34, 36-37, 39-40.
    239
          Defs.’ Mem. at 48 and n. 117.
    240
          Defs.’ Mem. at 9, n. 16, 10-11.
    241
        See In re Zoloft (Sertraline Hydrochloride) Products Liability Litigation, 858
    F.3d at 796–797 (citing Milward, 639 F.3d at 17 (“[t]he court treated the separate
    evidentiary components of [the expert’s] analysis atomistically, as though his
    ultimate opinion was independently supported by each.”); In re Tylenol, 198 F. Supp.
    3d at 458; In re Phenylpropanolamine (PPA) Products Liability Litigation, 289 F.
    Supp. 2d at 1242 (rejecting defense Daubert challenges which “isolate these sources
    [of evidence] rather than considering the whole”); Alexander v. Honeywell Int'l, Inc.,
    No. 1:17 CV 504, 2018 WL 4220628 (N.D. Ohio Sept. 5, 2018); In re Seroquel
    Products Liability Litigation, 2009 WL 3806435; McMunn v. Babcock & Wilcox
    Power Generation Grp., Inc., No. 2:10CV143, 2014 WL 814878 (W.D. Pa. Feb. 27,
    2014); In re Abilify (Aripiprazole) Prod. Liab. Litig., 299 F. Supp. 3d 1291 (N.D.
    Fla. 2018).

                                               76
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    cancer, including the positive evidence from the cohort studies. In this regard, the

    PSC’s experts have testified that the cohort studies do show an increased risk of

    ovarian cancer and a statistically significant risk of serous invasive ovarian cancer.

          As scientists outside this litigation have noted, the cohort studies that J&J

    relies on so heavily to trump every other piece of observational data in this case -

    Gertig (2000); Gates (2010); Houghton (2014) and Gonzalez (2016) - were subject

    to serious “misclassification” biases and were not powered or designed to address

    the association between talcum powder and ovarian cancer, a rare disease.242 There




    242
        See Reports and deposition testimony of the PSC’s experts thoroughly outlining
    the flaws with cohort studies: McTiernan Rep. at 19, 46-48, 64 (“While the cohort
    studies on average showed more attenuated relative risks of ovarian cancer in
    relation to use of talcum powder product use, these studies were not well designed
    to determine true risk for ovarian cancer and perineal talc use.”); McTiernan Dep. at
    126:6-127:22, 219:19-222:12; Siemiatycki Rep. at 15-16, 48, 56 (“The women in
    the cohort studies were “locked into” their exposure category at baseline of the
    cohort study. If there were women who in fact started using powders after the
    baseline, they would be incorrectly labelled as non-users. And, if there were indeed
    a risk associated with use of talc powders, the risk estimate would be diluted by the
    incorrect inclusion of users among non-users.”); Moorman Rep. at 8, 25; Moorman
    Dep. at 199:18-200:9; Singh Rep. at 10-11, 47 (“…evaluating the association
    between talc use and ovarian cancer was not the a-priori primary objective of the
    study but evaluated as a subsequent hypothesis, with its inherent limitations”); Singh
    Dep. at 155:20-156:6. Kane Rep. at 24 (It is well understood that cohort studies are
    particularly ill suited to study rare diseases will long latencies); McTiernan Rep. at
    46-48 (“The sample sizes (numbers of cases) of most of the cohort study publications
    were likely too small to be able to detect a relative risk in the order of 1.24 (the value
    found in the Terry pooled analysis) with reasonable power, especially for different
    histologic subtypes.”); Moorman Rep. at 27 (“As the authors [of the Sister Study]
    acknowledged in their paper, if latency (the time between exposure and diagnosis of

                                               77
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    were serious limitations to these cohort study analyses, which arguably could have

    attenuated the relative risks of ovarian cancer. Notably, none of the studies were

    specifically designed to investigate the relationship of talcum powder use and risk

    of ovarian cancer. Rather, they were designed to study a large number of outcomes

    and a wide variety of exposures. As such, the PSC’s experts concluded that the case-

    control studies and meta-analyses—along with evidence gathered from the cohort

    studies—provide the best observational evidence in favor of the association between

    ovarian cancer and Talcum Powder Products.243

          Under analogous circumstances, courts have held that disputes between

    experts about how to weigh different studies and different study designs is precisely

    the type of question that should be resolved by a jury. For example, in In re

    Testosterone, the defendant, AbbVie, made the identical arguments that J&J makes

    here. AbbVie claimed that the plaintiffs’ general causation experts should be

    excluded because they did not weigh the relevant epidemiology in the same way that

    AbbVie’s experts had. The court in In re Testosterone determined that this was not

    a Daubert issue at all:



    cancer) is 15 to 20 years, the exposure assessments do not accurately reflect the
    period of risk.”).
    243
       McTiernan Rep. at 48; Siemiatycki Rep. at 48 (“On balance, I believe the results
    of each of these case-control studies concerning female use of powders and ovarian
    cancer are credible, and perhaps more so (for reasons given in section 7.2), than the
    analogous results of each of these cohort studies”).

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             According to AbbVie plaintiffs' experts rely on only a few facially
             favorable studies, while ignoring (1) those studies' flaws, (2) the fact
             that the studies are inconsistent with one another, and (3) the studies'
             authors' own unwillingness to conclude that they demonstrate a causal
             association. As discussed above, a review of plaintiffs' experts' reports
             reveals that they carefully addressed the merits, flaws, and implications
             of both favorable and unfavorable studies. [Defendant] is likely correct
             that no single piece of evidence the experts rely upon is sufficient to
             support their causation opinions. But the experts have adequately
             explained why they have reached their conclusions on the basis of the
             evidence as a whole. See Milward, 639 F.3d at 23. The Court's inquiry
             at this stage is to determine whether the experts "considered sufficient
             data to employ the methodology," not whether their consideration of
             the data led to the correct conclusion. Stollings v. Ryobi Techs., Inc.,
             725 F.3d 753, 766 (7th Cir. 2013). For an expert conclusion that is
             subject to doubt, "[i]t is the role of the jury to weigh these sources of
             doubt."244

             Citing to the law in both the Second and Third Circuits, the court in In

    Testosterone made clear that, so long as the experts carefully explored the data,

    discrepancies should be left for cross-examination:

             Ultimately, experts on both sides of this litigation have analyzed the
             existing epidemiological evidence in detail, criticizing the studies on
             which the other side relies, and drawing different conclusions from the
             literature. This is not a case in which plaintiffs' experts have simply
             cherry-picked the favorable studies while ignoring unfavorable studies
             entirely. Cf. In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig.,
             26 F. Supp. 3d 449, 460–61 (E.D. Pa. 2014) (excluding expert who
             failed to provide an adequate rationale for excluding her own,
             unfavorable peer-reviewed studies from her expert report); In re
             Rezulin Prod. Liab. Litig., 369 F. Supp. 2d 398, 425–26 (S.D.N.Y.
             2005) (excluding experts whose reports failed to even mention highly
             relevant, but unfavorable, studies). At this stage, it is not the Court's
             role to choose between competing studies. Schultz v. Akzo Nobel Paints,

    244
          In re Testosterone, 2017 WL 1833173, at *9.

                                                79
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                LLC, 721 F.3d 426, 433 (7th Cir. 2013). The studies' "merits and
                demerits . . . can be explored at trial."245

                Additionally, the court in In re Roundup rejected a similar Daubert attack

    made by defendant Monsanto challenging the plaintiffs’ experts. In Roundup, the

    general causation question was whether glyophosate, a commonly used herbicide,

    can cause Non-Hodgkins Lymphoma (NHL).246 Monsanto attacked the plaintiffs’

    experts in the same way that J&J does here, calling their opinions of the existing

    epidemiology a methodologic flaw which must be excluded. The Roundup court

    rejected this attack even where the evidence appeared tilted towards the Monsanto:

                .... But the Court concludes that the opinions of these experts, while
                shaky, are admissible. They have surveyed the significant body of
                epidemiological literature relevant to this question; identified at least a
                few statistically significant elevated odds ratios from case-control
                studies and meta-analyses; identified what they deem to be a pattern of
                odds ratios above 1.0 from the case-control studies, even if not all are
                statistically significant; emphasized that studies of glyphosate have
                focused on many different types of cancer but found a link only
                between glyphosate and NHL; given legitimate reasons to question the
                results of the primary study on which Monsanto relies; and concluded,
                in light of all the available evidence, that a causal interpretation is
                appropriate 247

                Yet another example of a court rejecting may of the same attacks lodged here

    by J&J against the PSC’s experts is Judge Pisano’s decision in In re Fosamax



    245
          Id.
    246
          In re Roundup, 2018 WL 3368534, at *1.
    247
          Id. at *36.

                                                    80
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    (Alendronate Sodium) Prod. Liab. Litig., No. CIV.A. 08-08, 2013 WL 1558690

    (D.N.J. Apr. 10, 2013) (Pisano). In In re Fosamax, defendant Merck criticized the

    plaintiffs’ experts, stating that they did not explain the scientific methodology used

    or how it was reliable;248 just listed some studies only, some of which support

    causation;249 and, did not evaluate studies for possible biases and confounders was

    similarly an issue for cross-examination.250 Even in that circumstance (not present

    here), Judge Pisano concluded that Merck’s criticisms went to the weight, not

    admissibility of the experts’ testimony, and that “Defendant is free to address these

    issues on cross-examination.”251

                       2.   Causal Assessments Require the Exercise of Professional
                            Judgments upon which Experts can Reach Different
                            Conclusions

                J&J argues that because there are differences of opinion amongst experts, it

    has made a proper methodology challenge against the PSC’s experts. J&J repeatedly

    urges the Court to take notice of what it calls “fundamental epidemiologic

    principles” to support its arguments.252 However, J&J’s “fundamental” concept

    involves a mechanical application of limited scientific information to reach a


    248
          Id.
    249
          Id.
    250
          Id.
    251
          Id. at *4.
    252
          Defs.’ Mem. at 9-14.

                                                 81
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  conclusion, whereas general causation is not a scientific concept that is evaluated

  through overly-simplistic and mechanical rules. The Reference Manual notes that

  the question of causal inference is not subject to a mathematical or mechanical

  formula and a difference in opinion is simply not the basis to exclude a qualified

  experts’ opinion. 253

           As stated above, a causal inference requires an examination of the totality of

  the scientific evidence. When an issue involves a multitude of evidence, appropriate

  scientific methodology requires consideration of the cumulative effect of all of the

  scientific evidence and not only certain parts. “Scientific inference typically requires

  consideration of numerous findings, which, when considered alone, may not

  individually prove the contention.”254 This is how science outside of the courtroom

  functions. There is simply no definitive checklist or magic formula for making

  scientific judgments.

           As Leon Gordis, MD, an editor of the Reference Manual observed in his

  textbook Epidemiology (5th Ed):

           Although it may be a desirable goal to place causal inferences on a firm
           quantitative and structural foundation, at present we do not have all of
           the information needed for doing so. [The Bradford Hill aspects] should
           therefore be considered to be only guidelines that can one of most value


  253
      Ref. Man. at 600 (rejecting an “algorithmic methodology” to determine
  causation).
  254
        Ref. Man. at 19–20.

                                             82
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           when coupled with reasoned judgment about the entire body of
           available evidence, in making decisions about causation.255

           That is not only true for epidemiology generally, but also cancer

  epidemiology. Reasoned judgment and difference of opinion are part of the process.

  In his Cancer Epidemiology textbook entitled Risk Factors for Cancer In the

  Workplace, the PSC’s expert, Jack Siemiatycki, Ph.D, bluntly observed the simple

  truth: “Equally competent scientists, examining the same information, can arrive at

  different [causal] conclusions.”256

           J&J’s motion does not describe either a true methodologic challenge or a

  legitimate contention that the PSC’s experts refused to consider relevant evidence

  (e.g. In Re Zoloft). That the PSC’s experts’ opinions may be different than those of

  J&J’s experts, simply presents a jury question.

                  3.   J&J’s Citation to its own Causation Experts Illustrates that
                       General Causation is Properly Resolved by a Jury

           Read carefully, J&J’s motion does not focus on what the PSC’s experts did

  (or did not do) in relation to any objective standard but, instead, attacks how the

  PSC’s causation experts approached the data as compared Defendants’ experts.

  J&J’s attempt to persuade the Court by citing the opinions of its own experts is

  improper. J&J’s argument simply highlights that its Daubert challenge is not about


  255
        Leon Gordis, Epidemiology at 260. (5th ed. 2013), attached as Exhibit 133.
  256
        Id. at 298.

                                            83
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  methodology, but about winning a proverbial “battle of the experts.” Of course, such

  battles are for the jury to decide.

           To illustrate, five of J&J’s experts (Drs. Ballman, Merlo, Diette, Saenz and

  Holcomb) are cumulatively cited in J&J’s motion approximately 100 times.

  Defendants’ experts “explained,” “noted” or “testified” about various unsupported

  propositions approximately 20 times.257 Several of J&J’s experts (like Drs. Diette,

  Merlo, and Holcomb) are cited almost as often, if not more often, than some of the

  PSC’s experts being challenged.

           J&J seems to believe that by endlessly asserting the opinions of their experts,

  the sheer volume will convert its dispute over the PSC’s experts’ conclusions into a

  methodological challenge. But the real question is whether there is any evidence that

  the PSC’s experts engaged in unreliable methodologies in reaching their opinions.

  As set forth below, there is none.

                 4.     Health Canada’s December 2018 Independent Analysis of
                        the Talcum Powder Ovarian Cancer Causation Question
                        Corroborates that the Methodology Used by the PSC’s
                        Experts is Proper

           In arguing that the PSC’s general causation experts lack a sufficient basis for

  their conclusions, J&J strenuously argues that others (like FDA, NCI and IARC)

  reviewed at least some data on the talcum powder-ovarian issue years ago and found



  257
        Defs.’ Mem. at 56.

                                             84
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  “insufficient” evidence to support a firm casual association between Talcum Powder

  Products and ovarian cancer.258 They call this a “consensus” and repeatedly argue

  that it should control the resolution of this motion.

           Specifically, J&J highlights a 2006 IARC Assessment (which, in fact, found

  both association and consistency, and said that causation was possible) and a 2014

  letter from an FDA employee (which, in fact, found association and biologic

  plausibility for talc migration) to support it argument that there is no scientific

  dispute and that the issues are well settled. According to J&J, these “findings” alone

  “prove” that the PSC’s experts produced “science for the courtroom, not ... the

  laboratory.”259 Assuming J&J correctly cited these materials, which they did not,

  these are dated evaluations that a jury should consider within the proper context of

  new and relevant evidence.260


  258
        Defs.’ Mem. at 7.
  259
        Defs.’ Mem. at 3.
  260
      Even if these agencies had considered all of the evidence (which they did not),
  and even if they had done an up-to-date and complete causal assessment of all the
  data (which neither ever claimed to have done), that would still not be dispositive...
  In In Re Testosterone, Defendant made the exact same argument except, unlike here,
  the FDA had in fact looked at every study that plaintiff’s experts had relied on and
  it reached an opposite conclusion than plaintiffs’ experts did. Even then, FDA’s
  action was not dispositive under Daubert:
           AbbVie emphasizes that the FDA reviewed the same data, specifically
           the same epidemiological studies, as plaintiffs' experts but reached a
           different conclusion about whether TRT is associated with
           cardiovascular injuries. AbbVie, however, has not cited any authority
           for the proposition that conclusions the FDA makes in its review of

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           These older evaluations notwithstanding, J&J conspicuously ignores the

  recent December 2018 causal assessment by Health Canada.261 Health Canada is not

  only the most recent government body to consider the issue, it is the only

  governmental body to have demonstrably performed a Bradford Hill analysis on the

  talcum powder-ovarian cancer question. Indeed, it was published after plaintiffs’

  expert reports were disclosed in November 2018. The similarity of the causal

  assessment performed by Health Canada to the casual assessment performed by the

  PSC’s causation experts is striking. Health Canada not only employed precisely the

  same methodology, but it reached the following conclusion—a conclusion that

  Health Canada reiterates no less than 3 times in the report:

                 The most recent meta-analysis detailed above (Taher et al.
                 . 2018), and consistent with the Hill criteria, suggests a
                 small but consistent statistically significant positive
                 association between ovarian cancer and perineal exposure
                 to talc. Further, available data are indicative of a causal
                 effect.262



           available data are legally or scientifically dispositive on the issue of
           causation. In this context, the FDA's opinion is analogous to the opinion
           of any other expert in this case. Thus, although the FDA may have a
           different interpretation of the studies relied upon by plaintiffs' experts,
           "it is left to the trier of fact, not the reviewing court, to decide how to
           weigh the competing expert testimony.
  In re Testosterone, 2017 WL 1833173, at *13 (emphasis added).
  261
        See generally Health Canada Assessment.
  262
     Id. at 21 (Emphasis added); see also id. at iii (“available data are indicative of a
  causal effect.”); id. at 28 (same).

                                               86
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           The Health Canada report demonstrates, and independently corroborates,

  objectively that: a) the methodology the PSC’s experts used to address the general

  causation question is the exact same methodology used outside the Courtroom; b)

  the epidemiologic evidence used by the PSC’s experts is exactly the same as the

  evidence used outside the Courtroom, and; c) the methodology used by PSC’s

  experts could reasonably lead to a finding of causation.263

           Health Canada scientifically and systematically reviewed the available

  epidemiologic and non-epidemiologic evidence relating to talc and human disease

  using the Bradford Hill criteria, as did the PSC’s experts.264 With respect to ovarian

  cancer specifically, that scientific analysis entitled “Perineal Exposure to Talc”

  concludes with the unambiguous statement that the available epidemiologic and non-

  epidemiologic evidence “as indicative of a casual effect.”265,




  263
      Since its issuance, J&J has lobbied Heath Canada to change its assessment,
  submitting multiple large briefing booklets and culminating in a private meeting on
  April 24, 2019. On the outside chance that J&J’s intensive lobbying efforts results
  in Health Canada reversing course on its ultimate causation conclusion, that would
  make no difference to the importance of this current assessment. The issue before
  the Court is methodology, not conclusions. Health Canada’s methodology on this
  topic (regardless of its conclusion) independently corroborates the methodology
  employed by the PSC’s experts.
  264
     McTiernan Dep. at 307:18-309:24 (Health Canada performed a full causal
  analysis with a methodology similar to that set forth in her own report).
  265
        Health Canada Assessment at 21.

                                           87
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           Faced with the unambiguous scientific analysis and scientific conclusion, J&J

  tries to conflate its regulatory standard for taking precautions (like issuing warnings),

  under Canadian law, with its scientific conclusion about cause-and-effect. For

  instance, J&J focuses on whether that scientific evidence, once assessed, met the low

  threshold for regulatory action which is defined under Canadian law. In its motion,

  J&J ignores the scientific finding and highlights the regulatory one.266 In footnote

  14 of its memorandum J&J selectively (and misleadingly) quotes half the sentence

  relating to the Health Canada regulatory finding, the whole sentence containing both

  its scientific and regulatory finding reads as follows:

                 The meta-analyses of the available human studies in the
                 peer-reviewed literature indicate a consistent and
                 statistically significant positive association between
                 perineal exposure to talc and ovarian cancer. Further,
                 available data are indicative of a causal effect. Given that
                 there is potential for perineal exposure to talc from the use
                 of various self-care products (e.g., body powder, baby
                 powder, diaper and rash creams, genital antiperspirants
                 and deodorants, body wipes, bath bombs), a potential
                 concern for human health has been identified.267

           As important as it may be that Health Canada made causal findings, the

  existence of causal findings is almost beside the point for the purposes of J&J’s

  Daubert challenge. What is most important is the Bradford-Hill methodology



  266
        Defs.’ Mem. at 9, n.16 and 11.
  267
        Health Canada Assessment at iii, 29.

                                               88
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  employed by Health Canada.268 Health Canada’s analysis looked at the same studies

  as the PSC’s experts, including the relative strengths of the case-control and cohort

  studies, and issues such as bias and confounding.

           Health Canada did not blindly apply a “hierarchy of evidence” and did not

  elevate the cohort studies that J&J (wrongly) asserts are “more reliable.”269 In fact,

  it did what the PSC’s expert did—weigh the strengths and weaknesses of each

  ovarian cancer study. Rather than declaring that the cohort studies negated the case-

  control studies, Health Canada (like the PSC’s experts) concluded that the cohort

  studies actually were consistent with the case-control studies and that any

  differences between them were likely due to the short-comings of the cohort studies

  and not any short-comings of the case-control studies. According to Health Canada:

                     The individual cohort studies did not show a statistically
                     significant association between perineal talc use and
                     ovarian cancer (Berge et al. 2018; Penninkilampi and
                     Eslick 2018; Taher et al. 2018). However, there was a
                     positive association, with statistical significance, specific
                     to invasive serous-type ovarian cancer in the cohort
                     studies (OR = 1.25) (Penninkilampi and Eslick 2018).
                     Given the long latency for ovarian cancer, the follow-up
                     periods may not have been sufficient to capture all the
                     cases for the individual cohort studies. Also, given the
                     rarity of ovarian cancer, many of the available human
                     studies may not be sufficiently powered to detect a low
                     OR. Sample sizes were not large enough to detect a 20 to
                     30 % increase in risk; a group of over 200,000 women

  268
        Id. at 15.
  269
        Defs.’ Mem. at 61-63, 64 n. 155.

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                 would need to be followed for over 10 years in order to
                 detect a 20% (above background) increased risk with
                 statistical significance (Narod 2016). With larger sample
                 sizes, more individual studies may have demonstrated
                 stronger associations.270

           Thus, Health Canada assessed the totality of the epidemiologic and biologic

  evidence, according to the Hill framework, and came to conclusions consistent with

  the opinions reached by the PSC’s experts:

           •     For “STRENGTH” it found association between 1.2 and 2.0;

           •     For “CONSISTENCY,” it found a “consistent and significantly
                 significant increased risk for ovarian cancer with perineal use;”

           •     For “SPECIFICITY” it found that “perineal talc is associated
                 with cancer of the ovary and no other organs;”

           •     For “TEMPORALITY” it found that all cases talc exposure
                 “preceded the reported outcome”

           •     For “BIOLOGIC GRADIENT” it found that there was limited
                 data but noted that there was “some evidence of increasing
                 perineal applications of talc,” even though not statistically
                 significant; and,

           •     For “BIOLOGIC PLAUSABILITY” it found that there is
                 evidence of retrograde transport that supports the biologic
                 plausibility of the association between talc application and
                 ovarian exposure. [NOTABLY, Health Canada assumed that
                 there was no asbestos].271




  270
        Health Canada Assessment at 20.
  271
        Id. at 1, 21-22 (assumed no asbestos).

                                             90
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  Objectively, the Health Canada Assessment provides independent indicium of

  reliability to PSC’s experts’ causation methodology.272 For that reason, J&J’s

  motion should be denied.

        C.     THE PSC’S CAUSATION EXPERTS MAY RELIABLY OPINE
               THAT THE CONSISTENCY OF ASSOCIATION ASPECT OF
               BRADFORD HILL’S CAUSATION GUIDELINES IS
               SATISFIED

               1.    There is Scientific and Medical Consensus that the
                     Observational Studies of Talcum Powder and Ovarian
                     Cancer Show a Consistent Association

        The question of whether the perineal use of talcum powder is associated with

  ovarian cancer has been the subject of epidemiologic interest and study over the past

  forty years. It has been studied by different researchers in different countries using

  different study designs, including case-control studies, cohort studies, pooled

  analyses and meta-analyses. The vast majority of these studies, regardless of study



  272
     In contrast to J&J’s treatment of the recent and full Bradford Hill evaluation of
  Health Canada, J&J highlights the Musser Letter denying a Citizens’ Petition for
  Talc for the proposition that the “FDA has concluded that existing science does not
  support the conclusion that talc is a cause of ovation cancer.” First, Dr. Musser did
  not perform a Bradford Hill analysis as Health Canada and the PSC’s experts did.
  Second, the analysis is from a 5-year old letter that does not incorporate the recent
  studies and meta-analyses that Health Canada and the PSC’s expert did. Third,
  unlike the Canadian Assessment that was performed without J&J influence and
  lobbying, J&J met and lobbied FDA ex parte to deny the Citizens Petition. See
  Deposition of Linda Loretz, October 1, 2018 at 490:4-506:22, attached as Exhibit
  134; see also May 8, 2009 FDA Meeting Minutes, attached as Exhibit 135. Fourth,
  J&J did not inform FDA that its internal testing of talc had revealed the presence of
  asbestos, though FDA had clearly asked about it. Id.

                                           91
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  design, have shown a positive association between talcum powder use and ovarian

  cancer, and most of these studies have statistically significant results.

        The association between talcum powder exposure and ovarian cancer—and

  its implications for a causal conclusion--has become so obvious in recent years that

  its denial has been called scientifically disingenuous. For example, in a 2016 article

  entitled Talc and Ovarian Cancer, it was observed that:

        It is unlikely that the association between talc and ovarian cancer is due
        to confounding so it is fair to say that if there is a statistically robust
        relationship between talc and ovarian cancer, it is likely to be causal
        (albeit with intermediate factors such as inflammation). In any case,
        given the number of hazard ratios reported in the literature between 1.1
        and 1.4 in both case control and cohort studies, it is disingenuous to
        state that there is no evidence that talc is associated with ovarian
        cancer.273

        The observations about the association and consistency of association have

  been noted by numerous researchers and commentators who have stated, for

  example, that “perineal talc use is associated with a 24%-39% increased risk of

  ovarian cancer” and the “confirmation of an association in cohort studies between




  273
     S.A. Narod, Talc and Ovarian Cancer, 141 Gynecologic Oncology 410, 411
  (2016) (emphasis added), attached as Exhibit 136. See also, Pennikilampi (2018) at
  41 (“In general, there is a consistent association between perineal talc use and
  ovarian cancer.”).

                                            92
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  perineal talc use and serious invasive ovarian cancer is suggestive of a causal

  relationship.”274

           The conclusion that there is an association between talcum powder and

  ovarian cancer—and the overall consistency of that association—is not simply

  reflected in the writings of a few random commentators--or the PSC’s experts.

  Health Canada noted that the entire body of epidemiologic evidence to date was

  “indicative of a casual effect.”275 In 2016, the United States National Academy of

  Science, Institute of Medicine (IOM) concluded that “the use of perineal talcum

  powder has been associated with a 20 to 30 percent increased risk of ovarian cancer,

  although it has also been shown to vary by histological subtype.”276 Additionally,

  although the FDA has not yet taken regulatory action on Talc, the 2014 FDA Musser

  letter denying a “Citizen’s Petition” agreed that “the best evidence for an association

  or causal relationship between genital talc exposure and ovarian cancer comes from


  274
     Id.; see also Wu (2009) (…“[M]ost of the 20 epidemiologic studies on talc and
  ovarian cancer show a consistent 30-60% increased risk associated with Talc use.”);
  Terry (2013) (“In summary, genital powder is a modifiable exposure associated with
  a small to moderate increased risk for most histological subtypes of epithelial
  ovarian cancer”); Cook, et al. . (1997) (“These results offer support for the
  hypothesis, raised by prior epidemiologic studies, that powder exposure from
  perineal dusting contributes to the development of ovarian cancer.”); Cramer (1999)
  (“In summary, we have demonstrated a consistent association between talc and
  ovarian cancer that appears unlikely to be explained by recall of confounding.”).
  275
      Health Canada Assessment at iii, 21. J&J is simply mischaracterizing the
  scientific conclusions reached in that document.
  276
        See infra n 169.

                                            93
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  epidemiologic data which shows a statistically significant but modest increased risk

  of epithelial ovarian cancer, especially with serious histology, among women with a

  history of genital dusting with talcum powder.”277

           Lastly, the consistent association is reflected in gynecologic textbooks.278

                  2.     J&J’s Challenge to the Methodology for Assessing
                         Association and Consistency of Association Depends Solely
                         on an Improper Two-Step Algorithm of “Significance
                         Testing” and “Hierarchy of Evidence” Sorting
           J&J’s real argument is not that the PSC’s experts’ methodology is flawed but

  that they did not adhere to the two-step methodology that J&J’s experts employed

  in reaching their opinions.279 J&J falsely claims that there is a methodological flaw

  in the PSC’s experts’ approach.

           As described in the PSC’s Motion to Exclude J&J’s Epidemiology Experts,

  J&J’s experts’ two-step methodology erroneously involves a combination of two

  alleged methodologic “principles” broadly described on pages 9-16 of J&J’s

  Memorandum as “Fundamental Epidemiologic Principles” under the headings

  “Hierarchy of Evidence” and “Relative Risks and Odds Ratios.” Tellingly, and as



  277
        Musser Letter at 5.
  278
        Eeles, et al. (2018) at 337.
  279
      The two-step approach is loosely but incompletely described in J&J’s
  memorandum under the guise of “fundamental epidemiologic principles” on pages
  9-14 and it is inappropriately applied to the talc and ovarian cancer question on pages
  14-22.

                                              94
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  set forth in the PSC’s Motion to Exclude J&J’s Epidemiology Experts, J&J’s experts

  have failed to cite any real support justifying their interpretation of such a flawed

  two-step methodology.280 This two-step methodology is:

           First, J&J and its experts assert that it is generally accepted that

  epidemiologists perform “statistical significance testing” (hereinafter “significance

  testing”) on all observational studies to determine both proof of association and

  consistency of association. Significance testing maintains that observational studies

  that show a positive association that are not statistically significant are—by virtue of

  their non-significance alone and without reference to either the reported association

  or the reported confidence interval--inconsistent with studies that show a positive

  association that are statistically significant. Citing only its expert, Dr. Ballman, J&J

  argues that a result that is not significant to a p-value less than .05 means, by

  definition, that “there is no association between exposure and outcome.”281

  According to J&J the PSC’s experts committed a methodologic error by not using

  “significance testing” as the metric to measure association and consistency.282

           Second, and to compound the error, J&J asserts that there is a “generally

  accepted” and “long standing, well-established principle in the epidemiologic



  280
        PSC’s Motion to Exclude Epidemiology Experts at 7-44.
  281
        Defs.’ Mem. at 14 (emphasis added).
  282
        Id. at 61-66.

                                              95
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  community” that there is a “hierarchy” of evidence based on generic study design.283

  Under that design, cohort studies are stronger evidence than case control studies by

  simple virtue of their design.

           As set forth in the PSC’s Motion to Exclude J&J’s Epidemiology Experts, it

  is J&J’s causation experts’ opinions that should be excluded, not the PSC’s. At most,

  however, all that J&J is raising is a dispute about the PSC’s experts’ conclusions and

  not the reliability of their methodology.

                         a.      The PSC’s causation experts properly assessed all
                                 statistical data about the talcum-ovarian cancer
                                 association and properly did not perform “significance
                                 testing”

           J&J begins by criticizing the PSC’s experts for allegedly failing to

  “significance test,” i.e. to sort the talc observational studies according to statistical

  significance alone. According to J&J, the PSC’s experts erred methodologically by

  failing to perform a mechanical multiple-choice “significance--yes” and

  “significance--no” exercise—also called “significance testing” in the epidemiologic

  literature. This is a “fundamental” epidemiologic error according to J&J, requiring

  exclusion.284




  283
        Id. at 9-12.
  284
        Id. at 5, 9-14, 47-67.

                                              96
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           According to J&J, the fact that some studies show statistical significance

  while others do not “by itself, compels the conclusion that the data are

  inconsistent.”285 J&J’s contention, that the PSC’s experts should have “significance

  tested” the data and found that non-significant results are “inconsistent” with

  statistically significant ones, is flawed. A non-significant result does not mean, as

  J&J and Dr. Ballman categorically state, that the study concludes that “there is no

  association between exposure and outcome.” This premise, the central error of

  “significance testing”, is itself an unsound methodology and its strict application as

  the sole metric for association has been roundly rejected by both the epidemiologic

  and statistical communities.286

           The Third Circuit was one of the first Circuits to express concern with

  significance testing,287 a concern that made its way into the Reference Manual.

  Regarding significance testing, the 2011 edition of the Reference Manual stated that:


  285
        Defs.’ Mem. at 5.
  286
     Modern Epidemiology at 25; Borenstein (2009), at 251; Rothman (2014) at 1060;
  Ronald L. Wasserstein, et al., Moving to a World Beyond “p<.05”, 73 The American
  Statistician 1 (Supp. 1 2019), attached as Exhibit 137; Amrhein, Greenland, &
  McShane, Retire Statistical Significance, 567 Nature 305 (2019), attached as
  Exhibit 138.
  287
      See In re TMI Litig. Cases Consol. II, In re, 922 F. Supp. 997, 1017 (M.D. Pa.
  1996) (“The court is in agreement with Plaintiffs that there is presently an ongoing
  dialogue within the relevant scientific community on the issue of significance
  testing. Moreover, the court is aware that the debate has carried over into the judicial
  arena.”(citations omitted)); see also Kadas v. MCI Systemhouse Corp., 255 F.3d 359,
  362 (7th Cir. 2001) (“The 5 percent test is arbitrary; it is influenced by the fact that

                                            97
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           Epidemiologists have become increasingly sophisticated in addressing
           the issue of random error and examining the data from a study to
           ascertain what information they may provide about [a relationship]
           without the necessity of rejecting all studies that are not statically
           significant.288

           Importantly, courts have continued to be skeptical of rigid statistical testing.289

           As demonstrated below, however, the concept of “significance testing” is no

  longer just “unsophisticated,” it is a fundamental error that is now specifically

  rejected by the epidemiologic and statistical communities who have demonstrably

  and publicly rebuked it.




  scholarly publishers have limited space and don't want to clog up their journals and
  books with statistical findings that have a substantial probability of being a product
  of chance rather than of some interesting underlying relation between the variables
  of concern.”).
  288
        Ref. Man. at 578-9.
  289
     See, e.g., In re Zoloft (Sertraline Hydrochloride) Products Liability Litigation,
  858 F.3d at 793 (while statistical significance is a useful metric for a causal
  association, it is not the sole or exclusive metric); see also In re Roundup Products
  Liability Litigation, 2018 WL 3368534, at *2–3; In re Testosterone 2017 WL
  1833173, at *10 (citing Ref. Man. at 378-9); Daubert, 509 U.S. 579 (“The fact that
  a scientific community may require a particular level of assurance for its own
  purposes before it will regard a null hypothesis as disproven does not necessarily
  mean that expert opinion with somewhat less assurance is not sufficiently reliable to
  be helpful in the context of civil litigation.” (footnote omitted)).

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                             i.    The PSC’s experts’ methodology included an
                                   analysis of all of the statistical data in the
                                   observational studies, not just statistically
                                   significant data
           Before addressing the statistical and epidemiologic communities’ rebuke of

  “significance testing,” however, it is important to state that notwithstanding J&J’s

  argument, neither the PSC nor its experts “attack the long-established concept of

  statistical significance.”290 Nor do the PSC’s experts “disregard” statistical

  significance. The PSC and its experts fully agree with the Zoloft court that although

  there may be a casual association in the absence of any statistically significant

  studies in some instances, statistical significance remains a useful metric for

  determining whether the results of a given study likely shows a real association.291

           Therefore, and fundamentally, the PSC and its experts do not “attack”

  statistical significance. Nor would it be in its best interests to do so – since the

  majority of studies show a statically significant increase risk between the genital use

  of talcum powder and epithelial ovarian cancer. What the PSC attacks, is the misuse

  and misapplication of statistical significance in the form of “significance testing” to

  created inconsistency where none exists. In other words, the PSC and its experts do



  290
        Defs.’ Mem. at 5.
  291
      In re Zoloft, 858 F 3d at 793; see also, In re Roundup, 2018 WL 3368534 at * 8
  (citing In re Zoloft); compare with In re Tylenol, 2016 WL 4039286, at *2 (finding
  causation in the absence of statistically significant observational or clinical trial
  data).

                                            99
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  not convert statistical significance from the “useful” metric that the Zoloft and

  Roundup courts described into the mechanical “yes” and “no” litmus test for

  association that J&J advances. To do so would ignore other useful metrics of

  association like “risk estimates” and “confidence intervals” which J&J’s pretends to

  discuss, but does not. As set forth below, and as described in PSC’s Motion to

  Exclude J&J’s Epidemiology Experts, significance testing without reference to any

  other useful metric of association, e.g. non-significant but positive risk ratios and

  confidence intervals that overlap the risks seen in statistically significant studies, is

  an unreliable fallacy well-recognized in the epidemiologic and statistic community.

        Indeed, the PSC’s experts (and independent entities like Health Canada, for

  example) relied heavily on the statistically significant evidence to conclude that

  Talcum Powder Products are associated with ovarian cancer. These include the

  following facts:

               • Over half of the studies that looked into the question
                 showed statistically significant results between 1.1-
                 1.7;292

               • The 8 published meta-analysis of studies and several
                 unpublished ones, which are designed to increase the




  292
    McTiernan Rep. at 9, 41; Siemiatycki Rep. at 72-74; Moorman Rep. at 13; Singh
  Rep. at 17, 28-47, 62-63; Kane Rep. at 16-23; Carson Report at 9; Clarke-Pearson
  Report at 6-8; Smith-Bindman Report at 28-30; Smith Report at pgs. 8-16; Wolf
  Report at 5-8.

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                  power of any one study to detect an effect, showed a
                  statistically significant risk between 1.25-1-45;293 and,

               • The Penninkilampi (2018) meta-analysis of cohort
                 studies (the kinds that J&J believes are most reliable),
                 demonstrated a statistically significant increased risk of
                 serious invasive ovarian cancer.294




  293
      McTiernan Rep. at 48-56; 56 (“The summary relative risks were quite consistent
  across the meta-analyses and the pooled analysis, ranging from 1.22 to 1.4 for any
  versus no use of perineal talcum powder products.”); Moorman Rep. at 12 (“meta-
  analyses of genital talc exposure and ovarian cancer calculated summary relative
  risks that were very consistent across the publications, ranging from 1.22 to 1.36, all
  with 95% confidence intervals excluding 1, indicating that women who reported talc
  use were at statistically significant increased risk for ovarian cancer. Similarly, the
  pooled analysis of eight case-control studies reported an overall odds ratio of 1.24
  (95% confidence interval (CI) 1.15-1.33).”); Moorman Dep. at 313:10-16 (“I think
  that the meta-analyses show consistent conclusions of a 25 to 30 percent increased
  risk for ovarian cancer; and that coupled with the other criteria that I considered --
  the biological plausibility and the various other Bradford Hill criteria -- that I came
  to the conclusion that talc is a cause of ovarian cancer.”); Singh Rep. at 20-27, 53;
  Kane Rep. at 26-29, 33; Deposition of Sarah Kane, MD, Jan. 25, 2019 (“Kane Dep.”)
  at 351:8-12, see attached as Exhibit 139.
  294
      Moorman Rep. at 18 (“…the recent meta-analysis by Penninkilampi and Eslick
  reported a statistically significant association with the invasive serous subtype of
  ovarian cancer, which is both the most common subtype and the one with the worst
  prognosis”) (citing Penninkilampi (2018)); Moorman Dep. at 186:10-187-8; Carson
  Rep. at 6; Clarke-Pearson Rep. at 8 (“the use of talcum powder statistically increases
  a woman’s risk of developing EOC by approximately 30 percent (Odds ratio 1.31;
  Penninkilampi 2018). Every meta-analysis before 2018 also reported similar
  increase in the risk of developing EOC with the use of talcum powder.”); Smith-
  Bindman Rep. at 22 (“the cohort studies showed an increased risk of serous invasive
  cancer subtypes for perineal talc use compared to no use (OR=1.25)”); Smith Rep.
  at 14; Wolf Rep. at 8.



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         What the PSC’s experts did not do, and what J&J and its experts argue they

  should have done, is “significance test” the data. In other words, J&J believes that

  the PSC’s experts should have asked the seemingly innocuous question: “Are the

  results statistically significant?” and sort them with a simple “yes” or “no.” J&J

  contends that the “yes” or “no” answers are conclusively meaningful. But they are

  not, and the PSC’s experts know that. This is the reason the PSC’s experts did much

  more than simply do a mechanical exercise of sorting studies into yes and no

  categories. The PSC’s experts looked at what the data actually described. They

  analyzed and assessed whether the non-significant risk estimate was positive for an

  association and assessed the confidence intervals to see if they included the

  statistically significant results seen in the case-control studies.295 Indeed, the

  Reference Manual describes confidence intervals to be “more valuable than




  295
      McTiernan Rep. at 41-42 (“Among the 8 studies which were not statistically
  significant, 7 had a sample size lower than that estimated to be needed to have power
  to detect a statistically significant result. It is important to note that while the 8
  studies did not have statistically significant results, they provide relevant data
  because their relative risk estimates were consistent with the 16 studies that showed
  statistically significant results.”); Siemiatycki Rep. at 49, 64; Moorman Rep. at 29;
  Kane Rep. at 23-25; Carson Rep. at 9 (“three cohort studies did not find a significant
  relative risk of perineal talcum powder exposure leading to ovarian cancer, but did
  show positive nonsignificant trends.”); see also Carson Dep. at 244:19-245:21 (“the
  vast majority of all of the studies show a positive odds ratio or relative risk, even if
  they don’t rise to the level of significance.”); Smith-Bindman Rep. at 18-30; Smith
  Rep. at 8-16; Wolf Rep. at 5-8.

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  [statistical tests]”296 and the Third Circuit agrees.297 With respect to the talcum-

  ovarian cancer data specifically, the PSC’s experts noted that:

               •     The non-significant risk ratios for the remaining
                     studies, including the Cohort studies, were positive;
                     and

               •     The confidence intervals reported for the remaining
                     non-significant studies, including the Cohort
                     Studies overlapped 1.2-1.25 meaning that the true
                     risk seen in these studies could have been as high as
                     20-25% to a 95% certainty thereby being consistent
                     with both the statistically significant studies and the
                     meta analyses.298




  296
      Ref. Man. at 253. Confidence Intervals are defined as “An estimate, expressed as
  a range, for a parameter. For estimates such as averages or rates computed from large
  samples, a 95% confidence interval is the range from about two standard errors
  below to two standard errors above the estimate. Intervals obtained this way cover
  the true value about 95% of the time, and 95% is the confidence level or the confi-
  dence coefficient.”
  297
      The Third Circuit described confidence intervals (i.e., the range of values that
  would be found in similar studies due to chance, with a specified level of confidence)
  and their use as an alternative to statistical significance in DeLuca by DeLuca v.
  Merrell Dow Pharm., Inc., 911 F.2d 941, 948–49 (3d Cir. 1990). See also Milward,
  639 F.3d at 24–25 (recognizing the difficulty of obtaining statistically significant
  results when the disease under investigation occurs rarely and concluding that
  district court erred in imposing a statistical significance threshold).
  298
      McTiernan Rep. at 41-42 (“Among the 8 studies which were not statistically
  significant, 7 had a sample size lower than that estimated to be needed to have power
  to detect a statistically significant result. It is important to note that while the 8
  studies did not have statistically significant results, they provide relevant data
  because their relative risk estimates were consistent with the 16 studies that showed
  statistically significant results.”); Siemiatycki Rep. at 64; Moorman Rep. at 29; Kane
  Rep. at 23-25.

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        The consistency of the data becomes obvious when statistical significance is

  considered along with all positive associations and the information gleaned from the

  confidence intervals. Graphically depicted, the information for case-control, cohort

  and the meta-analyses/pooled analyses is quite dramatic:



                        [TABLES START ON NEXT PAGE]




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                           CASE-CONTROL STUDIES
                                                                        CI consistent
                                           Positive    CI consistent
          Study         Relative Risk                                     w/ 25%
                                          Association w/ 20% Increase
                                                                          Increase
   Hartge (1983)             2.50           Yes*           Yes              Yes
   Whittemore (1988)         1.45           Yes            Yes              Yes
   Booth (1989)              1.30           Yes            Yes              Yes
   Rosenblatt (1992)         1.70           Yes            Yes              Yes
   Tzonou (1993)             1.05           Yes            Yes              Yes
   Hartge & Stewart     0.30 (5-9 yrs.)
                                             No            Yes              Yes
   (1994)               0.50 (10+ yrs.)
   Wong (1999)               1.10           Yes            Yes              Yes
   Cramer (1982)             1.92           Yes*           Yes              Yes
   Harlow & Weiss
                             1.1             Yes           Yes              Yes
   (1989)
   Harlow (1992)             1.50           Yes*           Yes              Yes
   Chen (1992)               3.90           Yes            Yes              Yes
   Purdie (1995)             1.27           Yes*           Yes              Yes
   Green (1997)              1.30           Yes*           Yes              Yes
   Shushan (1996)            1.97           Yes*           Yes              Yes
   Chang and Risch
                             1.42           Yes*           Yes              Yes
   (1997)
   Cook (1997)              1.60            Yes            Yes              Yes
   Godard (1998)            2.49            Yes            Yes              Yes
   Cramer (1999)            1.60            Yes*           Yes              Yes
   Ness (2000)              1.50            Yes*           Yes              Yes
   Mills (2004)             1.37            Yes*           Yes              Yes
   Pike (2004)              1.60            Yes*           Yes              Yes
   Jordan (2007)            1.00            Yes            Yes              Yes
                          AA 1.19
                                             Yes           Yes              Yes
   Moorman (2009)       Caucasian 1.04
   Wu (2009)                1.53            Yes*           Yes              Yes
   Rosenblatt (2011)        1.27            Yes            Yes              Yes
   Kurta (2012)             1.40            Yes*           Yes              Yes
   Wu (20015)               1.46            Yes*           Yes              Yes
   Schildkraut (2016)       1.44            Yes*           Yes              Yes




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                                   COHORT STUDIES
                                                                            CI consistent
                                               Positive    CI consistent
          Study             Relative Risk                                     w/ 25%
                                              Association w/ 20% Increase
                                                                              Increase
                            1.4 for Serous
                                                 Yes           Yes              Yes
   Gertig (2000)           1.09 for all EOC

                                1.24            Yes*           Yes              Yes
   Gates (2008)
   Gates (2010)                 1.06             Yes           Yes              Yes
   Houghton (2014)              1.12             Yes           Yes              Yes
   Gonzalez (2016)              0.73             No            Yes              No



                      META-ANALYSES/POOLED ANALYSES

                                                                            CI consistent
                                               Positive    CI consistent
          Study             Relative Risk                                     w/ 25%
                                              Association w/ 20% Increase
                                                                              Increase
   Harlow (1992)                1.30             Yes*          Yes              Yes
   Gross (1995)                 1.29             Yes*          Yes              Yes
   Cramer (1999)                1.40             Yes*          Yes              Yes
   Huncharek (2003)             1.33             Yes*          Yes              Yes
   Langseth (2008)              1.35             Yes*          Yes              Yes
   Terry (2013)              1.24 (EOC)          Yes*          Yes              Yes
   Berge (2018)                 1.22             Yes*          Yes              Yes
                             1.31 overall
                            1.25 cohorts
                                                 Yes*          Yes              Yes
                           serous invasive
   Penninkilampi (2018)          OC
   Taher (2018) (unpub.)         1.28            Yes*          Yes              Yes

        This case, therefore, stands in stark contrast with the facts presented in the

  Zoloft case, which J&J cites repeatedly throughout its motion. In Zoloft, unlike here,

  there were no observational studies that demonstrated a statistically significant




                                              106
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  association between Zoloft and birth defects.299 In Zoloft, the district court

  considered whether in the total absence of any statistically significant results from

  any epidemiologic study, an expert could rely on “trends” to find causation.300 The

  district court in Zoloft concluded that “[i]n general, before concluding that there is a

  ‘true’ association between a medication and an adverse outcome, the teratology

  community           requires   repeated,   consistent,   statistically   significant   human

  epidemiological findings, and studies which address suspected confounders and

  biases.”301 But, the Third Circuit in Zoloft refused to adopt such a bright-line rule.302

  The Third Circuit specifically noted that proving causality does not always require

  statistical significance.

                  A causal connection may exist despite the lack of
                  significant findings, due to issues such as random
                  misclassification or insufficient power. Conversely, a
                  causal connection may not exist despite the presence of
                  significant findings. If a causal connection does not
                  actually exist, significant findings can still occur due
                  to, inter alia, inability to control for a confounding effect
                  or detection bias. A standard based on replication of
                  statistically significant findings obscures the essential
                  issue: a causal connection. Given this, the requisite proof

  299
     In re Zoloft (Sertralinehydrochloride) Prod. Liab. Litig., 176 F. Supp. 3d 483,
  498 (E.D. Pa. 2016).
  300
     In re Zoloft (Sertraline Hydrochloride) Products Liability Litigation, 26 F. Supp.
  3d at 455.
  301
        Id. at 454.
  302
    In re Zoloft (Sertraline Hydrochloride) Products Liability Litigation, 858 F.3d at
  793.

                                                107
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                  necessary to establish causation will vary greatly case by
                  case.303

  While the Third Circuit affirmed the exclusion of the expert in question, it disagreed

  that significance testing should be the sole metric that determined association.

           Regardless of the “noise” that J&J makes about the Zoloft decision, and J&J’s

  attachment to the importance of significance testing, what remains is that this case

  is not Zoloft and neither the PSC nor its experts “ignore” or “attack” statistical

  significance as a metric for assessing an association. And unlike in Zoloft, where

  there were no statistically significant studies, here, the majority of the studies are

  indeed statistically significant.

                                  ii.   “Significance testing” methodology urged by
                                        J&J is unreliable and rejected by the statistical
                                        and epidemiological communities

           It would have been methodologically wrong to “significance test” the talc

  studies as J&J suggests should have been done. That methodology has been rejected

  by the statistical and epidemiologic communities

           The American Statistical Association (ASA)304 has rejected the use of

  “significance testing” outright. This rejection is both unambiguous and complete.




  303
        Id. (footnote omitted).
  304
     The ASA is “the world’s largest community of statisticians, the “Big Tent for
  Statistics.” https://www.amstat.org/ASA/about/home.aspx?hkey=6a706b5c-e60b-
  496b-b0c6-195c953ffdbc. Dr. Ballman, who is a statistician and not an

                                               108
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  Just two months ago, in March 2019, the ASA devoted an entire supplemental

  volume of its journal The American Statistician to the persistent misuse of statistical

  significance as a metric for assessing an association. Indeed, the volume of The

  American Statistician was entitled “Statistical Significance in the 21st Century; A

  World beyond P<0.05.”305 This Journal contained no less than 43 articles on the

  subject. Accompanying these 43 original articles were an editorial and a comment,

  with the comment appearing jointly in the journal Nature. Collectively, these 43

  articles and the editorial and comment highlighted the error of “significance testing.”

        The important Nature comment article was co-authored by Sander Greenland,

  Ph.D. Dr. Greenland succinctly described and summarized the ASA’s disapproval

  of “significance testing.” Though J&J would paint Dr. Greenland as an outlier, this

  commentary was widespread in its acceptance and attracted over 800 signatories in

  just 24 hours. These signatories include scientists from the institutions from which

  J&J’s experts hail (Weill Cornell, Yale, and Johns Hopkins).306 In his review of the

  issue of “significance testing,” the more than 800 scientist-signatories described the



  epidemiologist, is a member and former officer of the ASA. See Curriculum Vitae
  of Karla Ballman, Ph.D. at 14, attached as Exhibit 140.
  305
       73 The American Statistician 1 (Supp.                 1   2019),   available    at
  https://www.tandfonline.com/toc/utas20/current.
  306
     Amrhein, et al. (2019). Dr. Greenland has been cited as an authority in the
  Reference Manual on Scientific Evidence and the textbook he-co-authored with Dr.
  Rothman, Modern Epidemiology, is cited as an authoritative text.

                                           109
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  “significance” methodology embraced by J&J’s experts as a “PERVASIVE

  PROBLEM” riddled with “errors” that “must stop”:

                 PERVASIVE PROBLEM:

                 Let’s be clear about what must stop: We should never
                 conclude that there is ‘no difference’ or no association’
                 just because a p value is larger than a threshold of .05 or
                 equivalently because a confidence interval includes zero.
                 Neither should we conclude that two studies conflict
                 because one has a statistically significant result and
                 another did not. These errors waste research efforts
                 and misinform policy decisions.307

           Faced with the definitive ASA consensus statement (published in March 2019,

  after all the experts had submitted their reports in this MDL), J&J dismisses it by its

  hollow criticism of one of the co-authors who it claims was a consulting expert308

  and pretends that this has no bearing on the attack that it makes here.309 However,

  J&J half-heartedly attempts to defend the “significance testing” methodology by

  stating that abandoning it would diminish “statistical significance.”310




  307
        Id. at 305-6 (emphasis added).
  308
      J&J takes a swipe at Dr. Greenland because he consulted with the PSC early in
  this litigation. See, Defs.’ Mem. at 63, n. 152. The implication is ridiculous for
  numerous reasons, including the fact that over 800 scientists joined in, including
  scientists from the institutions form which J&J’s own experts hail.
  309
     Deposition of Gregory Diette, MD, MHS, April 9, 2019 (“Diette Dep.”) at
  313:17-20; 315:7-19, attached as Exhibit 141.
  310
        Defs.’ Mem. at 69-78.

                                            110
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           But its methodology has long been rejected. In 2016, before the recent ASA

  publications (but after the Reference Manual called significance testing not

  “sophisticated”), the ASA took the unprecedented step of reminding scientists not to

  do “significance testing” for association by issuing an unprecedented consensus

  statement, “Statement on Statistical Significance and P Values.”311 Notably, the

  ASA deemed its unprecedented consensus statement on statistical methodology

  necessary because of the widespread and continued misuse of statistical significance

  in policy and the law. The ASA made clear that its consensus statement was designed

  to “shed light on an aspect of our field that is too often misunderstood and misused

  by the broader research community . . . .”312 In the 2016 ASA Consensus Statement,

  the ASA discussed statistical significance testing and specifically warned of errors

  that could be derived from its misuse:

                  Practices that reduce data analysis or scientific inferences
                  to a mechanical bright line (such as p <.05) for justifying
                  scientific claims or conclusions can lead to erroneous
                  beliefs and poor decision making. A conclusion does not
                  immediately become ‘true’ on one side of the divide and
                  ‘false’ on the other.313



  311
     See generally Wasserstein & Lazar, The ASA’s Statement on p-Values: Context,
  Process, and Purpose, 70 Am. Statistician 129 (2016), attached as Exhibit 142. This
  2016 ASA statement was cited in numerous reports by the PSC’s experts against
  significance testing.
  312
        Id. at 129.
  313
        Id. at 131.

                                              111
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              Moreover, the ASA cited longstanding literature against its use.314 The

  epidemiologic community too has roundly and explicitly rejected it. In 1965

  Professor Hill himself, addressed this issue in the very article that J&J claims is the

  standard methodology for causation recognized in this Circuit.315 There, Professor

  Hill explained that: “No formal tests of significance can answer these

  questions…they contribute nothing to the ‘proof’ of our hypothesis.”316

  Professor Hill further lamented in 1965 that some epidemiologists continued to

  erroneously apply significance testing, as J&J’s and its experts do here.317

              The admonition against “significance testing” is also taught to epidemiology

  students. For example, in the textbook Modern Epidemiology, the authors (Drs.

  Rothman, Lash, and Greenland)318 address this error head-on. They characterize this

  methodology in no uncertain terms as “fallacious” and a “mistake”:

                     One mistake in implementing the consistency criterion is
                     so common that it serves special mention. It is sometimes
                     claimed that a set of literature is inconsistent simply
                     because some results were “statistically significant” and
                     some are not. This sort of evaluation is completely




  314
        Id. at 132 (providing “a brief p-value and statistical significance reference list”).
  315
        Defs.’ Mem. at 26-7.
  316
        Hill (1965) at 299.
  317
        Id.
  318
        See supra n. 1.

                                               112
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                fallacious even if one accepts the use of significance
                testing methods.319

  Moreover, other standard textbooks agree that the methodology is both misleading

  and unreliable.320

        Far from being “generally accepted” as asserted by J&J and its experts,

  “significance testing” is unreliable and misleading and has gone from being merely

  “unsophisticated” to being outright disfavored. It is clearly inappropriate to grant a




  319
     Rothman, et al., Modern Epidemiology at 25 (emphasis added). Interestingly, J&J
  attempts to paint Dr. Rothman as an unreliable outlier. See Defs.’ Mem. at 11, n. 20.
  Apart from the fact that he is widely cited in the Third Circuit, see e.g, Deluca, supra,
  his textbooks are cited in the Reference Guide on Epidemiology as one of the sources
  for epidemiology. Ref. Man. at 630. He is a founder of the leading journal,
  Epidemiology. https://www.bu.edu/sph/profile/kenneth-rothman/.
  Indeed, 20 years ago, J&J consulted with Dr. Rothman with regard to its Talcum
  Powder Products and ovarian cancer, before much of the evidence at issue in this
  case was collected. Defs.’ Mem. at 11, n. 20. Interestingly, J&J has not sought an
  update of Dr. Rothmans views on this relationship but instead has chosen litigation
  experts with far less experience in cancer epidemiology.
  320
      For example, in the textbook Epidemiology: Concepts and Methods, the author
  states that “epidemiologists prefer using confidence intervals over statistical
  significance testing when it comes to assessing random error.” William A. Oleckno,
  Epidemiology: Concepts and Methods at 222, 173, 221-24 (2008) attached as
  Exhibit 143. Similarly, in the textbook, Introduction to Meta-Analysis, Dr.
  Borenstein noted that it is wrong to “count[] the number of significant and
  nonsignificant p-values and pick[] the winner.” Borenstein, et al., Introduction to
  Meta-Analysis at 251. The textbook aptly explains the fallacy of J&J’s experts’
  approach as follows: “The logic of vote counting says that significant finding is
  evidence that an effect exists, while the nonsignificant finding is evidence that an
  effect is absent. While the first statement is true, the second is not.” Id. at 252
  (emphasis added).

                                            113
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  Daubert challenge against the PSC’s general causation experts for failing to use a

  discredited “significance testing” methodology.

                        b.    The PSC’s causation experts properly assessed the
                              strength and weaknesses of all the studies to analyze
                              the talc-ovarian cancer association and properly did
                              not adhere to a rigid hierarchy of evidence

           J&J also criticizes the PSC’s experts for allegedly failing to engage in a less

  than analytical methodology of further sorting the studies using a mechanical

  “hierarchy of evidence.” Using this so-called hierarchy, J&J claims that the talc

  cohort studies (and their significance tested results) are to be automatically

  considered higher on the reliability hierarchy than the talc case-control studies.321 As

  with statistical testing, and as demonstrated infra, J&J’s and its experts’ reliance on

  its rigid hierarchy is demonstrably wrong. While J&J posits its hierarchy as a “well

  established” epidemiologic principle, even the most basic epidemiology textbooks

  teach that there is not a rigid hierarchy.322

           J&J’s contention that the PSC’s experts should have sorted the statistically

  significant/non-statistically significant results by a “hierarchy of evidence” is flawed

  because it ignores the strengths and weaknesses of each study. Moreover, this

  method is not supported by the Reference Manual (as J&J implies in its motion).323


  321
        Defs.’ Mem. at 5, 9-14, 47-67.
  322
        Rothman, et al., Modern Epidemiology at 111; Gordis, Epidemiology at 245, 257.
  323
        Defs.’ Mem. at 9 n. 16.

                                             114
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  Indeed, it has been rejected by even the most basic epidemiologic textbooks as set

  forth in the PSC’s Motion to Exclude J&J’s Epidemiology Experts.324

                                   i.    The PSC’s experts “even-handedly”
                                         considered the biases of both the cohort
                                         and case control studies
           As independent scientists outside of litigation have done, see e.g. Health

  Canada Assessment, the PSC’s experts reviewed both the case-control and cohort

  studies and have concluded that, on balance, there was a consistent association. 325

  These conclusions were based on an analysis of the strengths and weaknesses of

  each talc study, regardless of whether they were case control of cohort 326 Despite

  the PSC’s experts’ review of the strengths and weaknesses of all talc studies, which

  is facially apparent by reviewing each of the PSC’s expert reports, J&J nonetheless

  subjectively complains (as if arguing to a jury) that the PSC’s experts were not “even

  handed in their approach.327




  324
        See PSC’s Motion to Exclude Defendants’ Epidemiology Experts at 29-34.
  325
      Kane Rep. at 9, 16; McTiernan Rep at 41-42, 64-65; Carson Rep. at 8, 9; Clark-
  Pearson Rep. at 6, 7; Smith Rep. at 16, 20; Siemiatycki Rep. at 64; Wolf Rep. at 6-
  7, 14-15; Plunkett Rep. at ¶ 71; Moorman Rep. at 11-15; Smith-Bindman Rep. at 38;
  Singh Rep. at 17, 53, 63.
  326
     Kane Rep. at 8, 16-26; McTiernan Rep. at 22-24, 31-48; Clarke-Pearson Rep. at
  2-3; Siemiatycki Rep. at 47-61; Wolf Rep. at 2-3, 6-7; Moorman Rep. at 15-29;
  Smith-Bindman Rep. at 16-18; Singh Rep. at 10-13, 27-53.
  327
        Defs.’ Mem. at 5.

                                           115
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        Importantly, while J&J takes full opportunity to argue the “merits” of its case,

  it does not show that the PSC’s experts failed to consider and address the potential

  for bias and confounding in the talcum powder-ovarian cancer studies. It does not

  do so because it cannot do so. The PSC’s experts considered and addressed in detail

  whether there were biases in the talc specific studies (both case-control and cohort)

  that would likely have either biased them towards or away from a statistically

  significant association.328 The PSC’s experts’ analysis in this regard was careful,

  analytical, consistent and even-handed. Any disagreement between J&J and any of



  328
     See, e.g., Siemiatycki Rep. at 69 (“There are various potential sources of bias in
  these studies, some of which could have inflated the true RR estimate and some of
  which would have deflated the true RR estimate. Apart from random measurement
  error, which is inevitable in such studies and which tends to deflate the RR estimates,
  there is no certainty that the other potential biases were in fact operative and to what
  degree. It is my opinion, however, that neither bias nor confounding explains the
  consistent positive association seen across studies.); McTiernan Report at 63-64
  (“Viewed in the context of the high consistency of the study results across time,
  diverse study populations, and strong study designs, bias and chance as explanation
  for the increased risk are unlikely.”); Kane Report at 9 (“The vast majority of studies
  and meta-analyses find an association with an increased risk of ovarian cancer.
  Under these circumstances, viewing the evidence as a whole, the likelihood that the
  consistent finding of an association can be explained by bias, or chance or
  confounding is highly unlikely, especially in light of the results of the other lines of
  evidence.”); Moorman Report at 10 (“I considered the potential biases of individual
  studies, both those that supported and those that did not support an association
  between talc and ovarian cancer, and how those biases may have impacted the
  findings. . . . some biases have the potential to lead to an overestimate of the relative
  risk (e.g. recall bias in case-control studies) while others could result in an
  underestimate of the relative risk (e.g. incomplete ascertainment of talc use in the
  cohort studies).); Singh Report at 54 (“Recall bias is less likely to occur for chronic
  daily exposures such as talc as compared to intermittent short exposures.”).

                                            116
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  the PSC’s expert with regard to the weight to be accorded to any of the biases and

  confounders, in the end, is not an issue of reliability but is an issue to be explored

  during cross-examination.

           While J&J purports to base its criticism on a “hierarchy of evidence,” the real

  basis for its attack is simply that the PSC’s experts did not sort studies as J&J’s

  experts chose to do. Indeed, J&J’s argument goes on endlessly about why its own

  litigation experts believe that there were biases and confounding that may have

  created a spurious (but statistically significant) association in the talc case-control

  studies. J&J supports this contention by citing repeatedly to their own experts’

  reports (primarily Drs. Diette, Merlo, Holcomb and Ballman).

           This issue was squarely before the court in the Roundup MDL.329 In that case,

  as here, there were both case control studies, pooled studies, and 3 meta-analyses as

  well as a cohort study that addressed the relationship between Roundup (glyphosate)

  and Non-Hodgkin’s Lymphoma (NHL). As here, the defendant, Monsanto, “raised

  concerns about basing a causation assessment on case control studies and meta-

  analyses,” noting that case control studies were prone to “recall bias.”330 They also

  raised the issue of “important confounders.”331 Instead of the case control studies,



  329
        In re Roundup Prods. Liab. Litig., 2018 WL 3368534 (N.D. Cal. July 10, 2018).
  330
        Id. at *11
  331
        Id. at *13.

                                             117
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  Monsanto in Roundup urged that a cohort study (called the AHS study), which did

  not show a statistically significant association, was more reliable. Since, according

  to Monsanto, cohort studies allegedly avoided the biases inherent in case-control

  studies, Monsanto sought to exclude the plaintiffs’ experts as unreliable under

  Daubert. Specifically, Monsanto argued that the AHS study was reliable because of

  its design and the case control-studies and meta-analyses relied on by plaintiffs’

  experts were not.332

           What ensued was a vigorous debate between the parties as to the reliability of

  the competing epidemiologic evidence. On one hand, Monsanto argued (as J&J does

  here) that the case-control studies were less reliable because they were subject to

  bias and confounding.333 On the other hand, the plaintiffs’ experts argued that the

  cohort study was less reliable because of “exposure misclassification” based on an

  initial survey and (unlike any of the talc cohort studies in the case) a follow-up

  questionnaire provided to study participants during the course of the study.334 The

  Roundup court implicitly rejected the “cohort is better than case control” argument

  that J&J advances here:

                  The upshot of all this is that the epidemiology evidence is
                  open to different interpretations, and the potential flaws in
                  the data from the case-control studies and meta-analyses

  332
        Id. at *13-14.
  333
        Id. at *11-14.
  334
        Id. at *13.

                                              118
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                 are not overwhelmingly greater than the potential flaws in
                 the data from the AHS study. An expert operating “within
                 the range of accepted standards governing how scientists
                 conduct their research and reach their conclusions” could
                 thus place less weight on the AHS study, and could
                 conclude that the analyses of the case-control studies
                 support an association between glyphosate exposure and
                 NHL, even if this is not necessarily the best interpretation
                 of the evidence. Daubert II, 43 F.3d at 1317. As a result,
                 an expert who places more weight on the case-control
                 studies than the AHS study cannot be excluded as
                 categorically unreliable for doing so.335

           The parallel between Roundup and this case is readily apparent.336 Here, the

  PSC’s causation experts did not just reflexively assume one study design was better

  than the other with respect to the ovarian cancer question, as J&J contends. Rather,

  they specifically and methodically reviewed each study and category of studies for

  strengths and weaknesses. They considered:

                 • Whether the case control studies were likely due to
                   recall bias. They concluded that this was unlikely,337 a

  335
        Id. at *15 (emphasis added).
  336
     The cases are parallel with one important exception. Unlike the defense experts
  in Roundup, J&J’s causation experts admittedly relied heavily on a superficial
  “hierarchy” to support its views and not a detailed analysis of the strengths and
  weaknesses of the talc studies regardless of design.
  337
     McTiernan Rep. at 24 (“For the case-control studies, media reports of associations
  between talc and ovarian cancer could have influenced cases such that they recalled
  use of talcum powder products to a greater degree than controls. However, the
  studies for which data collection pre-dated news reports of this association showed
  similar effects to those for which data were collected afterward. Thus, “recall bias”
  is unlikely to be an issue. As mentioned above, recall bias is a theoretical bias;
  studies that have investigated other sources of data on exposures have failed to
  confirm the presence of differential recall between cases and controls.”);

                                             119
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                  conclusion that has also been noted in the medical
                  literature relating specifically to the talc-ovarian cancer
                  studies.338


  Siemiatycki Rep. at 54-55; Moorman Rep. at 21-24; Singh Report at 54 (“Recall bias
  is less likely to occur for chronic daily exposures such as talc as compared to
  intermittent short exposures.”); Kane Rep. at 9, 17-28; Carson Dep. at 240:19 to
  241:20 (“you can fault case-control studies for being particularly sensitive to recall
  bias, but many of these authors who perform these studies indicated that they were
  well aware of that bias potential and took measures to avoid it.”); Smith Report at
  16 (Recall and confounding bias in case-control studies appear to have minimal
  impact.).”); Clarke-Pearson Dep. at 164:14-20; Smith-Bindman Report at 17; See
  also Deposition of Ellen Blair Smith, MD, January 9, 2019 (“Smith Dep.”) at 186:23
  to 187:22 (“I quoted the part of the paper where the author specifically dressed
  concerns about recall bias and found them unlikely.”), attached as Exhibit 144; Wolf
  Rep. at 8; see also Wolf Dep. at 254:5 to 255:12, 310:18 to 311:20, 313:6 to 313:21
  (“ In all of the studies, I review the methodology, I look for any evidence of bias,
  recall bias or anything else. Not every study compared before 2014 and after 2014.
  This one did, they found no significant difference in recall of use.”)
  338
     Schildkraut (2016) (“our data do not support that recall bias alone before 2014
  verses 2014 of later would account for the association with body powder use and
  EOC”); Gates (2008) (“In addition, the exposure definition of genital talc use at least
  once per week may have decreased the influence of recall bias in this analysis since
  habitual talc use is likely to be recalled more accurately than sporadic use.”); Health
  Canada Assessment (“In studies where the exposure is simple (e.g., never versus
  ever use), recall bias is unlikely to be an important source of bias. The positive
  association is strongest for the serous histologic type (Berge et al. 2018; Taher et al.
  2018); findings that the association may vary by histologic type detracts from the
  hypothesis of report bias, as the type of bias would likely operate for all histologic
  types”); Langseth (2008) (“Methodological factors such as recall bias should always
  be considered in case-control studies. It could have been a problem had there been
  wide-spread publicity about the possible association between use of body powder
  and cancer. The International Agency for Research on Cancer (IARC) the working
  group considers that there has not been widespread public concern about this issue
  and therefore considers it unlikely that such a bias could explain the consistent
  findings.”); Mills (2004) (“Recall bias has also been implicated as a limitation in
  studies of talc and ovarian cancer. However, findings in a prospective study, the
  Nurses’ Health Study, in which exposure data were collected prior to diagnosis and
  hence free of recall bias, were similar to the present study finding for talc use and

                                           120
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                  Whether the case control studies were subject to
                  uncontrolled for confounding. They concluded that this
                  was unlikely,339 an observation that has also been made
                  in the medical literature.340



  serous invasive ovarian cancer. It has also been suggested that use of talc is habitual
  versus memorable and not likely to be subject to recall bias.”).
  339
     McTiernan Rep. at 15, 24, 31; Siemiatycki Rep. at 59-60; Moorman Rep. at 28-
  29 (“Although uncontrolled confounding is a theoretical possibility, to my
  knowledge, in the more than 30 years of research on talc and ovarian cancer no such
  confounder has been identified that could account for the increased risk associated
  with talc use.”); Singh Report at 12, 25, 34, 46, 54, 60 (discussing confounding in
  general and in relation to individual studies); Singh Dep. at 254:5-12; Singh Rep. at
  54 (“Family history, ethnicity, obesity and some reproductive risk factors are
  positively associated with the risk of ovarian cancer, but the magnitude of these
  associations does not appear high enough to introduce enough confounding, even
  jointly, to explain completely the positive association. To invalidate the statistically
  significant findings of an increased risk of ovarian cancer from the studies, one
  would have to postulate a degree of selection, recall bias and confounding pervasive
  across different time periods, different populations which is highly implausible.”);
  Kane Rep. at 9; Carson Report at 8 (“Most, but not all, of these studies show a
  consistent positive relationship. When confounding and bias are exhaustively
  considered, the positive association remains.”); Clarke-Pearson Dep. at 118:13-
  119:21 (“Uncontrolled confounding is a potential concern in case-control studies, is
  that right? Yes, but if your controls are well selected then that negates much of the
  bias.); Smith-Bindman Report at 32: (“Studies were not included if they reported
  only crude ORs unadjusted for confounding factors); Smith Report at p. 16 (“Recall
  and confounding bias in case-control studies appear to have minimal impact.”); Wolf
  Report at 8.
  340
      See also Narod (2016) at 2 (“It is unlikely that the association between talc and
  ovarian cancer is due to confounding and so it is fair to say that if there is a
  statistically robust relationship between talc use and ovarian cancer it is likely to be
  causal (albeit with intermediate factors such as inflammation)); Cramer (2016) at
  345 (“Among many epidemiological variable, no confounders for the association
  were identified”); Cramer (1999) at 356 (“In summary, we have demonstrated a
  consistent association between talc and ovarian cancer that appears unlikely to be
  explained by recall or confounding.”).

                                            121
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               • As they did with case-control studies, the PSC’s
                 experts also considered the strengths and weaknesses
                 of the cohort studies. Specifically, they considered:

               • Whether the Cohort Studies were designed to study the
                 ovarian cancer-talcum association. (They were not).341


  341
      McTiernan Rep. at 64 (“While the cohort studies on average showed more
  attenuated relative risks of ovarian cancer in relation to use of talcum powder product
  use, these studies were not well designed to determine true risk for ovarian cancer
  and perineal talc use.”); Singh Rep. at 10-11 (“In contrast, prospective cohort studies
  may be limited by the short-duration of follow-up which may be insufficient to
  ascertain the effect of exposure on long-term outcomes and bias their findings
  towards the null. Secondly, for relatively rare diseases, such as ovarian cancer, case-
  control studies are more efficient. Because we are looking at the incidence of disease
  between the two arms of a study, a cohort study may have limited statistical power
  regardless of the actual number of subjects enrolled if the number of cases is small.
  For example, the Nurses’ Health Study recruited almost 80,000 participants for only
  307 cases of ovarian cancer.”); Singh Rep. at 47 (“…it is important to emphasize
  that none of the cohort studies discussed below were designed to evaluate the
  association between talc use and ovarian cancer at the time of cohort assembly. In
  other words, evaluating the association between talc use and ovarian cancer was not
  the a-priori primary objective of the study but evaluated as a subsequent hypothesis,
  with its inherent limitations. For example, the NHS cohort was assembled in 1976
  but data on talc use was not collected until 1982. In contrast the primary objective
  of most case-control studies noted above was to evaluate the risk of ovarian cancer
  associated with talc use.”); Kane Rep. at 24 (“Cohort studies begin when all
  participants are free of the disease in question. After a follow-up period, those that
  have the disease being studied are compared by exposure risk being studied to those
  who did not develop the disease. Although this helps to ensure exposure predates
  disease, there may be a lack of data if the disease is rare or if there is a long latency
  period between exposure and disease presentation/diagnosis, as is the case of ovarian
  cancer and talc.”); Carson Dep. at 251:4 to 252:1; Clarke-Pearson Dep. at 144:7-17
  (“the cohort studies were not designed to answer that question. They’re poorly done
  and I don’t think contribute to this discussion.”); Smith-Bindman Report at 19-22.;
  Smith Report at 14-15; Wolf Dep. at 256:19 to 257:12 (“the primary endpoints of
  the Nurses Health Study and the Women’s Health Study were not to look at the
  relationship of talc and ovarian cancer.”); Deposition of Jack Siemiatycki, MSc,
  PhD, January 31, 2019 (“Siemiatycki Dep.”) at 171:2-13 (it’s mainly a problem for

                                            122
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               • Whether there was a substantial risk of exposure
                 misclassification which would tend to bias these
                 studies towards showing no association.342 They
                 concluded that this risk was substantial since the cohort
                 authors in the case asked about talc exposure one time
                 and conducted no follow up for years to determine
                 whether the behavior had changed.343 This significant
                 limitation was noted by many looking at the talc cohort
                 studies.344


  cohort studies. And if you carry out a cohort study of – focused on cancer, and you
  collect information about exposure, and then follow them for two years to find out
  how many of them got cancer, and whether there is a difference between the people
  who were exposed and the people who are not exposed, well, that would be pretty
  hopeless because it takes more than two years for cancers to develop and be
  diagnosed. So short follow-up periods in cohort studies would be a source of bias in
  cohort studies."), attached as Exhibit 145.
  342
     Misclassification bias is “[t]he erroneous classification of an individual in a study
  as exposed to the agent when the individual was not, or incorrectly classifying a
  study individual with regard to disease.” Ref. Man. at 624.
  343
     McTiernan Rep. at 16-17, 19, 43, 46; Siemiatycki Rep. at 56 (“The women in the
  cohort studies were “locked into” their exposure category at baseline of the cohort
  study. If there were women who in fact started using powders after the baseline, they
  would be incorrectly labelled as non-users. And, if there were indeed a risk
  associated with use of talc powders, the risk estimate would be diluted by the
  incorrect inclusion of users among non-users. Accordingly, the longer such subjects
  are followed, the more likely such misclassification is to occur.”); Moorman Rep. at
  26 (“Each of the cohort studies assessed talc use at a single point in time and did not
  update the information at subsequent follow-up interviews.”); Singh Report at 10-
  11; Kane Report 24; Carson Dep. at 251:4 to 252:1; Clarke-Pearson Dep. at 144:7-
  17; see also 164:2-11; Smith-Bindman Report at 19-22.; Smith Report at 14-15;
  Wolf Report at 7-8; see also Wolf Dep. at 256:19 to 257:12 (“two of the three studies
  are limited by the documentation of how much -- how often and how frequent
  powder was used.”).
  344
      Gates (2008) at 2443 (“Information on talc use was only collected in 1982 in the
  NHS, so it is possible that some participants were misclassified with respect to their
  talc use history.”) Gates (2010) at 52 (“The incomplete data for a few exposures, in
  particular talc use and family history of ovarian cancer, also are weaknesses because

                                           123
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               • Whether the studies accounted for the long latency
                 period of ovarian cancer. They concluded that this was
                 a weakness of these studies.345

               • Whether the studies had enough participants (were
                 adequately “powered”) to study the ovarian cancer risk.
                 They concluded that this was a substantial weakness,
                 particularly of the Gonzalez (Sisters Study) which
                 followed this cohort for a little over 6 years.346



  the limited data may have influenced the observed associations for these exposures.
  The association with talc use in our analysis differed from the association in a
  previous analysis of the NHS cohort (34), possibly because of a greater degree of
  exposure misclassification over 24 years of follow up.”). The Taher (2018) meta-
  analysis, the authors stated that “[i]t is possible that women who were not exposed
  to perineal talc at the time of cohort entry began using talc at a later time, and vice
  versa, possibly introducing non-differential misclassification of exposure, which
  could bias the risk estimate towards the null value of unity.” Taher (2018) at 44.
  345
      McTiernan Rep. at 47; Siemiatycki Rep. at 57; Moorman Rep. at 27 (“As the
  authors [of the Sister Study] acknowledged in their paper, if latency (the time
  between exposure and diagnosis of cancer) is 15 to 20 years, the exposure
  assessments do not accurately reflect the period of risk.”); Singh Rep. at 52, 55; Kane
  Rep. at 24, 26; Carson Dep. at 168:5 to 168:9 (“There may have been higher rates of
  ovarian cancers, but you have to also understand that the latency period for ovarian
  cancer is pretty long. It’s greater than 20 years, often as long as 40 years.”); Clarke-
  Pearson Report at 8; Smith-Bindman Report at 17 (several had very short follow-up
  periods with data or information about the time before the cancer occurred. This
  negates an advantage of cohort studies.”); Smith Report at 14-15 (“With an expected
  latency period of over twenty years, this study would not pick up all cases.”); Wolf
  Report at 7-8 (“the short follow-up fails to account for the latency period.”).
  346
     McTiernan Rep. at 46-48 (“The sample sizes (numbers of cases) of most of the
  cohort study publications were likely too small to be able to detect a relative risk in
  the order of 1.24 (the value found in the Terry pooled analysis) with reasonable
  power, especially for different histologic subtypes.”); Moorman Rep. at 25 (“As
  described in a commentary by Narod, the lack of a significant overall association
  between ever use of talc and ovarian cancer in the cohort studies may be due to the
  fact that the despite the large size of the cohorts, the studies were not adequately
  powered to detect a relative risk of approximately 1.2.”); Singh Rep. at 10-11

                                           124
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        While J&J’s motion (and certainly its experts) pretend otherwise, the

  weaknesses of the cohort studies are significant and were independently criticized in

  the scientific literature and by regulatory bodies. Taher (2018) came to the exact

  conclusion about the weakness of the cohort studies reached by the PSC’s experts:

                Although cohort study designs are efficient for examining
                diseases with a long latency period, it is essential that the
                period between talc exposure and the cancer diagnosis be
                sufficiently long. Gonzalez et al. suggested that the
                latency period for ovarian cancer is between 15 to 20
                years. In the cohort studies included in this review,
                Houghton et al. reported a mean follow up of 12.4 years
                while Gates et al. followed a cohort of women for 24
                years. Gertig et al. and Gonzalez et al. noted that one of
                their studies’ main limitations was the relatively short
                follow up periods that may not be adequate to detect a
                potential association between talc exposure and 468
                ovarian cancer.


  (“Secondly, for relatively rare diseases, such as ovarian cancer, case-control studies
  are more efficient. Because we are looking at the incidence of disease between the
  two arms of a study, a cohort study may have limited statistical power regardless of
  the actual number of subjects enrolled if the number of cases is small. For example,
  the Nurses’ Health Study recruited almost 80,000 participants for only 307 cases of
  ovarian cancer.”); Carson Dep. at 251:4 to 252:1; see also 252:19 to 253:3 (“I think
  by and large most cohort studies are underpowered.”); Clarke-Pearson Dep. at
  164:2-11; Smith-Bindman Report at 20-21; Smith Report at 14-15 (“All of the cohort
  studies are limited by failure to obtain complete information, lack of power, selection
  bias, and short follow-up.”); Wolf Report at 6-8 (“All of the cohort studies are
  limited by lack of power, failure to make the appropriate queries, selection bias, and
  short follow-up.”); see also Taher (2018) (“In addition, cohort studies included may
  have been underpowered to detect an odds ratio (relative risk) of 1.3 estimated from
  the case control studies. This was noted by Narod et al., who suggest that cohorts of
  at least 200,000 women would be needed to reach statistical significance if the true
  odds ratio is 1.3. The cohort studies included in this review included much smaller
  cohort sizes, ranging between 41,654 and 78,630 women.”)

                                            125
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                  In addition, cohort studies included may have been
                  underpowered to detect an odds ratio (relative risk) of 1.3
                  estimated from the case control studies. This was noted
                  by Narod et al., who suggest that cohorts of at least
                  200,000 women would be needed to reach statistical
                  significance if the true odds ratio is 1.3. The cohort
                  studies included in this review included much smaller
                  cohort sizes, ranging between 41,654 and 78,630 women.

                  Finally, in cohort studies, talc exposure was assessed at
                  cohort entry and was used as a measure of chronic talc
                  use during follow up. It is possible that women who were
                  not exposed to perineal talc at the time of cohort entry
                  began using talc at a later time, and vice versa, possibly
                  introducing non-differential misclassification of
                  exposure, which could bias the risk estimate towards the
                  null value of unity. Conversely, in the presence of
                  differential exposure misclassification, a bias away from
                  the null hypothesis could accentuate differences between
                  the cohort and case-control studies.347

           As in Roundup, the PSC’s experts in this case have adequately explored the

  strength and weaknesses of all relevant studies of all designs. That they conclude

  that, on balance, the case-control studies provide stronger evidence of the association

  than the cohort studies in this case (which also showed a positive association, albeit

  not a statistically significant one) is a reliable opinion to present to a jury. Indeed,

  that reasonableness is strengthened because a meta-analysis of the cohort studies

  (Penninkilampi) has demonstrated a statistically significant increased risk of Serous




  347
        Taher (2018) at 43-44.

                                             126
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  Invasive Ovarian Cancer. “As it stands, a meta-analysis of observational studies such

  as the present study provides the highest level of evidence practically feasible for

  this research question.”348

                                ii.    “Hierarchy of evidence” sorting by generic study
                                       type as urged by J&J is itself an improper
                                       methodology

           Knowing full well that the PSC’s experts did in fact explore the weaknesses

  of all the talc-ovarian cancer studies regardless of design, J&J implies that they

  should have simply prioritized them by study designs. According to J&J, it was a

  methodologic error generally to “elevate[] the importance of studies that are prone

  to bias and confounding [case control] over those that are generally deemed more

  reliable by the medical community [cohort].”349 J&J asserts that there is a “hierarchy

  of evidence” that includes “in descending order of reliability—cohort studies, case

  control studies, and cross sectional studies.” 350

           J&J also falsely implies that its view of the “hierarchy” is endorsed in the

  Reference Manual 351 To be clear, the “hierarchy” described in the Reference Manual




  348
        Penninkilampi (2018).
  349
        Defs.’ Mem. at 9.
  350
        Id. at 10.
  351
        Id. at 11-12, see also n.16.

                                              127
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  does not distinguish between cohort and case control studies. To the contrary, it

  specifically assigns them the same weight stating simply that:

           When ordered from strongest to weakest, systematic review of
           randomized trials (meta-analysis) is at the top, followed by single
           randomized trials, systematic reviews of observational studies, single
           observational studies, physiological studies, and unsystematic clinical
           observations.352

           There is good reason why the Reference Manual does not state that “cohort

  studies” are more reliable than “case control studies.” Simply, because they are not.

  In fact, the hierarchy methodology (like that employed by J&J’s experts) has been

  derided as a “substitute for more thoughtful and difficult tasks” of evaluating the

  strengths and weaknesses of individual studies.353

           In Dr. Rothman’s paper, “Six Persistent Research Misconceptions” referred

  to above, he also addresses the so-called “hierarchy of evidence” that J&J declares

  is a “fundamental epidemiologic principle.” In this paper, Dr. Rothman listed J&J’s

  “hierarchy of evidence” as the very first research misconception, which he describes

  as follows: “[t]here is a hierarchy of study designs: randomized trials provide the

  greatest validity, followed by cohort studies, with case-control studies being least

  reliable.”354



  352
        Id. at 724-5 (emphasis added)
  353
        Rothman, Six Persistent Research Misconceptions at 1066.
  354
        Id. at 1061.

                                            128
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           According to this epidemiologic review, J&J’s superficial methodology of

  simply ranking studies generically by general study design -- is flawed and leads to

  error. As Dr. Rothman explained: “[D]iscrepancies between cohort studies and case

  control studies should not be explained away superficially by a presumed advantage

  of cohort studies over case-control studies.”355 Indeed, he stated that “both cohort

  and case-control studies will yield valid results when properly designed and carried

  out.”356 He further stated that it is wrong to “disparage” case-control studies and that

  “study design should not be taken as a guide to a study’s validity.”357

           Importantly, J&J in particular should know that the superficial methodology

  it urges as a “fundamental principle” is flawed since it previously hired Dr. Rothman

  who told them so.358 In 2000, J&J (through Defendant PCPC) commissioned Dr.

  Rothman to do a causation analysis on talcum powder-ovarian cancer for the

  National Toxicology Program (NTP). In that analysis. Dr. Rothman made clear that

  epidemiologists outside the courtroom reject the very study design “hierarchy” that

  J&J presents here in this litigation as “generally accepted.” While his analysis of the

  talc evidence itself is almost 20 years old and significantly dated (by way of example,


  355
        Id. at 1061.
  356
        Id. at 1060.
  357
        Id. at 1061.
  358
    Kenneth J. Rothman, et al. Interpretation of Epidemiologic Studies on Talc and
  Ovarian Cancer at 3 (Nov. 28, 2000), IMERYS 209695, attached as Exhibit 146.

                                            129
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  it does not include the past 19 years’ worth of additional observational evidence on

  talcum powder and ovarian cancer and does not include information about cosmetic

  powders containing asbestos), his general view about J&J’s so-called “hierarchy of

  evidence” sorting principle is not:

                   It is commonly believed that the validity of case-control
                   studies is worse than cohort studies, but this view is
                   mistaken. The validity of a study depends on the
                   specifics of the study design, the nature of the data, and
                   the nature of the hypothesis that the study addresses.
                   For example, a cohort study that examines the long-term
                   risk of cancer among coffee drinkers after a one-time
                   dietary assessment of coffee consumption would suffer
                   from weak exposure assessment. Although the exposure
                   information may have been accurate for the time it was
                   collected, the exposure status of cohort members will
                   change with time and the initial measure might be only
                   poorly correlated with a more meaningful measure of
                   coffee consumption. The effect of having a poor measure
                   of coffee consumption will be considerable non
                   differential misclassification, a type of error that
                   introduces bias into study results that tends to drive effect
                   estimates towards the null condition of no effect. In
                   contrast, it may be possible to get more detailed exposure
                   information from study subjects in a case-control study,
                   which might avoid some of the bias that would result from
                   a cohort study.359

              This same observation was noted in the textbook Epidemiology, written by

  Leon Gordis, MD, professor of epidemiology at Johns Hopkins and a co-author of

  the Reference Guide on Epidemiology in the Reference Manual on Scientific



  359
        Id.

                                               130
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  Evidence.360 As set forth in the Reference Manual, Dr. Gordis’ textbook categorized

  both cohort and case-control studies as having the same level of reliability.361 The

  methodology employed by the PSC’s experts in evaluating relevant observational

  studies is generally accepted. What is clear is that the “hierarchy of evidence”

  methodology employed by the J&J’s experts is “junk-science” that this Court should

  prohibit from entering the courtroom. It cannot be the basis for the exclusion of the

  PSC’s experts.

           D.     THE STRENGTH OF ASSOCIATION ASPECT OF THE
                  BRADFORD-HILL CAUSATION GUIDELINES IS MET BY
                  THE 25-45% STATISTICALLY SIGNIFICANT OVERALL
                  RISK OF OVARIAN CANCER
           One of J&J’s central arguments that repeats throughout its Memorandum—is

  that the PSC’s causation experts defined the consistent 25-45% increased risk seen

  in the epidemiologic literature magnitude as “strong” when, according to J&J, that

  association is “weak.”362 That alone, according to J&J, “highlights the unreliability

  of [the PSC’s causation experts’ methodology].”363,




  360
        Leon Gordis, Epidemiology.
  361
        Id. at 245, 257.
  362
      Defs.’ Mem. at 1, 31-47. J&J describes the association as “weak” over 30 times
  in the first half of their motion.
  363
     According to J&J “the mere fact that plaintiffs’ experts opine that strength of
  association supports a causal conclusion based on an objectively weak magnitude of
  the risk itself highlights the unreliability of their methodology.” Id. at 34.

                                          131
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           J&J then argues that the PSC’s experts somehow ignored 1) “significant

  evidence” that the consistent association seen over four (4) decades might have been

  the result of “recall bias”;364 and 2) that some other unidentified confounding factor

  might have been or could have been a confounding variable for these studies.365

           As set forth below, neither of these claims have merit.

                  1.    J&J’s Argument Over Whether the Talc-Ovarian Cancer
                        Risk that is One that is “Small,” “Medium” or “Strong,” is a
                        Red-Herring

           J&J’s argument over whether the increased risk that exists is one that is

  “small,” “medium” or “strong,” is a red-herring. As long as the risk is greater than

  1.0, there is no minimal threshold for a causal relationship. As noted in the Reference

  Manual: “While strength is a guideline for drawing an inference on causation from

  association… there is no specified threshold required.”366

           This point is made in even the most basic textbooks on epidemiology. As

  noted by Rothman in Modern Epidemiology: “[A] strong association is neither

  necessary nor sufficient for causality, and [] weakness is neither necessary nor

  sufficient for absence of causality” using as examples, “smoking and cardiovascular

  disease or between environmental tobacco smoke and lung cancer [which are]



  364
        Id. at 35-38.
  365
        Id. at 38-40.
  366
        Ref. Man. at 611, n. 186.

                                             132
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  accepted by most as causal even though the associations are considered weak.”367

  Indeed, as explained in Section V(C)(1)(b), infra, there are many recognized causal

  relationships that have Odds Ratios less than 2.0.

           Indeed, even J&J’s experts themselves concede that there is no universal

  “numeric definition” or “hard threshold” for strength and there is “no cut off value

  for the magnitude of an association between exposure required or the relationship to

  be causal.”368 Dr. Diette agreed that “there is no absolute cutoff to define a large

  versus small relative risk...” and the “size of the risk does not, in itself, determine

  causation.”369

           The arbitrariness of J&J’s insistence that various risk ratios are capable of

  being categorized as “strong,” “moderate” or “weak” is borne out by the

  inconsistency between J&J’s experts’ opinions and evidence they rely on. J&J and

  its experts would like it to be a principle of epidemiology that a risk ratio of less than

  2.0 is categorically a “weak” risk, even suggesting that there is a “consensus” about

  this. However, the NCI assessment upon which J&J and its experts rely for this

  “consensus” has characterized the relative risks of obesity and ovarian cancer (RR


  367
        Rothman, et al., Modern Epidemiology at 26.
  368
      Report of Karla Ballman, PhD, February 25, 2019 (“Ballman Rep.”) at 22,
  attached as Exhibit 147; Report of Christian Merlo, MD, PhD, February 25, 2019
  (“Merlo Rep.”) at 43, attached as Exhibit 148.
  369
      Report of Gregory Diette, MD, MHS, February 25, 2019 (“Diette Rep.”) at 7,
  attached as Exhibit 149.

                                            133
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  1.1) and Hormone Replacement Therapy and ovarian cancer (RR 1.2-1.8) as

  “moderate”, clearly demonstrating that a risk ratio below 2.0 can and does qualify

  as a risk that is stronger than “weak.”370 This demonstrates that it is the risk estimates

  themselves that matter, not some arbitrary description of them as being “strong,”

  “moderate” or “weak.”

                      a.     The PSC’s experts did not define the talcum powder
                             ovarian cancer association as “small,” “moderate” or
                             “strong” association
        Despite J&J’s attempts to force the PSC’s experts to define the magnitude of

  association as strong, moderate or weak, the PSC’s experts did not do so because (as

  J&J’s experts agree), these are subjective terms without any recognized objective

  epidemiologic definition.371 Rather than classifying the association according to




  370
     National Cancer Institute, Ovarian, Fallopian Tube, and Primary Peritoneal
  Cancer Prevention (PDQ®)-Health Professional Version, at 3, attached as Exhibit
  150; Merlo Rep. at 45.
  371
      See infra n. 366. McTiernan Dep. at 228:18-24; Moorman Dep. at 249:3-14;
  Siemiatycki Dep. at 147:2-148:19; Carson Depo at 230:18 to 231:5 and 232:13 to
  233:23 (“A 30% increase may be classified by epidemiologists as weak or modest,
  but if you look at the number of women in this country who die each year from this
  fatal disease, that represents about 3,000 lives that could potentially be saved through
  prevention.”); Clarke-Pearson Dep. at 128:15 to 131:1 (I’m not aware that it’s a
  strong association or a weak association. It’s a statistically significant association,’);
  Smith-Bindman Dep. at 235:24-237:5 (“He doesn’t quantify it as weak or strong,
  but there’s a suggestion that a 39 percent increase is important.”); Smith Dep. at
  176:24 to 177:10 (“modest, weak suggests unimportant, and I would not call it
  unimportant.”); Wolf Dep. at 368:3 to 368:20 and 226:7 to 228:19 (“studies as a
  whole, 1.3 to 1.4 odds ratio. And do you consider that to be a strong association? I

                                            134
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  J&J’s artificial and subjective definition, the PSC’s experts mostly resisted those

  attempts and defined the associations epidemiologically and by what the evidence

  actually shows. Specifically, the PSC’s experts found a 25-45% increased risk but

  did not define that percentage range of risk as being “strong” or otherwise.

        In their reports, each of the PSC’s causation experts described the overall talc–

  ovarian cancer association as what it is—a 25-45% increased risk.372 At deposition,

  it was clear that J&J’s legal strategy was to push each PSC expert to quantify the

  magnitude of this risk as “strong.”373 However, the PSC’s experts refused to agree



  consider it to be a consistent, reliable association. It doesn’t have to be a high
  number.”).
  372
     McTiernan Rep. at 8, 63 (22-31%); Siemiatycki Rep. at 38-39, 47-48, 69 (28%);
  Plunkett Rep. at 49 (~30%); Moorman Rep. at 39 (25-30%); Singh Rep. at 62-63
  (30-60%); Kane Dep. at 190:15-20 (30-40%); Carson Dep. at 232:13 to 233:23 (“Q.
  When you say 30% increased risk, that’s a 1.3 odds ratio, is that right? A. That’s
  correct.”); Clarke-Pearson Report at 6 (“the data shows a consistent statistically
  significant increased risk of developing EOC with perineal talcum powder use.
  Overall, the risk is increased 20-60% when compared with women who didn’t not
  use talcum powder.”); Smith-Bindman Report at 27 (“The systematic reviews
  provide a remarkably consistent estimate of an approximately 30% increase in the
  risk of ovarian cancer associated with any talc powder products use.”); Smith Report
  at 16 (“When looking at epidemiological studies with a critical eye and in their
  totality, they demonstrate a clear, consistent, and statistically significant increased
  risk of EOC (approximately 20-50%) with the genital use of talcum powder
  products.”); Wolf Report at 8 (“the risk elevation is 20-60%).
  373
      McTiernan Dep. at 228:18-24 (“Q . . . Do you think that relative risks of 1.06 and
  1.12 are weak? strong? moderate? How would you characterize those numbers? . . .
  [A]: I tend to look at the number of what they are, rather than giving an adjective to
  it.”); Singh Dep. at 140:19-23 (“Q. Can you point to any peer-reviewed literature on
  talc and ovarian cancer that states that 1.3 odds ratio is a strong association? A.
  Again, that's not -- I'm not looking at talc at 1.3 is a strong association.”); Moorman

                                           135
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  with J&J’s effort to characterize testimony out of context. As Dr. Moorman testified

  when pressed on the subject:

        Q.     And I think you are conflating—or you are
               misunderstanding my question, because you are
               answering the question about whether the association is
               real or not real, and, my question for you is whether the



  Dep. at 249:3-14 (“. . . there is no absolute terminology that would say what is a
  weak association, what is modest, and what is strong. So I think it is more accurate
  to describe it as it is, a 20 to 30 percent increased risk of ovarian cancer.”);
  Siemiatycki Dep. at 147:2-148:19 (“The terminology around strength of association
  -- weak, modest, strong, very strong, medium, et cetera – it doesn't have -- there are
  no regulations. There's no epidemiologic handbook that says if a relative risk is in
  this range, you call it weak or moderate and so forth. So the term "moderate" --
  actually, the terminology around strength of associations was probably most
  influenced by the smoking and lung cancer situation in the '50s and '60s where there
  were relative risks of ten approximately, ten times as high of risk for smokers as for
  nonsmokers of getting lung cancer, and that was considered a benchmark for strong
  associations.... It has subsequently turned out that the level of relative risk for
  smoking and lung cancer is exceptional among known carcinogens, and that this --
  there are not many that have such high relative risks. I'm just giving you a bit of
  background because the terminology is controversial, and I know it plays into the
  case of how we -- how we characterize the associations around talc and ovarian
  cancer . . . . So where you draw the line between strong, moderate, weak, and so on,
  is a kind of -- is a vague notion.”); Carson Dep. at 230:18 to 231:5 and 232:13 to
  233:23 (“A 30% increase may be classified by epidemiologists as weak or modest,
  but if you look at the number of women in this country who die each year from this
  fatal disease, that represents about 3,000 lives that could potentially be saved through
  prevention.”); Clarke-Pearson Dep. at 128:15 to 131:1 (I’m not aware that it’s a
  strong association or a weak association. It’s a statistically significant association,’);
  Smith-Bindman Dep. at 235:25-237:5 (“He doesn’t quantify it as weak or strong,
  but there’s a suggestion that a 39 percent increase is important.”); Smith Dep. at
  176:24-177:10 (Modest, weak suggests unimportant, and I would not call it
  unimportant.”); Wolf Dep. at 368:3-20, 226:7- 228:19 (“studies as a whole, 1.3 to
  1.4 odds ratio. And do you consider that to be a strong association? I consider it to
  be a consistent, reliable association. It doesn’t have to be a high number.”)

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                 association is weak, modest or strong. How would you
                 characterize it?

           A.    And I would—as I have said, there is no absolute
                 terminology that would say what is a weak association,
                 what is modest, and what is strong. So I think its accurate
                 to describe it as it is, a 20-30 percent increased risk of
                 ovarian cancer.374

           Dr. Siemiatycki was also pressed but refused to use the J&J lawyer’s

  definition stating that:

                 The terminology around strength of association -- weak,
                 modest, strong, very strong, medium, et cetera – it doesn't
                 have -- there are no regulations. There's no epidemiologic
                 handbook that says if a relative risk is in this range, you
                 call it weak or moderate and so forth. So the term
                 "moderate" -- actually, the terminology around strength of
                 associations was probably most influenced by the smoking
                 and lung cancer situation in the '50s and '60s where there
                 were relative risks of ten approximately, ten times as high
                 of risk for smokers as for nonsmokers of getting lung
                 cancer, and that was considered a benchmark for strong
                 associations. . . It has subsequently turned out that the level
                 of relative risk for smoking and lung cancer is exceptional
                 among known carcinogens, and that this -- there are not
                 many that have such high relative risks. I'm just giving you
                 a bit of background because the terminology is
                 controversial, and I know it plays into the case of how we
                 -- how we characterize the associations around talc and
                 ovarian cancer . . . . So where you draw the line between
                 strong, moderate, weak, and so on, is a kind of -- is a vague
                 notion.375




  374
        Moorman Dep at 249:3-14.
  375
        Siemiatycki Dep. at 147:2-148:19.

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         It is impossible to quote all of the statements from each of the witnesses’

  testimony and reports that J&J cobbled together and mischaracterized to support its

  “strength” of association claim. Suffice it to say that the reports and testimony of

  Drs. Moorman and Siemiatycki cited above are just two examples of the deceptive

  manner in which J&J has mischaracterized the testimony of the PSC’s experts on

  this issue.

         Having largely failed to cause the PSC’s expert witnesses to agree and give

  up a “soundbite” that a 25-45% increased risk qualifies as a “strong” risk, J&J’s

  experts spun selective snippets of the PSC’s expert’s testimony in a way that would

  imply that the PSC’s experts testified different than they did.376,377

         J&J’s attempt to convert a soundbite or two, taken out of context, into a

  methodologic flaw is a disservice to the serious causation issue before this Court.




  376
      J&J’s experts’ unfair cherry picking of the PSC’s expert reports in an effort to
  criticize them is in itself an unreliable methodology and demonstrates that they have
  crossed the line from scientists to litigation advocates. For that reason, among others,
  the PSC moved to exclude them. See, PSC’s Motion to Exclude Defendants’
  Epidemiology Experts at Section (D) at 66.
  377
     Siemiatycki Dep. at 148:25-149:11 (“Q. So, respectfully, Dr. Siemiatycki, my
  question was, do you agree with the IARC classification of the increase in risk as,
  quote, modest? A. So there was no such classification. It was a word used in a
  sentence, I guess. There is -- they never classified the association as being strong,
  weak, moderate or whatever. It was part of a narrative about the -- the body of
  evidence. Do I agree that -- yeah, I would use that term today.”).

                                            138
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  J&J’s strawman argument is transparent, if not downright misleading and should be

  rejected.

                       b.       The PSC’s experts properly relied on other established
                                cause and effect relationships with risk ratios less than
                                2.0 to demonstrate that it is reasonable to draw a causal
                                inference from a magnitude of risk that is less than 2.0
           To illustrate that causation can be determined from associations reporting a

  25%-45% increased risk reported for Talcum Powder Products and ovarian cancer,

  the PSC’s experts noted that there are similar magnitudes of association reported for

  other exposures that are known to cause disease. J&J would have them ignore that

  evidence as not relevant.378

           The PSC’s experts described the strength of the association with relationship

  to other exposures that are also causal. For example, Dr. Moorman wrote:

                 The overall associations seen in the talc-ovarian cancer
                 meta-analyses as well as in many of the individual studies
                 are statistically significant, indicating an increased risk of
                 approximately 25-30%. While not as high as other
                 relationships like smoking and lung cancer, these relative
                 risks are in line with other generally accepted causal
                 relationships (e.g. second hand smoke and lung cancer). I
                 consider the strength of association seen in the talc–
                 ovarian cancer epidemiologic studies, to be an important
                 factor in favor of a causal relationship between talc and
                 ovarian cancer, particularly when considered along with
                 the consistency of association seen across these studies.379


  378
        Defs.’ Mem. at 43-46.
  379
        Moorman Rep. at 15.

                                             139
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  Similarly, Dr. Siemiatycki wrote:

                 [t]he best estimate from the epidemiologic literature is that
                 women who regularly used talcum powder in the genital
                 area had a 28% higher risk of ovarian cancer than women
                 who did not use such powders. … [T]his RR is in line with
                 many well-recognized risk factors for cancer and other
                 diseases ... Such a high and significant meta-RR could not
                 have occurred by chance. This is a very important factor
                 in how I view the evidence of causality and it supports
                 causality.380

           An example of this “strength” less than 2.0 evidence is Table 11 in the

  Siemiatycki report entitled “Selected Examples of Some of the Recognized Causal

  Association that have RR less than 2.0.” He and other PSC experts discuss this

  type of data for one purpose and for one purpose only--to demonstrate concretely

  that the strength of association aspect of Bradford-Hill need not exceed 2.0 before a

  casual association can be reached. That table is reprinted from page 87 of his Report

  (without references) below:

  Agent                                            Disease          Approximate RR
  Urban air pollution                              Lung cancer                1.091
  Trichloroethylene                                Kidney cancer              1.322
  Diesel engine emissions                          Lung cancer                1.423
  Benzene                                          Leukemia                   1.724
  Domestic radon gas                               Lung cancer                1.295
  Second hand cigarette smoke                      Lung cancer                1.64
  Intermittent intense sun exposure                Melanoma of the skin       1.616
  Estrogen-progestin menopausal therapy            Breast cancer              1.597


  380
        Siemiatycki Rep. at 62.

                                             140
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           J&J objects to the use of this data as a response to its argument that

  associations less than 2.0 cannot be found. J&J complains that the PSC’s experts

  have not “conducted a systematic review of the literature” of all of the casual

  evidence supporting these “causal associations,” i.e. the nine Bradford Hill aspects

  for all of these examples.381 Moreover, J&J protests that the source of the strength

  for some of these relationships (i.e., HRT) may have come from clinical trials, and

  not observational studies as are at issue here.382

           But J&J misses the central point. The PSC’s experts are not comparing the

  nine overall Bradford Hill aspects of causal association evidence for each reported

  association with the nine Bradford Hill aspects that support their views on the causal

  relationship evidence for the talc ovarian cancer association. Nor are they comparing

  the source of the overall data (i.e., the type of study) that supported each association

  with the source of the data supporting the talcum powder ovarian cancer association.

  They are using the data solely to demonstrate that science recognizes causal

  inferences where the strength of association is less than 2.0—a conclusion that J&J

  calls a “methodologic flaw” worthy of wholesale exclusion.383


  381
        Defs.’ Mem. at 44.
  382
        Defs.’ Mem. at 45.
  383
     In footnote 82 of its Memorandum, J&J notes, but does not ask, that the Court
  adopt a 2.0 Relative risk threshold for a causal finding. Not only is that not

                                            141
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               2.    The PSC’s Experts Thoroughly Considered Bias and
                     Confounding When Evaluating Studies as Part of their
                     Analysis of the Totality of the Evidence

        As Judge Pisano stated in Fosamax, issues of whether experts properly

  considered bias and confounding are not Daubert admissibility issues. Rather, they

  are issues that would affect what weight is to be accorded the evidence to which

  “defendant is free to address …on cross examination…” In re Fosamax, 2013 WL

  1558690 at *4; See also In re Testosterone 2017 WL 1833173 at *36; In re Abilify

  (Aripiprazole) Products Liability Litigation, 299 F. Supp. 3d at 1325.

                            a.     The PSC’s causation experts considered recall
                                   bias in the talc studies and like the published
                                   literature found it unlikely
        Contrary to J&J’s argument, the PSC’s experts considered whether there was

  “significant evidence” that the four (4) decades of case-control studies were the

  subject of “bias” and, like others outside of litigation have observed, they concluded




  scientifically supportable, it is not the position of most Courts which have addressed
  that issue, including in the Third Circuit. See In re TMI Litigation, 193 F.3d at 727
  n.179; See also In re Hanford Nuclear Reservation Litig., 292 F.3d 1124, 1137 (9th
  Cir. 2002) (“the district court erred in requiring epidemiological evidence which
  would, like the standard rejected by the Third Circuit in In re TMI Litigation, 193
  F.3d 613, require a plaintiff to prove exposure to a specific threshold level of
  radiation that created a relative risk of greater than 2.0.”); In re Bextra & Celebrex
  Mktg. Sales Practices & Prod. Liab. Litig., 524 F. Supp. 2d 1166, 1173 (N.D. Cal.
  2007) (J. Breyer) (holding that 2.0 issue is not relevant to general causation.

                                           142
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  that the risk of bias was minimal (particularly when compared to the real risk of

  misclassification biases, for example, in the talc cohort studies).384



  384
     IARC (2010) at 409; Siemiatycki Report at 69 (“There are various potential
  sources of bias in these studies, some of which could have inflated the true RR
  estimate and some of which would have deflated the true RR estimate. Apart from
  random measurement error, which is inevitable in such studies and which tends to
  deflate the RR estimates, there is no certainty that the other potential biases were in
  fact operative and to what degree. It is my opinion, however, that neither bias nor
  confounding explains the consistent positive association seen across studies.);
  McTiernan Report at 63-64 (“Viewed in the context of the high consistency of the
  study results across time, diverse study populations, and strong study designs, bias
  and chance as explanation for the increased risk are unlikely.”); Kane Report at 9
  (“The vast majority of studies and meta-analyses find an association with an
  increased risk of ovarian cancer. Under these circumstances, viewing the evidence
  as a whole, the likelihood that the consistent finding of an association can be
  explained by bias, or chance or confounding is highly unlikely, especially in light of
  the results of the other lines of evidence.”); Moorman Report at 10 (“I considered
  the potential biases of individual studies, both those that supported and those that
  did not support an association between talc and ovarian cancer, and how those biases
  may have impacted the findings. . . . some biases have the potential to lead to an
  overestimate of the relative risk (e.g. recall bias in case-control studies) while others
  could result in an underestimate of the relative risk (e.g. incomplete ascertainment
  of talc use in the cohort studies).); Singh Report at 54 (“Recall bias is less likely to
  occur for chronic daily exposures such as talc as compared to intermittent short
  exposures.”); Carson Report at 8-9 (“When confounding and bias are exhaustively
  considered, the positive association remains.”) (Taken in their totality, and
  accounting for sources of bias and differing statistical treatments, these
  epidemiological studies support a strong association between the perineal use of
  talcum powder and ovarian cancer.”); Carson Dep. at 240:10 to 241:20 (“the same
  thing can be said about cohort studies. They suffer from other forms of bias,
  misclassification in particular.”); Clarke-Pearson Dep. at 118:13-119:21 (“If your
  controls are well selected then that negates much of the bias.”); Smith-Bindman
  Report at 34; Smith Report at 16 (Recall and confounding bias in case-control
  studies appear to have minimal impact.); Wolf Report at 8; Wolf Dep. at 254:5 to
  255:12 (“ I do agree that one concern of case-control studies is recall bias. I believe
  that was acknowledged in most, if not all, of the case-control studies and felt not to

                                            143
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              In a further effort to turn what is a difference of opinion on the weight to be

  accorded to the talcum powder-ovarian cancer studies into facts that the PSC’s

  experts intentionally ignored, J&J posits that “recall bias” was “in fact” the source

  of the ovarian cancer association seen in the case-control studies.385 In other words,

  J&J claims that it is a fact that ovarian cancer “cases” in all case-control studies were

  differentially prompted by publicity about the Talc-ovarian cancer relationship to

  recall powder use. Moreover, J&J says that some of the PSC’s experts (Siemiatycki

  and McTiernan) are speculating that studies performed before the first talc ovarian

  cancer verdict in 2016 did not have a recall bias problem is “pure ipsie dixit.”386

              To support this so-called “fact” of recall bias, and the charge that the PSC’s

  experts are “speculating,” J&J cites primarily 2 sources; the Schildkraut (2016) study

  co-authored by the PSC’s’ expert Dr. Moorman and the ipsie dixit litigation opinions

  of its own experts Diette, Merlo, Ballman and Saenz.

              It is truly ironic that J&J would choose to rely on Dr. Moorman’s study. In

  Schildkraut the authors said exactly the opposite of what J&J states about the

  potential for recall bias in the case-control studies. There, the authors explored

  whether there was a difference in reporting a relationship to talcum powder use


  be an issue. And I looked at that, but the weight of the evidence suggests that most
  of the studies showed a relationship.”)
  385
        Defs.’ Mem. at 36.
  386
        Id.

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  among ovarian cancer cases before 2014 and after 2014 (when publicity surrounding

  the first ovarian cancer verdict began). After separating data based on the 2014 date,

  the authors specifically noted that “Our Data do not support that recall bias alone

  before 2014 versus 2014 or later would account for the associations with body

  powder use.”387

           Predictably, Dr. Moorman was asked about recall bias. She testified that this

  was a specific interest of the Journal editors and, as a result, they explored the

  issue.388 She affirmed the talc studies do not support recall bias before 2014:

                  I think that probably every meta-analysis published,
                  probably every case-control study that was published, we
                  acknowledge this as a -- recall bias is a potential bias. But
                  I think that we went on to give evidence -- I explained why
                  I did not think that it was a complete explanation. Can
                  we completely rule out any possibility of recall bias? I
                  don't know that we can do it. But I think that as -- for some
                  of the reasons I articulated…. And I don't think that we
                  can attribute this association to recall bias.389

           And the Schildkraut (2016) study doesn’t stand alone in reaching this

  conclusion. The recall bias that J&J asserts “in fact” explained the association seen

  in the case-control studies was rejected by others. This would include the

  International Agency Research on Cancer (IARC) in its 2006 talc review which was



  387
        Id. at 1415 (emphasis added)
  388
        Moorman Dep. at 239-42.
  389
        Id. at 241-42.

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  chaired by the PSC’s expert Jack Siemiatycki, Ph.D. As reported in Dr.

  Siemiatycki’s 2008 article following the IARC decision, IARCs epidemiology noted

  specifically that pre-2006 talcum case control studies were likely not the subject of

  recall bias:

                 Methodological factors such as recall bias should always
                 be considered in case-control studies. It could have been a
                 problem had there been wide-spread publicity about the
                 possible association between use of body powder and
                 cancer. The International Agency for Research on
                 Cancer (IARC) the working group considers that there
                 has not been widespread public concern about this issue
                 and therefore considers it unlikely that such a bias could
                 explain the consistent findings.”390

           There is one additional fact that supports the PSC’s experts’ conclusion that

  recall bias was likely not a problem with the talcum specific case control studies at

  issue in the case: The association was differentially correlated with serous ovarian

  cancer (a histologic type) and, if recall bias were a likely source of bias for these

  studies, it would have effected all subtypes equally.391



  390
        Langseth 2008 at 358 (emphasis added).
  391
     Singh Report at 25 (“While the role of selection and recall bias is a possibility,
  given higher estimates reported from recent studies, such biases should account for
  increase in recall for all histologic cancer subtypes and not just serous ovarian
  cancer.”); Kane Report at 23 (“The finding in some studies that serous carcinoma
  has a stronger association with perineal talc exposure than other histologic subtypes
  of ovarian cancer also argues against recall bias, as participants are very unlikely to
  have knowledge about the histologic subtyping of ovarian cancer.”); Carson Depo
  at 240:19 to 241:20 (“you can fault case-control studies for being particularly
  sensitive to recall bias, but many of these authors who perform these studies

                                            146
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           The fact that talcum use was differentially associated with some histological

  subtype’s ovarian cancer and not others strongly supports the PSC’s experts’

  position that recall bias is not the “fact” that J&J and its litigation experts say it is.

  This observation was noted by Health Canada in 2018 which, as noted above, arrived

  at the same conclusion subsequent to (and independent of) the filing of the PSC’s

  experts’ reports in this case:

                 In studies where the exposure is simple (e.g., never versus
                 ever use), recall bias is unlikely to be an important source
                 of bias. The positive association is strongest for the serous
                 histologic type (Berge et al. 2018; Taher et al. 2018);
                 findings that the association may vary by histologic type
                 detracts from the hypothesis of report bias, as the type of
                 bias would likely operate for all histologic types.392

           As the above examples demonstrate, it was not--and is not--“pure ipsie dixit”

  for the PSC’s experts to have concluded that recall bias was an unlikely source of

  bias in pre-2014 talc specific case control studies.393



  indicated that they were well aware of that bias potential and took measures to avoid
  it.”); Smith Report at 16 (Recall and confounding bias in case-control studies appear
  to have minimal impact.).”); Clarke-Pearson Depo at 164:14-20; Smith-Bindman
  Report at 17; see also Smith Dep. at 186:23 to 187:22 (“I quoted the part of the paper
  where the author specifically dressed concerns about recall bias and found them
  unlikely.”); Wolf Report at 8; Wolf Depo at 254:5 to 255:12, 310:18 to 311:20, 313:6
  to 313:21 (“In all of the studies, I review the methodology, I look for any evidence
  of bias, recall bias or anything else. Not every study compared before 2014 and after
  2014. This one did, they found no significant difference in recall of use.”).
  392
        Health Canada Assessment at 28.
  393
     What is ipsie dixit, however, are J&J’s expert bias claims, at least those that were
  used in J&J’s Memorandum at 36-37. Apart from relying on the generic “hierarchy

                                             147
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        The PSC’s causation experts did not ignore and clearly addressed the potential

  of recall bias concerns in the talc case control studies. As such, their opinions about

  what impact alleged recall bias may have as to the significance of the studies presents

  nothing more than a jury question, and is not a reason to exclude them on Daubert

  methodological reliability grounds. Compare In re Fosamax, 2013 WL 1558690 at

  * 4, In re Roundup, 2018 WL 3368534, at *25 (Dr. Portier addressed recall bias and

  even if it was a close call, the court admitted him), and In re Testosterone, 2017 WL

  1833173, at *11, with Zoloft, 26 F. Supp. 3d at 465 (Dr. Bérard did not “adequately

  discuss” potential bias and opinion excluded). As described by the Court in In re

  Testosterone and In re Roundup, whether the PSC’s experts’ interpretation is the

  correct or best explanation is a jury question.




  of evidence,” (which, as demonstrated above, is a methodologic flaw), Drs. Diette
  and Merlo rely on a handful of articles in the Chicago Tribune, Washington Post and
  San Francisco Chronicle.” Id at 37. It is rank speculation that any of these articles
  were read by any study participant, particularly in Schildkraut (2016), where the
  patients were drawn from 11 centers none of which was in the Washington DC
  Metropolitan area or in California. Nor do J&J’s experts begin to explain how recall
  bias could have effected patients in other countries where case-control studies were
  performed.

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                                b.   The PSC’s experts properly considered
                                     confounding in the talc studies and like the
                                     published literature found it unlikely
           J&J further asserts that the case control studies may have been flawed because

  they did not control for potential confounding variables.394 A potential confounder

  is a variable that is associated with both exposure and outcome. Failure to control

  for confounding can lead to spurious results, in that one that may conclude that an

  association is due to the exposure when in fact, it is due to another variable

  associated with the exposure – the confounder. As with “recall bias,” however, the

  PSC’s experts carefully considered the potential for “confounding” by some

  unknown variable.395




  394
        Defs.’ Mem. at 38-41.
  395
     McTiernan Rep. at 15, 24, 31; Siemiatycki Rep. at 59-60; Moorman Rep. at 28-
  29 (“Although uncontrolled confounding is a theoretical possibility, to my
  knowledge, in the more than 30 years of research on talc and ovarian cancer no such
  confounder has been identified that could account for the increased risk associated
  with talc use.”); Singh Report at 12, 25, 34, 46, 54, 60 (discussing confounding in
  general and in relation to individual studies); Singh Dep. at 254:5-12; Singh Rep. at
  54 (“Family history, ethnicity, obesity and some reproductive risk factors are
  positively associated with the risk of ovarian cancer, but the magnitude of these
  associations does not appear high enough to introduce enough confounding, even
  jointly, to explain completely the positive association. To invalidate the statistically
  significant findings of an increased risk of ovarian cancer from the studies, one
  would have to postulate a degree of selection, recall bias and confounding pervasive
  across different time periods, different populations which is highly implausible.”);
  Kane Rep. at 9.

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          As an initial matter, a party does not have to prove that each and every

  epidemiologic study that they rely on is perfect or that every conceivable

  confounding variable has been identified and controlled for. As the courts in In re

  Roundup and In re Abilify recently observed:

                 Reliable epidemiological studies should account for
                 confounders where they are identified, although “failure to
                 control for every conceivable potential confounder does
                 not necessarily render the results of an epidemiological
                 study unreliable.396

          With respect to the case control studies, the theoretical issue of a failure to

  control for confounders is exceedingly small for several reasons.

           First, this case does not rest on the interpretation of a single study or even a

  handful of studies. There are literally dozens of tac studies spanning 40 years and as

  Dr. Moorman observed: “To my knowledge, in the more than 30 years of research

  on talc and ovarian cancer no such confounder has been identified that could account

  for the increased risk associated with talc use.”397 This fact has been noted by other

  scientists as well.398



  396
      In re Roundup, 2018 WL 3368534 at *8 (quoting In re Abilify, 299 F. Supp. 3d
  at 1322).
  397
        Moorman Rep at 28-8.
  398
      See e.g. Narod, 2016 at 2 (“It is unlikely that the association between talc and
  ovarian cancer is due to confounding and so it is fair to say that if there is a
  statistically robust relationship between talc use and ovarian cancer it is likely to be
  causal (albeit with intermediate factors such as inflammation). Cramer, 1999 at 356:

                                             150
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        Second, while not every talc study adjusted for every one of J&J’s theoretic

  variables (family history of cancer, menopausal status, BMI, contraceptive use and

  douching), some did and the overall risk ratio was consistent across studies. This, of

  course, indicates that the theoretic confounders J&J has speculated on were not real

  confounders.399

        Against this backdrop, J&J has now come-up with a new confounder to

  explain the increased risk based on Gonzalez (2016): douching. Using this variable,

  talc is the exposure, ovarian cancer is the outcome, and douching is the potential

  confounder. J&J argues that most studies examining Talcum Powder’s association

  with ovarian cancer failed to control for douching as an uncontrolled confounder.

  They speculate that the increased risk of ovarian cancer seen with genital Talcum

  Powder use may have been due to talc users being more likely to also use douching

  products.

        The PSC’s experts are accused of dismissing douching as a potential

  confounder. Dr. Moorman, in particular, is accused of ignoring this potential




  “In summary, we have demonstrated a consistent association between talc and
  ovarian cancer that appears unlikely to be explained by recall or confounding.”)
  399
     See, e.g., Siemiatycki Report at 59 (“Given that the main studies have controlled
  for the main risk factors, I consider it unlikely that this operates. . . . while there is
  some variability between studies in the list of covariates, the main known potential
  confounders (age, BMI or weight, parity) have been controlled for in almost all
  studies.”).

                                            151
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  confounder.400 To the contrary, Dr. Moorman acknowledges that vaginal douching,

  associated with ovarian cancer risk was examined as a potential confounder in

  Gonzalez (2016).401 While the data from Gonzalez suggests douching may be a

  potential confounder, the analysis they performed revealed empirical evidence that

  adjusting for douching using statistical modelling had a negligible effect on the

  association between Talcum Powder use and ovarian cancer, indicating that the

  association between Talcum Powder use and ovarian cancer was not confounded by

  douching.402 It is Dr. Moorman’s opinion that if douching was a confounder of the

  association between talc use and ovarian cancer, one would have expected a

  substantial change in the hazard ratio once they adjusted for douching - this was not

  demonstrated.403

              Third, and perhaps most important, one additional factor must be

  considered—one which neither J&J nor its experts even try to explain. That is that

  in order for confounding to be the explanation for the risk seen between the use of

  talc and ovarian cancer, the unknown theoretic variable would have to have been a




  400
        Defs.’ Mem. at 38.
  401
        Moorman Rep. at 28.
  402
        Id.
  403
     Affidavit of Patricia Gripka Moorman, M.S.P.H., Ph.D., dated May 21, 2018 at
  3, 4 (discussing Hartge et al. (1983) and Harlow et al. (1992), which ruled out
  douching as a likely confounder), attached as Exhibit 151.

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  very large risk in and of itself and one that would have had to have gone undetected

  for decades. This fact was explained almost 20 years ago when J&J and the talc

  industry submitted an “expert report” by Dr. Kenneth Rothman to the National

  Toxicology Program (NTP) in support of its position that talc is not a human

  carcinogen.404 In his 2000 report, Dr. Rothman was quite clear that confounding

  variables that J&J discusses (family history, BMI, reproductive status and

  contraceptive use) were not a likely explanation of a relative risk in the range of

  1.31:

              Confounding

              Although there are some strong risk factors for ovarian
              cancer, for any of them to be confounding to an extent that
              could account for the positive relations that have been
              reported [and overall relative risk of 1.31], they would
              have to be strongly correlated with talc use. Family
              history, ethnicity, obesity and some reproductive risk
              factors are positively associated with the risk of ovarian
              cancer, but the magnitude of these associations does not
              appear high enough to introduce enough confounding,
              even jointly, to explain completely the positive
              association. Of course, it remains possible that yet
              unidentified risk factors for ovarian cancer could be
              important confounders, and several such factors in the
              aggregate could give risk to an overall association as weak
              as the one between talc and ovarian cancer.405

  404
     The NTP did not reach a conclusion one way or another. It deferred that decision
  and has not taken the issue up again. 70 Fed. Reg. 60548, 60553, attached as Exhibit
  152.
  405
    Rothman, et al., Interpretation of Epidemiologic Studies on Talc and Ovarian
  Cancer (2000) at 5.

                                          153
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           The truth is that in the past 40 years of trying, J&J has failed to identify a

  confounding variable which could even theoretically account for the increased

  relative risk. That includes douching

           As Judge Pisano noted in Fosamax, however, the extent to which an expert

  failed to consider or address a confounding, affects the weight and not admissibility

  of the expert’s testimony and “Defendant is free to address these issues on cross

  examination…”406

           E.    THE PSC’S EXPERTS MAY RELIABLY OPINE THAT THE
                 “DOSE RESPONSE” ASPECT OF THE BRADFORD HILL
                 CAUSATION GUIDELINES ARE MET WHERE THERE IS
                 EVIDENCE OF DOSE RESPONSE FROM THE TALC
                 OVARIAN CANCER OBSERVATIONAL STUDIES
           J&J argues that the PSC’s experts’ testimony on dose response, another

  Bradford Hill aspect, is unreliable and must be excluded.407

           In support of their Bradford Hill causation analysis, the PSC’s experts opine

  that there is evidence of a dose response relationship seen in the subset of

  observational studies that actually looked for it.408 In particular, they note that there




  406
        In re Fosamax, 2013 WL 1558690 at *4
  407
        Defs.’ Mem. at 67-78.
  408
    Chang (1997); Cramer (2016); Gates (2008); Harlow (1992); Rosenblatt (1992);
  Schildkraut (2016); Wu (2009); Terry (2013).

                                            154
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  are studies that looked at cumulative dose (frequency) over time (duration).409 In

  other words, there is evidence that the more applications of talcum powder the

  greater the risk. While most of the evidence was in the form of trends seen on the

  data and reported in the relevant studies, one meta-analysis of all talc studies, a 2018

  meta-analysis by Berge (2018) found “a weak but statistically significant association

  between genital use and ovarian cancer, which appears to be limited to serous

  carcinoma with a suggestion of dose response.”410 Similarly, the Penninkilampi


  409
     Kane Report at 35 (“Yet, when studies have evaluated duration and frequency of
  perineal talc use, most have found an increased risk of ovarian cancer with increased
  exposure[.]); Moorman Report at 30-31 (“When considering the studies that
  examined dose-response associations considering both dose and frequency to
  estimate the total number of applications of talc, the majority did find significant
  trends of higher risk with more lifetime applications of talc.”); see also Carson
  Report at 9; Wolf Report at 15; Siemiatycki Report at 63; McTiernan Report at 42;
  Plunkett Report at 7-8, 47-48, 50, 52; Carson Report at 9; Carson Dep. at 255:3-23
  (“Although some studies have failed to find evidence of a dose-response
  relationship, several more recent reports have shown a clear dose-response when the
  number of subjects rose to a level producing sufficient statistical power to allow the
  analysis after subdivision of subjects into pertinent categorical groups, and
  frequency and duration were measured”); Clarke-Pearson Dep. at 159:11-16, 192:1-
  2 (“There is dose response evidence. It’s not in every single study, but we are aware
  of dose response.”); Smith-Bindman Report at 25, 28, 39-40; Smith-Bindman Dep.
  at 366:3-367:12 (“In summary, most but not all studies of talcum powder products
  and ovarian cancer show a dose response.”); Smith Report at 20 (“this refers to dose
  response relationship which is not seen in all of the epidemiologic studies, but is
  demonstrated in some.’); Wolf Report at 15; (“Many of the studies did not obtain
  the necessary information to evaluate dose response and lacked adequate power to
  assess dose-response accurately. Despite the lack of sufficient information in many
  studies, recent meta-analyses/pooled study and a case-control studies do show a dose
  response, using frequency and duration of use as parameters.”)
  410
        Berge (2018) at 248.

                                            155
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  (2018) meta-analysis found an higher risk with more than 3,600 lifetime applications

  versus those with fewer than 3,600 lifetime applications.411

           J&J argues that this type evidence and these observations are simply not

  enough to consider in a Bradford Hill analysis and that the PSC’s experts applied an

  improper methodology for even considering it.412 As set forth below, J&J is wrong

  as a matter of both science and the law. See, e.g, Roundup, 2018 WL 3368534, p

  *21.

                        1.      J&J Misstates and Then Misapplies the Scientific
                                Standard for “Dose Response” for a Bradford-Hill
                                Analysis

           J&J insists that the evidence is insufficient for the PSC’s experts to consider

  as part of their Bradford-Hill dose response analysis. As J&J must admit, however,

  there is dose response evidence and a clear dose response trend.413 J&J’s contention

  therefore is that the evidence is not enough for the PSC’s experts to discuss the issue.

           J&J’s argument about “dose response” boils down to the definition of dose

  response in the context of the Bradford-Hill framework and the threshold that must

  be met before an expert can rely on it. On the one hand, the PSC (and their experts)

  contend that scientists performing a Bradford-Hill analysis look for and consider any



  411
        Penninkilampi (2018) at 44.
  412
        Defs.’ Mem. at 67-78.
  413
        Defs.’ Mem at 67.

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  evidence of dose response. On the other hand, J&J (and its experts) argue the

  existence of any evidence of a dose-response is not enough, as the dose response

  evidence must be clear and seen consistently “through the body of data,”414 and must

  be “statistically significant”415 As the Court is aware, the PSC has filed a Motion to

  Exclude Defendants’ Epidemiology Experts416 because they adhered to this higher,

  unsupported and incorrect standard.417

              In order for this Court to address J&J’s argument on this issue, the Court must

  discern what is meant by “dose response,” not generally, but in the context of a

  Bradford-Hill analysis. In this regard, and as a starting place, it is important to

  consider what Sir Bradford Hill actually said about this aspect:

                    Biologic Gradient: Fifthly, if the association is one which
                    can reveal a biologic gradient, or dose response curve, then


  414
        Id.
  415
        Defs.’ Mem. at 73, n. 167.
  416
     See generally PSC’s Motion to Exclude Defendants’ Epidemiology Experts at 50-
  57.
  417
     By way of example, J&J’ statistician expert claimed that there was an exceedingly
  high threshold for dose response, though she notably provided no support for her
  assertion:
              To establish a dose-response relationship [to evaluate the talc ovarian
              cancer relationship], the necessary evidence is increasing risk with
              increasing dose, statistical significance and consistency. Consistency
              in this context includes repeated demonstration of the result across
              different studies, including different study designs, and different
              measures of dose.
  Ballman Rep. at 29 (emphasis added); see also id. at 19.

                                                157
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                 we should look most carefully for such evidence… [With
                 respect to dust], [t]he dustier the environment the greater
                 the incidence of disease we would expect to see. Often the
                 difficulty is to secure satisfactory quantitative measure
                 of the environment which will permit us to explore this
                 dose response. But we should invariably seek it.418
           It is therefore a fundamental tenet of epidemiology that dose response

  evidence -- much less the “consistent” and “statistically significant” and “clear”

  evidence J&J urges -- is not a sine qua non for a reliable causal inference supported

  by other Bradford Hill criteria. That fact is explained in basic epidemiology

  textbooks, including ones used and authored at J&J’s experts’ institutions.419

           Despite J&J’s assertions, dose-response is not an essential feature for

  assessing causation under the Bradford-Hill guidelines. As the Reference Manual

  establishes, dose-response evidence under Bradford-Hill is simply one factor in a

  causal assessment and it is “not essential.”420 And, where the evidence is based on

  epidemiology, “good evidence to support or refute the threshold-dose hypothesis is




  418
        Hill at 298 (emphasis added).
  419
     Gordis, Epidemiology at 251 (“absence of a dose-response relationship does not
  necessarily rule out a causal relationship”); Rothman, et al., Modern Epidemiology
  at 28 (“. . . the existence of a monotonic relationship is neither necessary nor
  sufficient for a causal relationship.”); Oleckno, Epidemiology: Concepts and
  Methods at 189 (“The absence of a dose response relationship does not necessarily
  mean that the association is non-causal however. … Once again, several guidelines
  should be considered in assessing causation.”).
  420
        Ref. Man. at 603

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  exceedingly unlikely because of the inability of epidemiology or animal toxicology

  to ascertain very small effects.”421

           For that reason, numerous courts in drug product liability cases have not

  defined dose response in the way J&J and its experts do in this case, i.e. “Statistically

  significant” and “consistent” across studies. McClain states that “[o]ne should not

  conclude . . . that to pass Daubert muster an expert must give precise numbers about

  a dose-response relationship. Some ambiguity about individual responses is

  expected.” McClain, 401 F.3d at 1241 n.6.422

           From Professor Hill’s own description of this dose response consideration of

  his causal analysis framework to the case law interpreting it, it is apparent that the

  real question –and the read definition of dose response--is not whether there is


  421
        Id. at n. 160.
  422
     See also, e.g., In re Neurontin, 612 F. Supp. 2d 116 (denying motion to exclude
  plaintiffs' general causation experts' opinion that Neurontin can increase risk of
  suicide without determination of dose-response relationship); In re Fosamax Prod.
  Liab. Litig., 645 F. Supp. 2d 164 (S.D.N.Y. 2009) (denying motion to exclude
  plaintiffs' general causation experts' opinion that drug can cause osteonecrosis of the
  jaw without requiring demonstration of toxic dose); Bartlett v. Mut. Pharm. Co., 759
  F. Supp. 2d 171 (D.N.H. 2010) (denying motion for judgment as a matter of law
  because plaintiff presented sufficient evidence that drug's risks outweighed its
  benefits without discussion of toxic dose); In re: Zicam Cold Remedy Mktg., Sales
  Practices, & Prod. Liab. Litig., 797 F. Supp. 2d 940, 945–946 (D. Ariz. 2011)
  (“Plaintiffs need not provide precise information concerning the exposure necessary
  to cause specific harm to humans... A qualitative, rather than quantitative, analysis
  can suffice.”); In re Avandia, 2011 WL 13576 (denying motion to exclude plaintiffs'
  general causation experts' opinion about causal connection between Avandia and
  myocardial infarction without discussion of toxic dose).

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  absolute proof of dose response. Rather, the question is: Is there any evidence of

  any kind which would support a dose-response relationship? If so, that evidence

  would support a causal inference under the “biologic gradient” aspect of Hill’s

  Framework.423 If not, other Hill aspects should be considered since “the absence of

  a dose response relationship does not necessarily rule out a causal relationship.”424,425

                 2.     There is Evidence of a Dose-Response Relationship between
                        Talcum Powder Exposure and Ovarian Cancer

           It is not surprising that in this Talcum Powder ovarian cancer case, where the

  dose response is based primarily on observational data, that the high bar of evidence

  that J&J would demand would not be available. Both Professor Hill and the

  Reference Manual recognize that it would be both “difficult…to secure” and

  “exceedingly unlikely” to obtain. That being the case, epidemiologists applying the

  multiple aspects of Bradford-Hill look for any evidence of it, not just “clear”

  evidence of it.

           In this case, there is “evidence” of a positive dose response for experts to

  consider among all of the other Bradford Hill aspects.426 This is true even as the


  423
        See Tylenol, supra.
  424
        Gordis, Epidemiology at 251.
  425
     See In re Avandia, 2011 WL 13576 at *14 (determining expert’s Bradford Hill
  analysis was reliable despite the expert being unable to assess a dose response).
  426
      Siemiatycki Dep. at 122:22-123:7 (“My view is that the data are certainly
  compatible with the notion of a dose-response relationship. It – it trends in that
  direction of that conclusion. It’s not definitive yet. It’s not definitive. But I believe

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  PSC’s experts freely admit that the dose response data from the observational studies

  are not unequivocal and might require additional research.427

           Dose-response data from the following studies which support the presence of

  a dose-response relationship between use of Talcum Powder Products and ovarian

  cancer:

           • Penninkilampi (2018) at 45 (the study results revealed “a slightly
             greater increase risk of ovarian cancer with > 3600 lifetime
             applications compared with those with < 3600 lifetime applications.
             The number of lifetime applications is a more valid measure of the
             patient’s exposure to perineal talc than either duration or frequency
             of use alone.)

           • Berge (2018) at 1 (“This metanalysis resulted in a weak but
             statistically significant association between genital use of talc and
             ovarian cancer…with a suggestion of a dose-response.”);

           • Schildkraut (2016) at 1413, 1414 (the study results, based on two
             lifetime cumulative dose categories (< 3600 and >3600 applications
             revealed point estimates of 1.16 and 1.67 respectively and are
             evidence of a dose- response. The test for trend was significant for
             only “any” genital powder use (Table 2).

           • Cramer (2016) at 337, 345 (“An OR of 1.49 (95% CI – 1.06, 2.10)
             was associated with more than 20 talc-years (>7,200 applications)
             and a dose response. “Overall, there is an association between


  the bulk of the evidence, especially from the Terry study and partly from, I think it’s
  the, Schildkraut study, which are the most powerful ones for that question, but
  certainly the Terry study is by far the most important one, does tend to indicate dose-
  response relationship.”); McTiernan Dep. 200:5-8 (“The data to me show that there
  is an increased risk of ovarian cancer with use of talcum powder products, and I
  think their data show it very clearly, and they have shown dose response
  relationships as well.”).
  427
        Defs.’ Mem. at 67, n 160.

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              genital talc use and EOC and a significant trend with increasing
              ‘talc-years” of use.”);

           • Terry (2013) at 6 (“Alternatively, the association between genital-
             powder exposure and ovarian cancer risk may not be linear and
             modest exposure may be sufficient to increase cancer risk.”);

           • Wu (2009) at 1 (“Risk of ovarian cancer increased significantly
             with increasing frequency and duration of talc use…”; “Our study
             adds to the small group of studies that have investigated the
             combination of frequency and duration of talc use on ovarian cancer
             risk.”);

           • Whittemore (1988) (observing a positive dose response
             relationship with frequency of exposure); and,

           • Rosenblatt (1992) (positive association (RR=2.35) for exposure
             longer than median length of time of enrollees).

           J&J continues to misrepresent the Terry (2013) findings suggesting that the

  Terry Study found “no dose-response relationship.”428 To be clear, when looking at

  the Terry (2013) results, which assembled data from 8 teams and 10 studies the

  results demonstrate evidence of a dose-response relationship.429 Again the absence

  of statistical significance of a trend among the four exposed subsets is not equivalent

  to the demonstration of an absence of dose-response. Moreover, constructing this

  argument, demonstrates that J&J lacks an understanding of statistical trend analyses.

  J&J admits that there is a “significant dose trend reported in the data from Terry




  428
        Defs.’ Mem. at 71.
  429
        Terry (2013 at 819 Table 5).

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  2013 when non-users are included in the comparison.”430 It is simply incorrect for

  J&J to conclude that it is inappropriate to include the unexposed category as part of

  the study results when examining subject in different “dose “categories. Reliance

  upon dose response calculations that include non-exposed groups is accepted

  methodologic practice in epidemiology.431 In Terry (2013), the authors employed

  appropriate methodology in assessing dose-response effects. They correctly

  categorized participants who had used genital powder into 4 groups by lowest to

  highest level of use (quartiles), and compared their risk for ovarian cancer to that in

  non-users. In so doing the study authors found a statistically significant increase in

  risk with an increasing number of genital powder application for non-mucinous

  epithelial ovarian cancer when non -users were included in the analysis.432




  430
        Defs.’ Mem. at 73.
  431
     See generally Ludwig Hothorn, et al., Trend Tests for the Evaluation of Exposure-
  Response Relationships in Epidemiological Exposure Studies, 6 Epidemiologic
  Perspectives & Innovations 1 (2009), attached as Exhibit 153; Sander Greenland,
  (1995), Dose-Response and Trend Analysis in Epidemiology: Alternatives to
  Categorical Analysis Epidemiology, 6 Epidemiology 356-365 (1995), attached as
  Exhibit 154.
  432
      Terry (2013) at 817-819; see also Siemiatycki Dep. at 122:22-123:7. (“My view
  is that the data are certainly compatible with the notion of a dose-response
  relationship. It – it trends in that direction of that conclusion. It’s not definitive yet.
  It’s not definitive. But I believe the bulk of the evidence, especially from the Terry
  study and partly from, I think it’s the, Schildkraut study, which are the most powerful
  ones for that question, but certainly the Terry study is by far the most important one,
  does tend to indicate dose-response relationship.”)

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           J&J posits that the PSC’s experts employed an unverifiable made-for-

  litigation analysis that does not comport with a Bradford-Hill analysis. However,

  this is not so. This evidence of dose response for talcum powder and ovarian cancer

  observed by the PSC’s experts has also been observed by other scientists outside of

  the litigation context. For example, in analyzing the “dose response” aspect of

  Bradford Hill, Taher (2018) observed:

                  Of the 12 studies reporting a positive association, six
                  studies found significant exposure-response trend,
                  particularly with medium and high frequency groups.
                  Regarding duration/exposure to talc, severely studies
                  reported the greatest risk 20+ years of use exposure,
                  followed by the 10-20 years group, then the < 10 years
                  group.433

           In In re Roundup, the court addressed the admissibility of similar dose

  response data. There, as here, there was less than unequivocal evidence of dose

  response.434 Yet, the court properly concluded that this was a jury question and not

  one that required exclusion under Daubert:

                  Although the better conclusion might be that these data are
                  inconclusive, Dr. Portier's assessment that the biological
                  gradient criterion is moderately supportive of a causal
                  association does not constitute an unsupported scientific
                  leap.435


  433
        Taher (2018) at 26.
  434
     In re Roundup, 2018 WL 3368534, at *21 (“some of the data from the case control
  studies support Dr. Portieres conclusion but others do not as he acknowledged.”).
  435
        Id. (citation omitted).

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           The PSC’s experts applied a reliable methodology in relying on the very type

  of “dose response” evidence that Professor Hill anticipated. Any weaknesses in this

  evidence go to weight, not admissibility.436

           F.    THE PSC’S EXPERTS MAY RELIABLY OPINE THAT THE
                 “BIOLOGIC PLAUSIBILITY” EXISTS WHERE THERE ARE
                 MULTIPLE LINES OF EVIDENCE SUPPORTING THE
                 PLAUSIBILITY THAT TALCUM POWDER PRODUCTS
                 CAUSE OVARIAN CANCER


           Although plaintiffs are not required to prove mechanism of action (how an

  exposure causes a disease or injury),437 such evidence where available, can be very

  important. The PSC’s causation experts have opined that multiple lines of non-

  epidemiologic, mechanistic, biologic and geologic evidence (hereinafter “biologic

  evidence”) is consistent with, and indeed fully supportive of, the conclusion that the

  epidemiologic association observed between Talcum Powder Products and ovarian

  cancer is a causal one. The biologic evidence that the PSC’s experts rely on is not

  “weak” and has not been invented for this litigation as J&J contends in its Biological

  Plausibility Motion.438 To the contrary, the biologic plausibility of this causal


  436
        In re Roundup, supra.
  437
        See Section V(E)(1), infra.
  438
      See J&J’s Memorandum of Law in Support of Motion to Exclude Plaintiffs’
  Experts Opinions Related to Biologic Plausibility (ECF No. 9736-1) at pages 78-82
  (“Biological Plausibility Motion”). The PSC is filing a separate response to J&J’s
  Biological Plausibility Motion, concurrently which is incorporated herein as if set
  forth in its entirety.

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  association has long been noted in the published epidemiologic, gynecologic and

  oncologic literature and textbooks and, further, has been reiterated by regulatory

  bodies (including the FDA and Health Canada).

        The PSC’s experts have properly considered the following biologic evidence

  which supports their opinions that Talcum Powder Products is capable of causing

  ovarian cancer because: (1) talcum powder is capable of reaching the fallopian tubes

  and ovaries either through migration from the perineum or through inhalation; (2)

  once there, talcum powder causes chronic inflammation and oxidative stress, which

  increases the risk of epithelial ovarian cancer through a well-described cascade of

  biological and molecular processes involving inflammation and oxidative stress;

  and, (3) J&J’s Talcum Powder Products have been shown to contain multiple

  carcinogens and suspected carcinogens, including asbestos, fibrous talc, nickel,

  chromium, cobalt, and certain fragrance chemicals.

                     1.     J&J Misstates and Then Misapplies the Biologic
                            Plausibility Standard for “Biologic Plausibility,”
                            Which Does Not Mean Biologic Certainty
        Before addressing the evidence favoring biologic plausibility in this case, the

  Court must consider what is meant by the term “biologic plausibility.”

        In virtually every case where a plaintiff alleges that an exposure causes a

  disease, the defendant attempts to challenge the reliability of the plaintiff’s expert

  opinion by improperly redefining biologic plausibility under Bradford-Hill, from



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  biologic plausibility to biologic certainty. J&J does so here, arguing that that the

  mechanism by which Talcum Powder Products are capable of causing ovarian

  cancer must be certain, or reasonably so, to allow expert testimony on general

  causation.439 The erroneous heightened standard is contradicted by the scientific

  literature and in the case-law interpreting it.

           The starting place for the correct definition of “biologic plausibility” begin

  with what Professor Hill actually said on the subject. In his 1965 article, Hill stated

  that:

                 It will be helpful if the causation we suspect is biologically
                 plausible. But this is a feature I am convinced that we
                 cannot demand. What is biologically plausible depends
                 upon the biological knowledge of the day.440

           The concept of “plausibility” has not changed since Proffesor Hill described

  it. For example, in a textbook relied on by J&J’s expert Dr. Merlo, Olekno W.A,

  Epidemiology: Concepts and Methods (2008), Professor Oleckno writes:

                 Biological Plausibility: The basic question here is, does
                 the association make biological sense? Is the association
                 credible based on our understanding of the natural history
                 of the disease or possible pathogenic mechanisms?441




  439
        Defs.’ Mem. at 79.
  440
        Hill (1965) at 298.
  441
        Oleckno (2008) at 189.

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  Moreover, Professor Rothman made the same point in his textbook Modern

  Epidemiology: “In asking whether [an association] is causal or not, one of the

  considerations to take into account is its plausibility . . . [n]evertheless, no approach

  can transform plausibility into an objective causal criterion.”442

           Courts have repeatedly rejected attempts to redefine biologic plausibility as

  J&J and its retained experts attempt to do in this case.443 For example, in In re Abilify,

  the court summarily rejected a defendants’ contention that plausibility meant

  certainty or, in J&J’s words “reasonable certainty”:

                  At this point, the Court finds it important to emphasize that
                  determining whether an expert’s opinion is “biologically
                  plausible” is a far different inquiry than determining
                  whether an opinion is “biologically certain.” See, Daubert,
                  509 U.S at 590 [] (It would be unreasonable to conclude
                  that the subject of scientific testimony must be “known “to
                  a certainty; arguably there is no certainty in science.”).444

           Similarly, in In re Testosterone, the defendant AbbVie argued, as J&J does

  here, that the plaintiffs would have to demonstrate that there was specific biologic

  evidence linking the specific product to the particular disease before “plausibility”




  442
        Rothman (2009) at 28-29.
  443
     Because J&J’s epidemiologist have used a “biologically plausibility” standard to
  evaluate the evidence that is more in keeping in keeping with J&J’s legal theories
  and not the scientific definition, the PSC moved to exclude their testimony as
  unreliable. See PSC’s Motion to Exclude Defendants’ Epidemiologists at 57-62.
  444
        In re Abilify, 299 F. Supp. 3d at 1308.

                                              168
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  is met under a Bradford Hill analysis. There the court could not have been clearer

  that this is not the standard:

                 AbbVie’s primary criticism of plaintiffs’ experts’
                 mechanism theories is that the experts do not rely on any
                 studies that demonstrate a link between use of TRT in
                 human beings and the proposed mechanism plus a link
                 between the proposed mechanisms to cardiovascular
                 events. But AbbVie cites to no authority that says experts
                 must be held to so high a standard in demonstrating the
                 plausibility of mechanism. Rather, an analysis of
                 biological plausibility “asks whether the hypothesized
                 causal link is credible in light of what is known from
                 science and medicine about the human body and the
                 potentially offending agent.

  In re Testosterone, 2017 WL 1833173, at *11 citing Milward v. Acuity Specialty

  Prod. Grp., Inc., 639 F.3d 11, 23, 26 (1st Cir. 2011). See also, In re Fosamax,at *6

  (“testimony to be admissible, [he] is not required to show that a mechanism has been

  definitely established.”)

           Indeed, the Reference Manual itself makes clear that even an observation is

  “inconsistent with current biological knowledge, it should not be discarded, but the

  observation should be confirmed before significance is attached to it.”445 This strong

  admonition against equating biologic plausibility with biologic certainty is

  particularly true when performing a Bradford Hill causation analysis in which

  plausibility is only a part of their overall analysis. This point was made by in In Re



  445
        Ref. Manual at 604-5.

                                            169
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  Roundup. There, the court considered the testimony of an epidemiologist who

  testified that there were biologically plausible mechanisms whereby glyphosate

  could cause against the backdrop of observational data.446 Though that expert was

  likely not qualified to testify “the toxicology evidence in any detail,” her testimony

  about biologic plausibility was still admissible as part of her overall Bradford Hill

  analysis:

                    [T]o the extent she simply opines that, as an
                    epidemiologist engaging in a Bradford Hill analysis, a
                    review of the published mechanistic literature suggested it
                    was biologically plausible that glyphosate could cause
                    NHL in humans, that limited conclusion is admissible. Cf.
                    Rothman at 28-29. With her Bradford Hill analysis
                    cabined in this way, Dr. Ritz's opinion that glyphosate
                    causes NHL, and has caused NHL in those who have used
                    it in the manner studied, is admissible.447

              Clearly, J&J and its experts have asked this Court to adopt a definition of

  “biologic plausibility” that is inconsistent and more stringent than that envisioned

  by either science or the cases that interpret it. This approach should be rejected.




  446
        In re Roundup, 2018 WL 3368534, at *27.
  447
        Id.

                                               170
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                 2.     The PSC’s Experts Have Reasonably Relied on Three Broad
                        Areas of Biologic Evidence Consistent with the Association
                        between Talc and Ovarian Cancer being a Causal
                        Association

                        a.    It is biologically plausible that Talcum Powder
                              Products (and its constituents) reach the ovaries either
                              through migration or inhalation

           In order to cause ovarian cancer, J&J’s Talcum Powder Products must reach

  the ovaries. There is, in fact, credible evidence in the literature that Talcum Powder

  reaches the ovaries by migration through the genital tract or by inhalation (or both).

           Outside of litigation, government agencies and their employees have noted

  that both migration and inhalation are plausible exposure mechanisms by which

  Talcum Powder Products can be carried to the ovaries. For example:

           • FDA Letter 2014: “the potential for particulates to migrate from
             the perineum and vagina to the peritoneal cavity is indisputable. It
             is, therefore, plausible that perineal talc (and other particulate) that
             reaches the endometrial cavity, Fallopian Tubes, ovaries and
             peritoneum…”448

           • Health Canada Screening Assessment (2018): “Talc particles
             have been observed and detected in the ovaries of humans (Heller et
             al. 1996a, 1996b), and perineal exposure to talc has also been
             associated with a presence of talc in lymph nodes and ovaries of
             women diagnosed with ovarian cancer (Heller et al. 1996; Cramer
             et al. 2007). Migration of talc particles from the vagina to the ovaries
             has been identified as a plausible explanation of these findings
             (Henderson et al. 1986), and retrograde movement of talc particles
             in humans through the reproductive tract to the ovaries has been
             suggested (Heller et al. 1996; Cramer et al. 2007). Inert particles
             with the same size as talc (5 to 40 μm in diameter) and placed in the
  448
        Musser Letter at 5.

                                              171
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              vagina can be transported to the upper genital tract (Egli and Newton
              1961; De Boer 1972; Venter and Iturralde 1979).”449

           • IARC (2010): Regarding exposure of the general population,
             “Consumer products (e.g. cosmetics, pharmaceuticals) are the
             primary sources of exposure to talc for the general population.
             Inhalation and dermal contact (i.e. through perineal application of
             talcum powders) are the primary routes of exposure.” 450

           Consistent with these biologic observations made outside litigation, the PSC’s

  experts agree with these observations that there is credible biological evidence that

  Talcum Powder reaches the ovaries.451 That evidence is consistent with their

  conclusion that the association seen in the epidemiologic studies is a causal

  association and is outlines in the Factual Background Section of this brief, supra at

  Section IV. In assessing biologic plausibility prong of Bradford Hill, the PSC’s

  experts were using a proper methodology for relying on talc’s ability to reach the

  ovary through migration or inhalation.




  449
        Health Canada Assessment at 9.
  450
        IARC (2010) at 232.
  451
     Plunkett Report at 28-38; Kane Report at 14, 35; McTiernan Report at 58-59;
  Moorman Report at 33; Siemiatycki Report at 30, 65; Smith-Bindman Report at 35;
  Carson Report at 8; Clarke-Pearson Report at 7-8; Smith Report at 16-17; Wolf
  Report at 10-11.

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                       b.    It is biologically plausible that talcum powder products
                             (and its constituents) cause both inflammation and
                             oxidative stress, known mediators of cancer

           In order to cause ovarian cancer, J&J’s Talcum Powder Products (including

  all of its constituents) should also provoke a response consistent with carcinogenesis.

  There is, in fact, credible evidence that Talcum Powder Products (and its

  constituents) can provoke an inflammatory response and induced oxidative stress.

  Both inflammation and oxidative stress are widely accepted mediators of cancer.452

  As both epidemiologists and regulatory agencies, including the FDA, have noted,

  both of these mechanisms provide credible plausible explanations for how Talcum

  Powder Products and its constituents are capable of causing ovarian cancer. For

  example, Health Canada recently observed that:

                 With respect to talc specifically, local irritation leading to an
                 inflammatory response is one of the possible mechanisms of
                 tumor progression that is frequently hypothesized. There is
                 support for an association of inflammation and increased risk of
                 ovarian cancer.453

  452
      Plunkett Rep. at 46 (“When considered together, the scientific literature on the
  biological effects of talc, as well as asbestos and other constituents routinely found
  in talc (discussed above), provide sufficient evidence to show that these chemicals
  produce cellular changes that have been linked to carcinogenesis and that the
  biological mechanism for carcinogenesis (ovarian and/or lung) following exposure
  to talcum powder products likely involves induction of a chronic inflammatory
  response.”); Moorman Rep. at 34; Kane Rep. at 10-13, 35; McTiernan Rep. at 59-
  60; Siemiatycki Rep. at 65; Singh Rep. at 58-59; Smith-Bindman Rep. at 15; Wolf
  Rep. at 15; Carson Rep. at 10; Clarke-Pearson Rep. at 4; Smith Rep. at 17-18; see
  also Plunkett Dep. at 128:4- 19,189:11-193:25; see also Fletcher, et al. (2019).
  453
        Health Canada Assessment at 18.

                                            173
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        That talc and its constituents can cause inflammation and oxidative stress

  consistent with the mediation of cancer is outlined in of this brief, supra at Section

  IV. The PSC’s experts properly relied on this data as adding to the biologic

  plausibility of talc causing ovarian cancer.

                      c.    It is biologically plausible that Talcum Powder
                            products are capable of causing ovarian cancer
                            because they contain known carcinogens like asbestos,
                            fibrous talc and heavy metals and other carcinogenic
                            chemicals454

        The PSC’s experts have relied on the credible evidence that J&J’s Talcum

  Powder Products contain--and have contained known or probable carcinogen--to

  support their opinion that it is biologically plausible that Talcum Powder Products

  are capable of causing and ovarian cancer. This evidence includes: 1) Published

  literature 2) Contemporaneous positive testing of the talc used in J&J’s Talcum

  Powder Products; 3) The testing by Dr. Longo and Rigler. These carcinogens include

  asbestos, fibrous talc, nickel, chromium and cobalt.

        Prior to this MDL, J&J and its consultants admitted that the presence of known

  or suspected carcinogens in its Talcum Powder Products would present a



  454
      The PSC incorporates herein its Responses and Oppositions to J&J’s
  Memorandum of Law in Support of Motion to Exclude Plaintiffs’ Experts’
  Asbestos-Related Opinions and J&J’s Memorandum of Law in Support of Motion
  to Exclude Plaintiffs’ Experts’ Opinions Regarding Alleged Heavy Metals and
  Fragrances in Johnson’s Baby Powder and Shower to Shower, both being filed
  contemporaneously with this brief.

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  biologically plausible explanation for the association between its products and

  ovarian cancer. Perhaps most revealing are the published admissions of J&J’s prior

  external consultants who also became litigation experts, Michael Huncharek MD

  and Joshua Muscat, Ph.D. Not only did Drs. Huncharek and Muscat publish their

  views on asbestos contaminated Talcum Powder and biologic plausibility, they

  submitted their views to FDA in a report endorsed by the Talc Industry (including

  J&J and PCPC). They published that report in a commentary, Huncharek (2011).455

  Notably, J&J has now abandoned them as litigation experts, likely because of the

  admissions they made about Talcum Powder contaminated with asbestos.

        In Huncharek (2011), these J&J consultants were predictably critical of the

  epidemiologic evidence linking pure talc to ovarian cancer. However, in doing their

  analysis of the composition of Talcum Powder Products, they published an

  admission that is critical now: the presence of asbestos (or presumably other

  carcinogens) would change the causal calculus and would provide a credible

  biologically plausible explanation for the epidemiologic literature reporting an

  association between Talcum Powder Products and ovarian cancer. In that article,

  they stated that:




  455
      Michael Huncharek & Joshua Muscat, Perineal Talc Use and Ovarian Cancer
  Risk: a Case Study of Scientific Standards in Environmental Epidemiology, 20 Eur.
  J. Cancer Prevention 501 (2011), attached as Exhibit 155.

                                         175
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               Clearly, [talcum powder] products could possibly
               represent a carcinogenic risk secondary to the asbestos
               contamination. It should be pointed out that this in no
               way implicates talc as a toxin as the problematic
               constituent of such products was the asbestos fibers,
               not talc.456

        That was not the only time that this concession was made. Indeed, Drs.

  Huncharek and Muscat made the point even more emphatically in another 2007

  article also supported by J&J and the Talcum Powder industry:

               If one is exposed to a mixture of talc and asbestos, it is
               reasonable to expect a carcinogenic effect as it contains a
               known carcinogen.457

        The PSC’s experts properly rely on evidence of contamination of J&J’s

  Talcum Powder Products with known or probable carcinogens provide as a credible

  biologic explanation for ovarian cancer.458 Indeed, IARC has declared that both


  456
     Huncharek (2011) at 506; see also July 21, 2009 Comments on: Citizens Petition
  to the Commissioner of the Food and Drug Administration Seeking a Cancer
  Warning on Talc Products submitted by Personal Care Products Council, attached
  as Exhibit 156; Deposition of Joshua Muscat, October 25, 2018 (“Muscat Dep.”) at
  525:20-529:16, attached as Exhibit 157. Notably, Robert Glenn, PhD, former
  director of NIOSH and consultant to the Talcum Powder industry testified to the
  same. Deposition of Robert Glenn, October 18, 2018 (“Glenn Dep.”) at 341:15-
  342:12, attached as Exhibit 158.
  457
      Michael Huncharek, et al., Use of Cosmetic Talc on Contraceptive Diaphragms
  and Risk of Ovarian Cancer: a Meta-Analysis of Nine Observational Studies, 16 Eur.
  J. Cancer Prev. 422 (2007), attached as Exhibit 159.
  458
     See, e.g., Plunkett Rep. at 46 (“When considered together, the scientific literature
  on the biological effects of talc, as well as asbestos and other constituents routinely
  found in talc (discussed above), provide sufficient evidence to show that these
  chemicals produce cellular changes that have been linked to carcinogenesis and that

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  asbestos and fibrous talc, both found in J&J’s Talcum Powder Products, are not just

  carcinogens, but ovarian carcinogens.459 Part of the evidence supporting IARC’s

  assessment was that both minerals caused inflammation—the very same mechanism

  that is described for Talcum Powder Products. Moreover, IARC has found that other

  contaminants in Talcum Powder Products are also known or probable carcinogens.

  The presence of any of these contaminants—or all of them -- provide strong evidence

  that it is biologically plausible that J&J’s Talcum Powder Products that contain these

  contaminants are capable of causing ovarian cancer, particularly when considered

  against the backdrop of the consistent epidemiology showing an association, as

  discussed above.

        J&J now pretends that the presence of asbestos and other carcinogens in its

  products are not unsupported, unreliable and irrelevant.460 With respect to the

  reliability of the evidence, the presence of these carcinogenic constituents—

  including asbestos—are supported by its own internal testing and the published




  the biological mechanism for carcinogenesis (ovarian and/or lung) following
  exposure to talcum powder products likely involves induction of a chronic
  inflammatory response.”); Moorman Rep. at 34-35; Siemiatycki Rep. at 64-65.
  459
    IARC (2012); IARC Monographs on the Evaluation of Carcinogenic Risks of
  Chemicals to Humans, Vol. 42: Silica and Some Silicates, (1987), attached as
  Exhibit 160.
  460
    See generally Defs.’ Mem. of Law in Supp. of Mot. to Exclude Pls.’ Experts’
  Asbestos-Related Opinions.

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  literature.461 The PSC’s experts reasonably relied the evidence discussed above to

  support their conclusion regarding biological plausibility. Any weaknesses in their

  opinions or evidence should be resolved by a jury.

           G.    THE PSC’S CAUSATION EXPERTS MAY RELIABLY OPINE
                 THAT THE “SPECIFICITY” ASPECT OF THE BRADFORD
                 HILL CAUSATION GUIDELINES ARE SATISFIED WHERE
                 THERE IS EVIDENCE OF SPECIFICITY BETWEEN
                 TALCUM POWDER PRODUCTS AND OVARIAN CANCER
                 GENERALLY AND IN EPITHELIAL OVARIAN CELLS
                 SPECIFICALLY


           Another factor to be considered in a Bradford Hill analysis is the “specificity”

  of the proposed relationship. If a proposed causal association is shown to have a

  single effect, as opposed to multiple effects, the more likely the proposed causal

  association.462 Indeed, where there are multiple carcinogens in Talc, as there are

  multiple carcinogens in cigarettes, specificity may be even less relevant.463 For these


  461
    See generally PSC’s Memorandum of Law in Response and Opposition to J&J’s
  Motion to Exclude Plaintiffs’ Experts’ Asbestos-Related Opinions.
  462
        See Hill (1965) at 297; Rothman, Modern Epidemiology at 27-27.
  463
        The Reference Manual notes the following:
           Cigarette manufacturers have long claimed that because
           cigarettes have been linked to lung cancer, emphysema, bladder
           cancer, heart disease, pancreatic cancer, and other conditions,
           there is no specificity and the relationships are not causal. There
           is, however, at least one good reason why inferences about the
           health consequences of tobacco do not require specificity:
           Because tobacco and cigarette smoke are not in fact single agents
           but consist of numerous harmful agents, smoking represents
           exposure to multiple agents, with multiple possible effects. Thus,

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  reasons, the original criterion of specificity is “widely considered weak or irrelevant

  from an epidemiologic standpoint.”464

           J&J argues that the association here is highly “unspecific” and that PSC’s

  experts wholly disregarded it.465 J&J is wrong on both accounts there is evidence of

  specificity and the PSC’s experts address it.466

                 1.     There is Evidence that Perineal Talcum Powder Exposure is
                        Specifically Correlated Only to Ovarian Cancer and, more
                        Particularly, to Epithelial Ovarian Cancer
           In the broadest sense, there has been no suggestion that there is a causal

  association between Talcum Powder Products and any other organ or tissue that it

  comes in contact with, including perineal of anal cancers. Nor has it been suggested

  that perineal Talcum Powder exposure is associated with other gynecologic cancers,


           whereas evidence of specificity may strengthen the case for
           causation, lack of specificity does not necessarily undermine it
           where there is a good biological explanation for its absence.” Ref.
           Man. at 606.
  464
     K.M. Fedak, et al., Applying the Bradford Hill criteria in the 21st Century: How
  Data Integration Has Changed Causal Inference In Molecular Epidemiology. 12
  Emerging Themes in Epidemiology 14 (2015), attached as Exhibit 161. For
  instance, smoking is generally accepted to be a cause of lung cancer, yet smoking is
  also associated with COPD, heart disease, stroke, and asthma, amongst other
  diseases. Asbestos, is generally accepted to cause mesothelioma, lung cancer, and
  ovarian cancer. Asbestos is also generally accepted to cause asbestosis/pulmonary
  fibrosis, pleural inflammation and thickening.
  465
        Defs.’ Mem. at 82 and n. 191.
  466
      Kane Rep. at 34; McTiernan Rep. at 65; Moorman Rep. at 37; Siemiatycki Rep.
  at 66; Singh Rep. at 64; Smith-Bindman Rep. at 39; Carson Rep. at 9; Clarke-Pearson
  Rep. at 8; Smith Rep. at 20; Wolf Rep. at 15.

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  like cervical or uterine cancer. Indeed, with respect to the “specificity” aspect of

  Bradford Hill, it has been noted that “perineal talc exposure is specifically

  associated with cancer of the ovary and no other organs.”467

           There is evidence that the specificity of the Talcum Powder ovarian cancer

  relationship is even more specific than to ovarian cancer generally. The

  epidemiologic evidence has noted that the association is most closely correlated with

  cancer of the ovarian epithelium (epithelial ovarian cancer) and not to other ovarian

  cancer like germ cell of stromal cell ovarian cancer. The epithelial ovarian cancer

  data is summarized in Section IV(A)(1), supra, in relation to the meta-analyses, case

  control and cohort studies.

           Even more specific than that, studies of serous cancer, an epithelial cancer,

  shows a risk. This includes Gertig (2000), a cohort study (which J&J touts as the

  highest “level” of observational evidence). That statistically significant data is

  below:

                             SEROUS OVARIAN CANCER

   Study Type             Year            Author             OR            95%CI
   Meta-analysis          2018             Taher             1.38         1.22-1.56
   Meta-analysis          2018         Penninkilampi         1.32         1.22-1.43
   Meta-analysis          2018            Berge              1.24         1.15-1.34
   Case Control           2016          Schildkraut          1.38         1.03-1.85
   Case Control           2016            Cramer             1.42         1.19-1.69
   Case Control           2009              Wu               1.70         1.27-2.28

  467
        Health Canada Assessment at 20 (citing Taher, et al. (2018)).

                                            180
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   Case Control           2008             Merritt            1.21          1.03-1.44
   Case Control           2004              Mills             1.77          1.12-2.8
   Case Control           1999             Cramer             1.70          1.22-2.39
   Case Control           1997              Cook              1.70          1.1-2.50
   Cohort                 2014             Gertig             1.40          1.02-1.91

           This specific association was further noted by Dr. Smith-Bindman in her

  meta-analysis of the observational data with an OR of 1.52 (95% CI 1.15, 1.88)468

  The observed correlation between Talcum Powder Products and epithelial ovarian

  cancers is consistent with the plausible mechanism described above which describes

  Talcum Powder imbedding in the ovarian epithelium.469

           To suggest that the “proposed association proposed in this litigation is highly

  unspecific” as J&J does470 is to ignore the body of science.




  468
     Smith-Bindman Report at 34. J&J’s attacks on Dr. Smith Bindman’s
  methodology is not unreliable. See, discussion infra. at Section V(H).
  469
      Plunkett Rep. at 46 (““When considered together, the scientific literature on the
  biological effects of talc, as well as asbestos and other constituents routinely found
  in talc (discussed above), provide sufficient evidence to show that these chemicals
  produce cellular changes that have been linked to carcinogenesis and that the
  biological mechanism for carcinogenesis (ovarian and/or lung) following exposure
  to talcum powder products likely involves induction of a chronic inflammatory
  response.”); Moorman Rep. at 34; Kane Rep. at 10-13, 35; McTiernan Rep. at 59-
  60; Siemiatycki Rep. at 65; Singh Rep. at 58-59; Smith-Bindman Rep. at 15; Wolf
  Rep. at 15; Carson Rep. at 10; Clarke-Pearson Rep. at 4; Smith Rep. at 17-18; see
  also Plunkett Dep. at 128:4- 19,189:11-193:25.
  470
        Defs.’ Mem. at 82.

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                 2.    The PSC’s Experts Do Not “Ignore” Specificity of
                       Association between Talcum Powder Products and Epithelial
                       Ovarian Cancer
           J&J does agree “specificity” is now considered a “less important” Bradford

  Hill factor than some of the others on the Bradford Hill list.471 That fact was

  incorporated into the PSC’s experts’ analysis. In fact, in describing their “weight of

  evidence”472 methodology each of the PSC’s experts considered and weighed

  specificity as against other Bradford Hill Factors and some weighed it less.473

  Contrary to J&J’s suggestion, the PSC’s experts did not “wholly disregard”

  specificity.




  471
        Defs.’ Mem. at 82, n. 191.
  472
     See, e.g. Tao, et al., Weight of Evidence: General Principles and Current
  Applications at Health Canada, Health Canada (2018), attached as Exhibit 164; In
  re Mirena Ius Levonorgestrel-Related Products Liab. Litig. (No. II), 341 F.Supp.3d
  213, 247 (S.D.N.Y. 2018) (Experts should describe how they weighed the evidence).
  473
      Kane Rep. at 34; McTiernan Rep. at 65; Moorman Rep. at 37; Siemiatycki Rep.
  at 66; Singh Rep. at 64; Smith-Bindman Rep. at 39; Carson Rep. at 9; Clarke-Pearson
  Rep. at 8; Smith Rep. at 20; Wolf Rep. at 15.

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           H.    THE PSC’S CAUSATION EXPERTS MAY RELIABLY OPINE
                 THAT THE OTHER ASPECTS OF THE BRADFORD HILL
                 CAUSATION GUIDELINES ARE ADDRESSED AND/OR
                 SATISFIED


           J&J’s motion gives short-shrift to the remaining Bradford-Hill aspects,

  Temporality,474 Experiment,475 Coherence476 and Analogy.477 Suffice it to say that

  the       PSC’s      experts     considered      Temporality,478      Experiment,479

  Coherence480 and Analogy481 in a way that both explains their relevance and how

  they were weighed against other Bradford Hill Factors. In re Mirena, supra.



  474
        Defs.’ Mem. at 84.
  475
        Defs.’ Mem. at 92.
  476
        Defs.’ Mem. at 84.
  477
        Defs.’ Mem. at 88.
  478
      Moorman Rep. at 29; Kane Rep. at 34; McTiernan Rep. at 65; Siemiatycki Rep.
  at 64; Singh Rep. at 64; Smith-Bindman Rep. at 39; Wolf Rep. at 15; Carson Rep.
  at 9; Clarke-Pearson Rep. at 8; Smith Rep. at 20.
  479
     Moorman Rep. at 38; Kane Rep. at 36-37; McTiernan Rep. at 67-68; Singh Rep.
  at 66; Smith-Bindman Rep. at 41; Wolf Rep. at 16; Carson Rep. at 10; Clarke-
  Pearson Rep. at 9; Smith Rep. at 21. Dr. Siemiatycki did not specifically address
  experiment as part of his analysis because he used the causation factors listed in the
  Reference Manual (experiment not included as a factor) as opposed to the traditional
  Bradford Hill factors. Siemiatycki Rep. at 62; Ref. Man. at 597-606.
  480
    Moorman Rep. at 37-38; Kane Rep. at 36; McTiernan Rep. at 67; Siemiatycki
  Rep. at 67; Singh Rep. at 65-66; Smith-Bindman Rep. at 41; Wolf Rep. at 16; Carson
  Rep. at 10; Clarke-Pearson Rep. at 9; Smith Rep. at 21.
  481
    Moorman Rep. at 38; Kane Rep. at 37; McTiernan Rep. at 29-30; Siemiatycki
  Rep. at 66-67; Singh Rep. at 66; Smith-Bindman Rep. at 41; Wolf Rep. at 16; Carson
  Rep. at 10-11; Clarke-Pearson Rep. at 9; Smith Rep. at 21.

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                          a.     Temporality

              Temporality (also called “temporal relationship”) means that exposure to the

  agent under investigation must precede development of disease.482 This has been

  called the only necessary Bradford-Hill factor.

              A nuance is that exposure should also be outside the known latency period for

  the disease in question.483 Clearly, the evidence in this case supports this factor. The

  latency period for the development of epithelial ovarian cancer is generally

  considered to be between 20 and 30 years.484 All studies that investigated the

  association had exposure of Talcum Powder before development of ovarian cancers,

  though, as noted, the particular weakness of the cohort studies is that exposure to

  Talcum Powder may not have been long enough (i.e., the Gonzalez 2016 cohort

  study which followed patients for only 6.6 years) to account for the latency of

  disease. In any event, the PSC’s causation experts considered and weighed this and

  found that it supports causation.




  482
        Ref. Man. at 601.
  483
        Id.
  484
      David M. Purdie, et al., Ovulation and Risk of Epithelial Ovarian Cancer, 104
  Int’l J. Cancer 228, 231 (2003), attached as Exhibit 163.

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                       b.     Experiment

           Experiment usually refers to Randomized Clinical Trials (RCT’s) but can also

  be applied to toxicology studies on animals.485 As all experts agree, RTC’s are

  impossible to conduct to test the hypothesis that Talcum Powder Products can cause

  ovarian cancer. Plainly, J&J does not dispute and the PSC agrees that it would be

  highly unethical to conduct RCT to determine of it could cause disease (in this case

  cancer).486 Moreover, even if it was ethical to design, it would be impractical to do

  so since the latency for ovarian cancer is long.487 As for animal (toxicology) studies,

  the PSC’s experts discussed this data in the context of biological plausibility, and it

  supports causation.488

           The PSC’s experts considered and weighed this factor.




  485
        Rothman, Modern Epidemiology at 29.
  486
      See In re Tylenol, 198 F.Supp.3d at 457 (unethical to perform a clinical trial to
  test whether acetaminophen can cause acute liver failure at 4 grams).
  487
     McTiernan Rep. at 67 (“. . . here, randomized controlled trials are neither feasible
  nor ethical, similar to smoking and lung cancer. This is because ovarian cancer is a
  rare disease and typically takes decades to develop to be clinically diagnosable. In
  addition, because the effects of genital talcum powder product use could be harmful,
  it would be unethical to conduct a trial of this type.”); Kane Rep. at 36 (“The
  challenge of such a study is that it has been shown that talc-associated ovarian cancer
  takes years or decades before onset of disease.”).
  488
        See supra at Section IV(A)(2).

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                       c.     Coherence

           Coherence “implies that a cause-and-effect interpretation for an association

  does not conflict with what is known of the natural history and biology of the

  disease.”489 As set forth above, observational studies that are long enough to account

  for the development of ovarian cancer and the biologic evidence relied on is

  consistent with the natural course of ovarian cancer.

           Moreover, there is evidence that tubal ligation (which would block the

  migration of Talcum Powder particles through the genital tract) reduced epithelial

  ovarian cancer which are associated with Talcum Powder but not other types of

  ovarian cancers which appear not to be associated with Talcum Powder. This was

  noted outside of litigation by Health Canada when addressing the “coherence”

  Bradford Hill aspect:

                 Coherence: Multiple case-control studies reported a lower
                 risk of ovarian cancer in women who underwent pelvic
                 surgery or tubal ligation (which disrupts the pathway and
                 movement of talc from the lower to the upper genital tract)
                 and suppressed ovulation (as cited by Taher et al., 2018:
                 Cramer et al., 1982, 2016; Whittemore et al., 1988;
                 Rosenblatt et al., 1992; Green et al., 1997; Wong et al.,
                 1999; Mills et al., 2004). As noted in Penninkilampi and
                 Eslick (2018), the main reductions in cancer incidence
                 with tubal ligation were for serous and endometrial tumour
                 types but not for mucinous or clear-cell tumours. Thus,
                 tubal ligation is only effective in reducing the incidence of



  489
        Rothman, Modern Epidemiology at 29.

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                 the same tumour types noted to be associated with perineal
                 talc use.490

           In any event, the PSC’s experts considered and weighed this factor.

                       d.     Analogy

           While analogy is usually considered a less important factor, the PSC’s experts

  have addressed it.491 Among other things, they have analogized this relationship to

  Asbestos and the development of cancer, though asbestos may also be a biologically

  plausible mechanism for the development of ovarian cancer since J&J Talcum

  Powder has contained asbestos.492

           I.    DR. SMITH-BINDMAN’S META-ANALYSIS SATISFIES
                 DAUBERT REQUIREMENTS AND HER OPINIONS ARE
                 ADMISSIBLE

           Dr. Smith-Bindman was “asked to review the medical and scientific literature

  regarding the relationship between genital talcum powder product use and ovarian

  cancer and determine whether the relationship is causal.”493 Her “report reflects [her]

  review of medical and scientific publications … (overviews and scientific studies),

  [her] own analysis, and review of documents shared with [her] by lawyers who




  490
        Health Canada Assessment at 21.
  491
        See supra. n. 481.
  492
        See supra. Section V(E)(2)(c).
  493
        Smith-Bindman Rep. at 4.

                                            187
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  engaged [her] for this task,”494 and her independent meta-analysis. “The purpose of

  the systematic review495 is to take individual papers that may not have enough

  statistical power to provide by themselves, individual results that are meaningful.

  And if the methodology is combinable, to pool the sample size to get greater

  statistical power to come up with a conclusion.”496

           J&J seekd to exclude the opinions of Dr. Rebecca Smith-Bindman,

  erroneously arguing that her meta-analysis “flunks” Daubert for several reasons.

  However, Dr. Smith-Bindman would have reached the same conclusions even

  without the meta-analysis she performed. As Dr. Smith-Bindman testified, “my

  systematic review ended up with the same estimates as essentially all of the other

  well-done systematic reviews… But yes, it’s the same as the other studies, and so

  my – my conclusion about the causality of talcum powder products and ovarian

  cancer would be exactly the same, even without mine.”497As outlined below, J&J’s




  494
        Id. at 8.
  495
     J&J argues that there is no such thing as a “systemic meta-analytic review.” See
  Defs.’ Mem. at 95. However, as Dr. Smith-Bindman noted, “I don’t think there is
  any difference. They’re – they’re both trying to describe an unbiased, quantitative
  review of the medical literature.” Smith-Bindman Dep. at 52:3-13; 70:22-71:9
  (noting just a subtle distinction that systematic review “implies more scientific
  rigor.”); Smith-Bindman Rep. at 6 (noting that her meta-analyses have been
  “systematic, meta-analytic, quantitative reviews of the published literature.”).
  496
        Smith-Bindman Dep. at 101:23-102:4.
  497
        Smith-Bindman Dep. at 355:10-19.

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  position is based upon an inappropriate presentation of the record and J&J’s motion

  to exclude the analysis of Dr. Smith-Bindman should be denied.

                        1.     Dr. Smith-Bindman’s Analysis was neither Post-Hoc
                               nor Conclusion Driven

           J&J is incorrect that Dr. Smith-Bindman’s meta-analysis was post-hoc and

  conclusion driven.498 The basis of their argument is that “she analyzed particular

  subsets of data from cherry-picked studies after she reviewed the larger body of

  literature and formulated a thesis.”499 J&J misrepresents the process followed by Dr.

  Smith-Bindman by arguing that she “had already reviewed the relevant studies and

  underlying data,” while citing to deposition testimony that simply notes that her

  “systematic review grew out of my reading the literature and realizing that there was

  a real gap.”500 As clarified in her deposition, “the direction that my review took was

  partly informed by having read through a number of articles on the topic. So

  determining sort of where there was a gap, what was the most important area to focus

  on. So that was sort of the background.”501

           Dr. Smith-Bindman was not familiar enough with the area of talcum powder

  use and ovarian cancer to “cherry-pick” the information she looked at. “Prior to


  498
        Defs.’ Memo. at 96.
  499
        Id. (emphasis in original).
  500
        Compare Defs.’ Mem. at 98 with Smith-Bindman Dep. at 52:18-21.
  501
        Smith-Bindman Dep. at 146:13-19.

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  providing [her] opinions on the association between talcum powder products and

  ovarian cancer, [she] had not reviewed the relevant literature and had not published

  in this area. As a result, [she] brought an unbiased perspective to [her] review.”502

  Her methodology had multiple steps, including:

                   (1)     literature search to broadly identify all relevant
                           literature;503

                  (2)      review of the literature abstracts for articles
                           identified to make sure they have primary data;504

                  (3)      creating an approach for abstracting data;505

                  (4)      abstracting data;506

                  (5)      combining the data statistically;507and,

                  (6)      performing a meta-analysis.508


  502
        Smith-Bindman Rep. at 8.
  503
        See Smith-Bindman Dep. at 146:20-21.
  504
        Id. at 147:24-148:9.
  505
        Id. at 148:10-15.
  506
        Id. at 149:4-16.
  507
        Id. at 15:4-7.
  508
     Dr. Smith-Bindman’s approach is much more in depth and methodical than
  experts in the studies referred to by Defendants. See Snodgrass v. Ford Motor Co.,
  2002 U.S. Dist. LEXIS 13421, at *43 (expert testifying that he made “arbitrary
  division into two subsets… These were not the only way they could be divided, but
  they served the purpose.” (emphasis in original)); In re Zoloft (Sertraline
  Hydrochloride Prods. Liab. Litig., 26 F. Supp. 3d 449, 462 (E.D. Pa. 2014) (opinions
  based upon a “self-selected subset of supportive studies, not the totality of the
  epidemiological evidence); Amorgianos v. Amtrak, 303 F.3d 256, 268 (2d Cir. 2002)
  (excluding evidence where expert “did not find it necessary” to include additional
  data that was available, despite having stated that a “proper exposure assessment”

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           Significantly, her decision to focus on “regular use and HGSOC” (high grade

  serous ovarian cancer) occurred no later than the second step of her methodological

  process, before she created a plan on how to abstract the data, before data was

  abstracted, and well before the data was combined statistically. Dr. Smith-

  Bindman’s approach was much different than represented by J&J. She had not

  reviewed any data before implementing her review,509 and her decisions on how to

  proceed were not based upon a knowledge of the literature and data. Dr. Smith-

  Bindman conducted the analysis that she had originally planned to do, analysis

  related to a plan that was put in place before she started abstracting or analyzing

  data.

           Dr. Smith-Bindman also faithfully and accurately applied her criteria. She

  provided a detailed summary in her expert report that outlined her rationales and

  provided explanations for her literature search, selection criteria, exclusion criteria,

  definitions of “regular use,” types of exposures, analysis, etc.510 Although J&J



  would have taken them into consideration). Dr. Smith-Bindman’s opinions were
  based upon the totality of the evidence, but further confirmed by the meta-analysis
  she conducted. To the extent studies and/or data were not included, Dr. Smith-
  Bindman provided sound reasons as to why. For example, as it related to exclusion
  of both Cramer 1999 and Rosenblatt, Dr. Smith-Bindman explained her rationale for
  excluding the studies, but also ran calculations with and without the studies to make
  sure that exclusion did not cause statistically significant changes in her analysis.
  509
        See Defs.’ Mem. at 98.
  510
        See Smith-Bindman Rep. at 30-34.

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  argues that Dr. Smith-Bindman had no explanation for excluding certain studies, her

  testimony establishes the opposite. For example, she explained that the reason she

  did not include the Cramer, 1999 study was because there was “overlap” in the data

  with the Cramer, 2016 study.511 Although she could not recall why she excluded

  Rosenblatt from her final analysis, Dr. Smith-Bindman ran and presented data both

  including and excluding Rosenblatt to confirm that inclusion/exclusion had no

  impact.512 To the extent J&J disagrees with her impact assessment, that represents a

  challenge to Dr. Smith-Bindman’s conclusions and the Daubert analysis focuses on

  the methodology underlying an expert’s opinion, not the expert’s conclusions.513 For

  the foregoing reasons, J&J’s arguments related “conclusion driven” analysis fail.514




  511
     Smith-Bindman Dep. at 176:14-177:19 (explaining that her notes showed that she
  excluded Cramer 1999 because of data overlap). See also Smith-Bindman Rep. at
  31 (“When I found duplicate reports on the same patient group, the largest and most
  detailed publication was included.”).
  512
        Id. at 178:3-17.
  513
        Daubert, 509 U.S. at 595.
  514
     Defendants’ argument regarding that Dr. Smith-Bindman failed to do a quality
  assessment of the case-control studies in her review is incorrect. See Defs.’ Memo.
  at 100. Dr. Smith-Bindman’s reference to “[w]ithout assessing the quality of the
  case-control studies” relates only to the manner in which the studies were listed in
  Table 5 of her report, providing “a way to get an overview of what they report.” See
  Smith-Bindman Rep. at 29-30.

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                        2.   Dr. Smith-Bindman Selection of “Regular Use”
                             Studies is Defined and Repeatable

           Dr. Smith-Bindman’s selection of “regular use” studies were neither highly

  subjective or undefined.515 Dr. Smith-Bindman had several paragraphs within her

  report where she explained how regular use was not only defined, but how she

  applied and implemented the definition to various studies.516 Dr. Smith-Bindman’s

  decision to define and apply “regular use” was not arbitrary. She explained that she

  felt “the most important research question to answer in this review is whether regular

  exposure to talcum powder is associated with ovarian cancer,” and “measuring

  regular use was a more accurate way to evaluate talcum powder as compared to any

  use.”517 Although J&J accuses Dr. Smith-Bindman of “broadening” her definition

  so that she could include certain studies, the accusation is based upon a

  mischaracterization of her work. Dr. Smith-Bindman defined the process she used

  to include or exclude studies based upon a definition of “regular use,” thereby

  enabling not only herself but others (including Dr. Hall, the biostatistician) to

  reproduce the results. As with the issue raised by J&J about her work being



  515
        See Defs.’ Mem. at 101.
  516
        Id. at 30-32.
  517
     Id. at 31-32. This process does not contradict the opinions of Dr. Siemiatycki who
  opined that all data are valid and useful. See Defs.’ Mem. at 102, n. 246. All data is
  valid and use, but Dr. Smith-Bindman believed that her approach would provide data
  that was a more accurate assessment of the issue.

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  conclusion driven, this challenge is to the conclusions reached based upon the

  application of Dr. Smith-Bindman’s well defined and reproducible methodology518

  and should not be the subject of Daubert.

                 3.     Dr. Smith-Bindman’s Data and Analysis are Both Accurate
                        and Reliable

           Finally, J&J’s arguments concerning Dr. Smith-Bindman’s data and analysis

  are incorrect. While Dr Smith-Bindman acknowledged that neither her data

  abstraction nor that of her statistician were “perfect,” the purpose of her employment

  of an additional person to abstract data was because “a single person can never be

  perfect.”519 As Dr. Smith-Bindman noted, “Dr. Hall was involved both in abstracting

  the data as a second set of eyes and in doing the statistical summary.520 Tellingly,

  Defendants exaggerate Dr. Smith-Bindman’s recognition that nothing is perfect to

  argue that her work contained numerous errors521 – it did not.

           J&J argues that errors existed in confidence intervals cited by Dr. Smith-

  Bindman because they did not mirror the confidence intervals in various studies.

  J&J’s argument ignores Dr. Smith-Bindman’s valid explanations. As noted in her


  518
     See Smith-Bindman Dep. at 357:1-15 (testimony that someone could take her
  methodology and reproduce the results, especially since the results of her review
  were the same as the other reviews that had been done).
  519
        Smith-Bindman Dep. at 105:5-21.
  520
        Id. at 101:14-18.
  521
        See Defs.’ Mem. at 104.

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  deposition, “the numbers are calculated using the standard errors in the confidence

  intervals and sample size which vary slightly shifts it from the reported numbers. So

  you were correct when you said the numbers are not exactly the same, and she

  explained that that’s why that’s the case.” 522 In regard to the inclusion of individuals

  due to “double-counting,” Dr. Smith-Bindman acknowledged that it could

  theoretically happen, but that is the reason that she works to make sure such data is

  excluded. Further, the benefits derived from pooling data – that the final summary

  is less sensitive to any individual result – reduces any such concern.523 The same

  holds true for Defendants’ attempts to magnify concerns related to “estimations.” As

  Dr. Smith-Bindman made clear, questions proposed by Jane Hall that referred to

  estimations did not relate to the abstraction of data and, further, the estimations

  would be based upon calculations applied to data contained and available in the

  studies. In fact, the calculations arrived at by Dr. Smith-Bindman are the same as

  seen in other studies.524




  522
      Smith-Bindman Dep. at 255:19-256:13; see also Id. at 257:1-12 (“In the
  documents that I shared, she specified the – the software that she used, the program
  that she used. In fact, the way of estimating it, it’s actually in my report as well. And
  so yes, its explained there, and it’s in all of the documents that I shared with you.”).
  523
    Id. at 344:1-345:3; 356:10-25 (“So the analysis that I have done is complete. . .
  But the presentation of the results in a paper would require more beautiful graphics,
  would require explaining our inclusion and exclusion criteria more fully”).
  524
        Id. at 357:11-16.

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           Finally, Dr. Smith-Bindman did apply the same rigor as if she were preparing

  a published report. As Dr. Smith-Bindman indicated, the methods she used were the

  same methods that she has employed and are generally accepted.525 In regard to

  Defendants’ argument that more detail about methodology would have to be

  included if she were to publish her results,526 Dr. Smith-Bindman clarified that the

  description in the report would need more detail, but the work would not have to be

  different.527 Most importantly, as Dr. Smith-Bindman testified, the work she

  performed, as submitted, can be replicated.

           For the foregoing reasons, J&J’s arguments related to the exclusion of Dr.

  Smith-Bindman should be rejected and their motion to exclude her opinions and

  testimony should be denied.

           J.    THE PSC’S EXPERTS OPINIONS ARE RELIABLE AND NOT
                 CONTRARY TO SCIENTIFIC CONSENSUS AND DRS.
                 MOORMAN AND SIEMIATYCKI’S CURRENT OPINIONS
                 ARE FULLY CONSISTENT WITH THEIR PRE-LITIGATION
                 PUBLICATIONS

        J&J’s final argument is that the PSC’s causation experts’ opinions are unreliable

  because, in J&J’s view, the “consensus” of the Medical Community is that there is


  525
        Id. at 154:12-119.
  526
        See Defs.’ Mem. at 107.
  527
     See Smith-Bindman Dep. at 102:23-103:5; 356:16-25 (analysis is done and
  complete but she would add more beautiful graphics and explain inclusion and
  exclusion with a little more detail).

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  insufficient evidence that talcum powder causes ovarian cancer.528 They further

  claim that Drs. Moorman and Siemiatycki’s opinions are particularly unreliable

  because they allegedly “contradict” their prior publications on the topic.529 Neither

  of these assertions is true and both are easily dismissed.

              As an initial matter, J&J would have this Court believe that the scientific

  community has reached consensus that talcum powder does not cause ovarian

  cancer. This is simply not true. The most J&J can say, and the most that it does say,

  is that there are some in the scientific community that have believed at different

  points in time that the evidence between genital talcum powder use and ovarian

  cancer was “possible,” as IARC said in 2006 and “not conclusive” as Dr. Musser

  from FDA stated in 2014. These hardly “contradict” the opinions of the PSC’s

  experts, other scientists and regulatory bodies outside the litigation context, who

  have opined that enough evidence has accumulated through 2019 to cause them to

  conclude that talcum powder is now a likely a cause of ovarian cancer. As set forth

  above, the opinions expressed by Drs. Siemiatycki and Moorman closely align with

  current regulatory authorities like Health Canada who determined in December 2018

  that there was evidence of “cause,” or the Institute of Medicine which described as

  recently as 2016 that the genital use of talc results in a 20-30% increased “risk” of


  528
        Defs’ Mot at 108-120.
  529
        Id.

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  ovarian cancer. Consider as well authors like Drs. Narod who published in 2016 that

  the relationship is “likely to be causal” and that denial of the association was

  “disingenuous.”530 Indeed, some of the PSC’s experts have expressed their views

  outside litigation including, for example, Dr. McTiernan who testified before the

  U.S. Congress on the topic in March 2019 or Dr. Siemiatycki who commented to

  Health Canada after Health Canada issued its causation assessment in February

  2019.

           Even if it were to be shown that the PSC’s experts did contradict the current

  views of FDA, which is clearly not the case, the opinions of a well-qualified expert

  would still be admissible so long as they analyzed the totality of the data according

  to an appropriate methodology. Indeed, the court in In Re Testosterone, which

  concluded that such disagreements with FDA “is left to the trier of fact.”531

           To be clear, neither Dr. Siemiatycki nor Dr. Moorman “contradict” their prior

  published opinions as J&J contends.532 As J&J points out, Dr. Siemiatycki was the

  chair of IARC’s 2006 epidemiology committee that classified talc as a “possible”

  carcinogen based on evidence collected through 2006—13 years ago. Moreover,

  Langseth, 2008. A paper on which Dr. Siemiatycki was a co-author, discussed both



  530
        See, supra at Section IV(B)(1)
  531
        Id. at *13.
  532
        Defs’ Mot. at 113-118.

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  the consistent association between talcum powder and ovarian cancer and its

  biologically plausible mechanism:

                 • Epidemiological evidence suggests that use of cosmetic talc
                   in the perineal area may be associated with ovarian cancer
                   risk. The IARC has classified this use of talc as possibly
                   carcinogenic to human beings (group 2B); and,

                 • The mechanism of carcinogenicity may be related to
                   inflammation. This paper focus on the high degree of
                   consistency in the studies accomplished so far, and what
                   should be the focus in future studies.533

           Clearly, Dr. Siemiatycki’s current opinion is in line with his prior published

  writing in 2006 and 2008, particularly when considered against the backdrop of more

  than a decade of new science adding to the body of evidence regarding association,

  biological plausibility, specificity and dose response.

           The same is true with Dr. Moorman, the author of the Schildkraut, 2016

  study.534 In that study, Dr. Moorman stated that her review of the data indicated that

  talc was a “modifiable risk factor” for ovarian cancer and that the association seen

  in the case control studies (including hers) were not likely to be the result of recall

  bias— opinions which are absolutely consistent with what she has stated herein. In

  Schildkraut, 2016, she further stated that:



  533
        Langseth (2008) at 360.
  534
        Schildkraut (2016).


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           The results of the current study showed that genital powder use was
           associated with ovarian cancer risk in [African American] women and
           are consistent with localized chronic inflammation in the ovary due to
           particulates that travel through a direct transvaginal route. The dose–
           response observed for duration of genital powder use provides further
           evidence for the relationship between genital powder and overall
           [Epithelial Ovarian cancer] risk. Our data suggest that the increased risk
           due to use of genital powder applies to both serous and nonserous
           histologic subtypes of EOC.535

           Clearly, Dr. Moorman’s opinions are wholly consistent with her peer-

  reviewed published work

            J&J’s attempt to mischaracterize the state of science and the growing

  consensus in the medical community that there is evidence of general causation and

  by materially misstating the published work of scientists like Drs. Siemiatycki and

  Moorman, is itself strong indicia that J&J’s view of the science is suspect and

  unreliable. In any event, J&J’s concerns go to weight and not admissibility.

  V.       CONCLUSION
           For these reasons, J&J’s motion to exclude the general causation opinions of

  the PSC’s expert witnesses should be denied.

                                            Respectfully submitted,

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                                            Washington, DC 20006

  535
        Id. at 1646.


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